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                                 January 11, 2022

· · · · · UNITED STATES DISTRICT COURT
· · · · · FOR THE SOUTHERN DISTRICT OF NEW YORK
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· · · · · · · · · · · ·Case No. 14-md-02542-VSB

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·   ·   · · · · · · · · · · · · · · · · · · · · · ·         ·:
·   ·   ·IN RE:· KEURIG GREEN MOUNTAIN· · · · · · ·         ·:
·   ·   ·SINGLE-SERVE COFFEE ANTITRUST LITIGATION,·         ·:
·   ·   · · · · · · · · · · · · · · · · · · · · · ·         ·:
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·   · · · · · · · · · · · MOTION HEARING
·   · · · · · · · · · · ·January 11, 2022
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·   · · · · · · · · · · · ·-----------
·   · · REPORTED BY:· JENNIFER L. WIELAGE, CCR, RPR, CRR
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· · ·JOB # 6057296-001
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·1· · · · · · ·TRANSCRIPT of the remote stream video

·2· ·teleconference hearing of the above-named witness,

·3· ·called for Oral Examination in the above-entitled

·4· ·matter, said hearing being taken pursuant to Federal

·5· ·Court Rules, by and before JENNIFER L. WIELAGE,

·6· ·Certified Realtime Reporter, License No. XI01916, on

·7· ·Tuesday, January 11, 2022, commencing at 10:00 in

·8· ·the forenoon, Eastern Standard Time.

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· · ·BY AND BEFORE:· HONORABLE SARAH J. CAVE
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·7

·8· ·ALSO PRESENT:· Hearing Room Monitor and Stephen Cole,
· · ·Corporate Counsel for Keurig
·9

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·2· · · · · · · · · JUDGE CAVE:· Thank you very much to

·3· ·the parties for organizing all the logistics today.

·4· ·Hopefully, everything will go smoothly.

·5· · · · · · · · · I know that we had talked at the our

·6· ·last meeting at the end of the year about sort of

·7· ·breaking down the time allocation, and so we'll try

·8· ·to follow that.· My thought is that we'll go for

·9· ·maybe an hour, hour and a half, and then just take a

10· ·short break for everyone to get up and stretch their

11· ·legs and then we'll pick up where we left off.· I've

12· ·blocked off the whole day, so as much time as

13· ·everyone needs and we can figure out in terms of

14· ·breaks and accommodations.

15· · · · · · · · · So I guess where I'd like to start is

16· ·with the Plaintiffs' motion first.· So Mr. Badini or

17· ·Ms. Torpey --

18· · · · · · · · · MS. NEWTON:· Judge, can we just do --

19· ·I'm sorry -- a couple of other housekeeping issues.

20· · · · · · · · · JUDGE CAVE:· Sure, sorry, didn't mean

21· ·to cut you off.

22· · · · · · · · · MS. NEWTON:· No, I'm just wondering

23· ·if it might be easier if whoever isn't speaking, like

24· ·while Ms. Torpey or Mr. Badini is speaking, maybe we

25· ·go off camera so that -- we have a big blue box and I


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·1· ·don't want to hog up the screen --

·2· · · · · · · · · JUDGE CAVE:· Sure.

·3· · · · · · · · · MS. NEWTON:· -- when they're

·4· ·speaking.· And if that's okay, U.S. Legal will take

·5· ·our big blue box off the screen so that your Honor

·6· ·can have a bit more interaction with them --

·7· · · · · · · · · JUDGE CAVE:· Okay.

·8· · · · · · · · · MS. NEWTON:· -- and then when we're

·9· ·up, we would suggest the same.· I don't know if folks

10· ·think that's a good idea.

11· · · · · · · · · MS. TORPEY:· Sure.· And one of the

12· ·things we might want to try out first is how the

13· ·slides work.

14· · · · · · · · · JUDGE CAVE:· I mean I can also switch

15· ·between gallery view and speaker view.· So I have you

16· ·all on gallery view right now as we're getting

17· ·started, but I could switch to speaker view here from

18· ·my desktop, so --

19· · · · · · · · · MS. NEWTON:· And as you can imagine,

20· ·your Honor, since it's exciting to get to see you in

21· ·person, all of us are going to want to see you on the

22· ·screen at the same time.

23· · · · · · · · · JUDGE CAVE:· Whatever floats your

24· ·boat.

25· · · · · · · · · MS. NEWTON:· What did you say?


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·2· · · · · · · · · JUDGE CAVE:· Whatever floats your

·3· ·boat.

·4· · · · · · · · · MS. NEWTON:· There you go.

·5· · · · · · · · · The other housekeeping issue is that

·6· ·I think that both sides may be raising 502(d)

·7· ·documents.· And to the extent -- I mean if you're

·8· ·just going to say they exist and do particulars like

·9· ·that, but if anybody is going to get into the

10· ·substance of them --

11· · · · · · · · · JUDGE CAVE:· Right.

12· · · · · · · · · MS. NEWTON:· -- then U.S. Legal

13· ·actually has the capability of muting the public

14· ·line --

15· · · · · · · · · JUDGE CAVE:· Okay.

16· · · · · · · · · MS. NEWTON:· -- and I would ask

17· ·that -- that -- I don't want to interrupt anyone when

18· ·they're talking --

19· · · · · · · · · JUDGE CAVE:· Okay.

20· · · · · · · · · MS. NEWTON:· -- so if you guys are

21· ·going to do that, if you will give us a chance to do

22· ·that, and U.S. Legal can mute the public line because

23· ·I don't want to get into a situation where there's a

24· ·waiver argument, your Honor.

25· · · · · · · · · JUDGE CAVE:· Sure, sure.


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·1· · · · · · · · · MS. TORPEY:· On that note, we will be

·2· ·discussing what I think are confidential documents in

·3· ·the context of our prejudice argument, as you might

·4· ·imagine.· Megan Fitzgerald, I know, is on.

·5· · · · · · · · · Megan, I believe you have a list.

·6· ·We've tried to be diligent in this respect of the

·7· ·documents that are confidential.· I don't know if you

·8· ·could try to just pipe up when we get to a slide and

·9· ·let us know.

10· · · · · · · · · JUDGE CAVE:· Okay.

11· · · · · · · · · MS. NEWTON:· My understanding,

12· ·Ms. Torpey, is that the slides are not going to be

13· ·accessible by the public and so to the extent that

14· ·you have something on the slide that's confidential,

15· ·I don't have a problem with that.

16· · · · · · · · · It's just on the 502(d), I just don't

17· ·want a situation where there's a waiver argument.

18· · · · · · · · · MS. TORPEY:· Yeah, I think it will be

19· ·a close call probably sometimes in terms of you think

20· ·I'm disclosing something that's confidential or not.

21· ·So I'm not sure exactly how you want to proceed along

22· ·those lines.

23· · · · · · · · · JUDGE CAVE:· Would it be helpful if

24· ·we, for purposes of today's session, to just apply

25· ·sort of 502(d) across the board so that if anyone


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·1· ·brings up a document that is confidential or

·2· ·privileged, particularly in response to my questions,

·3· ·but just during the course of today's conference, if

·4· ·that document is raised, that no party can argue and

·5· ·the Court will not find that in raising it in this

·6· ·conference, it constitutes a waiver.

·7· · · · · · · · · MS. NEWTON:· I think that works well

·8· ·for confidentiality, your Honor.· I'm not sure it

·9· ·works are to the 502(d), and I'm not sure that the

10· ·502(d) issue is going to be overwhelming, frankly.

11· · · · · · · · · JUDGE CAVE:· Okay.

12· · · · · · · · · MS. TORPEY:· Yeah.

13· · · · · · · · · JUDGE CAVE:· The other point,

14· ·Ms. Newton, is just to make sure that the public

15· ·access line is, in fact, open.

16· · · · · · · · · Can we have one of our moderators

17· ·just confirm that?

18· · · · · · · · · THE VIDEOGRAPHER:· I can.· This is

19· ·Craig, the tech audio.· The public line is open and

20· ·I'm monitoring it.· When you say to close it off, it

21· ·will just take me a moment.

22· · · · · · · · · JUDGE CAVE:· Okay.· Very good.· So if

23· ·any counsel at any point wants to raise something

24· ·that they're concerned about confidentiality, let us

25· ·just pause for a moment and let the technician take


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·1· ·the steps they need to take and then when you're

·2· ·finished, just make sure I want to go back on the

·3· ·record when we're finished talking about that

·4· ·particular thing.· And I will also try to be careful

·5· ·because I would like as much of this proceeding to be

·6· ·open to the public as possible.

·7· · · · · · · · · MS. TORPEY:· As we would as well,

·8· ·your Honor.

·9· · · · · · · · · JUDGE CAVE:· I'm going to refer to

10· ·some things.· There's a lot of confidential

11· ·information in the motions, but I may refer to things

12· ·in sort of shorthand or abbreviations just so that we

13· ·can keep going and not have to keep stopping and

14· ·going off the record and on the record and then once

15· ·there's a transcript, the parties can decide if

16· ·there's anything that needs to be redacted.· But my

17· ·hope is that we can sail through this as smoothly as

18· ·possible.

19· · · · · · · · · MS. NEWTON:· I think your Honor's

20· ·blanket confidentiality statement helps.

21· · · · · · · · · JUDGE CAVE:· Okay.

22· · · · · · · · · MS. NEWTON:· I think the fact that

23· ·the public does not have access to the PowerPoint

24· ·helps --

25· · · · · · · · · JUDGE CAVE:· Okay.


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·1· · · · · · · · · MS. NEWTON:· -- and hopefully the

·2· ·only interruption will be on a 502(d).

·3· · · · · · · · · JUDGE CAVE:· Okay.· And finally with

·4· ·respect to the PowerPoint, I think, yes, it's not

·5· ·accessible to the public during the hearing, but in

·6· ·the same vein as what we did with the transcripts, we

·7· ·should make some version of whatever you show me

·8· ·should also be -- we should also assess whether it's

·9· ·possible to make a redacted version available to the

10· ·public and I was referring to the slides.

11· · · · · · · · · MS. NEWTON:· We're fine filing the

12· ·slides, your Honor, under -- as a sealed version and

13· ·also a redacted version, so that there is access.

14· · · · · · · · · JUDGE CAVE:· Okay.

15· · · · · · · · · MS. NEWTON:· Thank you.

16· · · · · · · · · JUDGE CAVE:· Any other logistics or

17· ·technicalities before we get underway?

18· · · · · · · · · MS. TORPEY:· So your Honor, thank you

19· ·very much for mentioning the timing, especially,

20· ·since you've set aside all day, which we very much

21· ·appreciate.· I would just like to note that we have

22· ·really done our best to try to cut back slides, but

23· ·in addressing your questions in the slides, our time

24· ·has extended.

25· · · · · · · · · JUDGE CAVE:· Okay.


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·1· · · · · · · · · MS. TORPEY:· So before I start, I'd

·2· ·like to ask your permission to go more than that

·3· ·minutes --

·4· · · · · · · · · JUDGE CAVE:· Okay.

·5· · · · · · · · · MS. TORPEY:· -- so I could rush

·6· ·through.· I could speak very quickly.· I could try,

·7· ·but I don't think that's fair to Ms. Newton and

·8· ·opposing counsel or to the Court since these are very

·9· ·important issues.

10· · · · · · · · · JUDGE CAVE:· Right.· No, that's fine.

11· ·I will try to roughly keep track of the time.· I will

12· ·give -- I will do my best to give equal time to both

13· ·sides, you know, in terms of minutes, but I really --

14· ·I have a lot of questions, and there are a lot of

15· ·issues that need to be resolved.· So we'll take the

16· ·time that we need.· I'm not going to be as probably

17· ·hard and fast on cutting people off.· I don't have

18· ·the lights like they have in the 2nd Circuit, so I

19· ·won't be --

20· · · · · · · · · MS. NEWTON:· Your Honor, green,

21· ·yellow, red.

22· · · · · · · · · JUDGE CAVE:· But what I can tell you

23· ·just for the benefit of all counsel, I have read your

24· ·papers numerous times.· I have looked at every single

25· ·exhibit.· I've read every case within the 2nd Circuit


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·1· ·at least on spoliation, so probably 90 percent of the

·2· ·cases that everybody has cited, and I am about 40

·3· ·pages into the draft of the decision.· So I am

·4· ·prepared today, and you should assume a fair amount

·5· ·of knowledge of the issues.

·6· · · · · · · · · Obviously, you all know the case

·7· ·better than I do and I certainly have not prejudged

·8· ·anything, but in order to be prepared for you today,

·9· ·those were the steps that I undertook, so you can

10· ·assume a fairly good baseline of information and then

11· ·obviously I raised a number of questions with you and

12· ·certainly we'll have many others over the course of

13· ·the day.

14· · · · · · · · · So, again, I appreciate all the

15· ·preparation both in terms of technicalities as well

16· ·as substance.

17· · · · · · · · · Ms. Torpey or Mr. Badini, I'll give

18· ·you the floor.

19· · · · · · · · · MS. TORPEY:· Why don't we try out our

20· ·slides?· Megan, if you would, please.

21· · · · · · · · · MS. NEWTON:· Can we take off the big

22· ·box so we're not interfering with Ms. Torpey.

23· · · · · · · · · JUDGE CAVE:· Okay.· I can see them.

24· · · · · · · · · MS. TORPEY:· Okay.· Great.· So Megan,

25· ·if you could advance the slides.· You'll see we had


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·1· ·some preliminary matters lined up, which Ms. Newton

·2· ·apparently shares, so -- and your Honor apparently

·3· ·shared.· So we've already covered timing and

·4· ·confidentiality.

·5· · · · · · · · · So why don't we just move forward to

·6· ·the next slide, please, Megan.

·7· · · · · · · · · So, your Honor, just to start, we

·8· ·very much appreciate your question as to whether your

·9· ·Honor should consider declarations and new exhibits

10· ·raised in response to your prior questions.

11· · · · · · · · · We just want to give you the comfort,

12· ·as you probably know, now that you've read so many

13· ·cases in the 2nd Circuit, that the law in the 2nd

14· ·Circuit is clear that a district court is free to

15· ·consider the full record in the case in order to

16· ·select the appropriate sanction.

17· · · · · · · · · As in the Syntel case on the slide,

18· ·this includes the Court's ability to consider answers

19· ·to new questions after briefing in advance of oral

20· ·argument, just like with respect to the Torpey and

21· ·Moore declarations, to consider new points raised in

22· ·oral argument and even to consider submissions raised

23· ·to the Court following oral argument.

24· · · · · · · · · Indeed, as reflected in the advisory

25· ·committee notes to Rule 37, some courts defer the


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·1· ·factual finding on an intent to deprive until trial,

·2· ·at which point the parties seeking sanctions can

·3· ·still present new evidence.

·4· · · · · · · · · I just want to make clear that, in

·5· ·responding to your order, we have this procedure in

·6· ·mind and wanted to do our best to respond fully to

·7· ·all of your questions, which required submitting

·8· ·additional exhibits to substantiate our responses.

·9· · · · · · · · · We did not understand that your

10· ·Honor's statement that the stipulations must contain

11· ·citations to exhibits accompanying the motion was

12· ·meant to prohibit citing other documents in addition

13· ·in order to fully respond to your questions.

14· · · · · · · · · I'd also just like to note that

15· ·Keurig's counsel knew our position early on but did

16· ·not raise this to your Honor as a point of

17· ·clarification when we sought clarification of your

18· ·Honor's order, presumably because they were aware of

19· ·the 2nd Circuit law spoliation procedure.

20· · · · · · · · · We believe this should constitute a

21· ·waiver of any objections to additional evidence, but

22· ·for now, we just want to stress that the law is clear

23· ·that your Honor can and should consider any

24· ·additional materials that are helpful to your

25· ·analysis and that have been raised either in response


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·1· ·to your order or raised today or even in follow-up

·2· ·from any issues covered today that might be helpful.

·3· · · · · · · · · Next slide, please.

·4· · · · · · · · · So your Honor, just to give you an

·5· ·overview of the way we view the issues on this

·6· ·motion.

·7· · · · · · · · · Your Honor, Keurig says in its

·8· ·opposition to our motion that our spoliation

·9· ·accusations are serious and unfortunately we do

10· ·agree.

11· · · · · · · · · They say we are wrong, but they have

12· ·now stipulated to the fact that Keurig failed to

13· ·preserve at least 25 computer hard drives, that they

14· ·knew they were required to preserve by Judge

15· ·Broderick's ESI order.· That is an ESI order that

16· ·Keurig's own counsel spent weeks, if not months,

17· ·heavily negotiating with us before both Keurig's law

18· ·firms agreed to be bound by it in 2014.

19· · · · · · · · · While, at first, we were very

20· ·surprised that Keurig's two sophisticated legal teams

21· ·with extensive experience in large-scale antitrust

22· ·litigations had apparently failed even to search

23· ·Keurig's litigation folder repository for email, over

24· ·the years, a pattern emerged in which Keurig would

25· ·push the limits of what it could get away with.· It


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·1· ·pushed those limits in several ways.· One, it

·2· ·willfully disregarded its obligations under Judge

·3· ·Brodrick's ESI and scheduling orders.· Two, it tried

·4· ·to conceal what Keurig was doing when we repeatedly

·5· ·had to confront them about Keurig's noncompliance

·6· ·with the Court's orders, and three, it ultimately

·7· ·conceded in drips and drabs to only a small fraction

·8· ·of what we know now happened at various points

·9· ·throughout the litigation.

10· · · · · · · · · What we have discovered and will

11· ·present to your Honor today is that what they have

12· ·admitted to so far is just the tip of the iceberg.

13· ·While they started by admitting only their failure to

14· ·collect and produce from CommVault, the violations

15· ·grew to include what we at first thought was nearly

16· ·the loss of one former employee's hard drive to a

17· ·handful of employees who were either fired or left

18· ·the company in the course of the litigation.

19· · · · · · · · · Although these employees were either

20· ·known or presumed to have returned their computers to

21· ·Keurig, they have mysteriously disappeared despite

22· ·litigation holds having been issued for these key

23· ·employees, whose deposition testimony makes clear

24· ·that their documents would be damaging to the

25· ·company.


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·1· · · · · · · · · Even then, despite Keurig's knowledge

·2· ·that there were many more hard drives that it could

·3· ·not image, Keurig concealed the breadth of these

·4· ·issues despite representing twice that it had

·5· ·substantially completed its custodial productions.

·6· · · · · · · · · Keurig similarly concealed material

·7· ·deficiencies in its transactional data for months,

·8· ·while our experts worked to prepare their reports on

·9· ·data that Keurig knew to be wrong but failed to admit

10· ·was seriously flawed for months.

11· · · · · · · · · Apparently, aware of the seriousness

12· ·of these issues, Keurig has compounded them by trying

13· ·to cover them up.· While Keurig argues that somehow

14· ·no unique documents were lost, despite spoliating 25

15· ·hard drives, Keurig's arguments are based on

16· ·fundamental misrepresentations about how Keurig's

17· ·computer systems are set up.

18· · · · · · · · · Keurig's counsel, however, cannot

19· ·contradict, as they have repeatedly done in their

20· ·briefs, the sworn testimony of its 30(b)(6) corporate

21· ·representative Kevin Campbell who repeatedly admitted

22· ·that not only did custodians save documents to their

23· ·hard drives, those drives were not backed up.

24· · · · · · · · · What really happened is made clear by

25· ·Mr. Campbell's own testimony.· Despite not even


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·1· ·knowing how many hard drives the custodians had and,

·2· ·therefore, had been lost, Keurig consciously decided

·3· ·not to track or look for hard drives it was ordered

·4· ·to preserve because doing so was, quote, not worth

·5· ·the effort.· That is a direct quote.

·6· · · · · · · · · JUDGE CAVE:· That's a quote from

·7· ·what?

·8· · · · · · · · · MS. TORPEY:· That is a quote from

·9· ·Kevin Campbell's 30(b)(6) deposition testimony, and

10· ·we have that in our presentation, your Honor, with

11· ·the cite.

12· · · · · · · · · JUDGE CAVE:· Okay.· Thank you.

13· · · · · · · · · MS. TORPEY:· Even worse, in addition

14· ·to the lost hard drives as well as admittedly thrown

15· ·out handwritten notes in binders relating to

16· ·Treehouse's lost customers, Keurig's last proposed

17· ·stipulation submitted to your Honor suggested that

18· ·Keurig likely also has deleted documents from

19· ·numerous custodians My Documents home share folder

20· ·that Keurig has been arguing for the last few years

21· ·is the default location for custodian's source of

22· ·these documents.

23· · · · · · · · · In other words, your Honor, they have

24· ·spoliated both the hard drives where executives

25· ·stored their own documents and they have spoliated


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·1· ·the alternative location to which executives were

·2· ·encouraged, not instructed, but encouraged to store

·3· ·other critical business documents.

·4· · · · · · · · · Keurig has already admitted, in fact,

·5· ·that it did not preserve home share folders for at

·6· ·least five custodians with already other serious

·7· ·spoliation issues.

·8· · · · · · · · · Where other litigants have brought

·9· ·motions based on what they call a shocking pattern of

10· ·misconduct and cavalier disregard for the Court's

11· ·order, as in Karsch, the scope, duration and extent

12· ·of lost, damaged or inacceptable computer hard

13· ·drives, inexplicably emptied home share drives,

14· ·thrown out notes and missing hardcopy documents and

15· ·misleading representations here far exceed the scope

16· ·of spoliation in almost every case we are aware of,

17· ·that is except one case in which a default judgment

18· ·was granted.

19· · · · · · · · · Under the circumstances, we believe

20· ·the relief we seek is more than reasonable and

21· ·necessary to restore Plaintiffs to the position they

22· ·would have been in absent the spoliation and to deter

23· ·Keurig from continuing its misconduct which threatens

24· ·to comprise the judicial process, not only with

25· ·respect to, your Honor, to our trials, but also with


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·1· ·respect to the additional related cases that have

·2· ·recently been filed by Keurig's own customers.

·3· · · · · · · · · Next slide, please, Megan.

·4· · · · · · · · · So, your Honor, just to level set

·5· ·with respect to the rules under which we have filed

·6· ·our motions.

·7· · · · · · · · · Plaintiffs are entitled to sanctions.

·8· ·One, under Rule 37(b) for violating the Court's order

·9· ·and other misconduct, including the spoliation of ESI

10· ·in violation of Judge Brodrick's ESI order as well as

11· ·other scheduling orders, 2, under the Court's

12· ·inherent authority and 3, under Rule 37(e)(1) and

13· ·Rule 37(e)(2) for spoliating ESI.

14· · · · · · · · · While the facts here support

15· ·spoliation under each of these sources of authority,

16· ·I just want to point out to two things to start.

17· ·First, our requested remedies of an adverse inference

18· ·and preclusion order are available under Rule 37(b)

19· ·should you find Keurig violated a Court Order.

20· · · · · · · · · Under Rule 37(b) where a party

21· ·violates a Court Order, Keurig must be sanctioned

22· ·provided their conduct was not justified, which here

23· ·it was not, by awarding monetary sanctions and/or

24· ·other remedies with an adverse inference.

25· · · · · · · · · Second, while Keurig made a vague


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·1· ·argument in its briefs about the Court's inherent

·2· ·authority to potentially be limited following the

·3· ·2015 revision to Rule 37(e)(2), it is clear that your

·4· ·inherent authority to order sanctions is still alive

·5· ·and well under cases such as Judge Brodrick's Berger

·6· ·case and the Karsch case following the 2015 revision

·7· ·to Rule 37.

·8· · · · · · · · · Second, while Keurig -- excuse me --

·9· ·third, I'll move on to Rule 37(e), while we satisfy

10· ·the standard for an intent to deprive here, we do not

11· ·need to show an intent to deprive either under Rule

12· ·37(e) or under Rule 37(e)(1).

13· · · · · · · · · Indeed, if you find in our favor

14· ·under Rule 37(b), and or the Court's apparent

15· ·authority, you may not reach the intent to deprive

16· ·under Rule 37(e)(2).

17· · · · · · · · · Next slide, please, Megan.

18· · · · · · · · · So first, we will focus on Rule 37(b)

19· ·and the Court's inherent authority.

20· · · · · · · · · Next slide, please, Megan.

21· · · · · · · · · Given the seriousness of a violation

22· ·of a Court Order and the need for courts and

23· ·litigants to be able to depend on compliance with

24· ·court orders, the only predicate for sanctions under

25· ·Rule 37(b) is the noncompliance with a Court Order.


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·1· ·As noted, an intent to deprive is not required under

·2· ·37(b), nor is it a showing of prejudice.· Although we

·3· ·will make such a showing in connection with Rule

·4· ·37(e)(1).

·5· · · · · · · · · Next slide, please.

·6· · · · · · · · · As set forth in the Syntel case, your

·7· ·Honor cited in Raymond to obtain an adverse inference

·8· ·under Rule 37(b) we need to show that Keurig had an

·9· ·obligation to timely produce evidence, had a culpable

10· ·state of mind, that the missing evidence is relevant

11· ·only in the sense that a reasonable trier of fact

12· ·could find that it would support one of their claims.

13· ·We can certainly do that here.

14· · · · · · · · · Next slide, please.

15· · · · · · · · · This slide has an overview of the

16· ·provisions of the ESI order that Keurig has violated

17· ·over the course of this litigation and we will look

18· ·at some subdivisions in more detail.

19· · · · · · · · · First thing over-archingly Keurig

20· ·failed to take reasonable steps to prevent the loss,

21· ·destruction or deletion of documents and data in

22· ·violation of the ESI order, ECF-41 at 4 and more

23· ·specific ESI order subdivisions.

24· · · · · · · · · Second, Keurig violated the ESI

25· ·order's requirement to produce hard drives if they


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·1· ·were not backed up such that they would store unique

·2· ·documents as Keurig has admitted that they do, both

·3· ·by the corporate representative as well as by counsel

·4· ·in the course of this litigation.

·5· · · · · · · · · Third, Keurig violated the ESI order

·6· ·by failing to preserve documents and data, for

·7· ·example, by spoliating hardcopy documents and data of

·8· ·former employee custodians in general and

·9· ·specifically by failing to preserve network My

10· ·Documents home share drives for custodians.

11· · · · · · · · · Fourth, Keurig violated the ESI order

12· ·by refusing to timely interview each custodian in

13· ·order to preserve documents and data.

14· · · · · · · · · Fifth, Keurig violated the ESI

15· ·ordered by failing to preserve and produce hardcopy

16· ·documents for multiple custodians.· Keurig violated

17· ·the ESI order by failing to raise issues of

18· ·inaccessibility of ESI as soon as possible.

19· · · · · · · · · JUDGE CAVE:· Ms. Torpey, let me just

20· ·stop you for one second.

21· · · · · · · · · If you're not speaking, if you could

22· ·just mute your line for us, and then substantively

23· ·how am I supposed to judge when Keurig should have

24· ·disclosed to you -- let's just take the hard drives,

25· ·for example.


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·1· · · · · · · · · MS. TORPEY:· Yes.

·2· · · · · · · · · JUDGE CAVE:· What metric am I

·3· ·supposed to use to decide that Keurig's timing of

·4· ·letting you know was unreasonable?

·5· · · · · · · · · MS. TORPEY:· Well, your Honor, we

·6· ·have slides that address that further on in the

·7· ·presentation, but I'm happy to address it now if

·8· ·you'd like.

·9· · · · · · · · · JUDGE CAVE:· If you're going to get

10· ·to it, that's fine.

11· · · · · · · · · MS. TORPEY:· Okay.· I will get to it.

12· ·Do not fear.

13· · · · · · · · · Next slide, please, Megan.

14· · · · · · · · · So on Slide 10, you'll see the first

15· ·provision that we referenced of the ESI order signed

16· ·by both of Keurig's law firms in 2014 requiring

17· ·Keurig to take reasonable steps to prevent the loss,

18· ·destruction, alteration, overwriting, deletion, other

19· ·things and theft of potentially relevant documents

20· ·and data.

21· · · · · · · · · Your Honor, note that Keurig

22· ·specifically certified that it had implemented a data

23· ·preservation plan and represented it had confirmed

24· ·with IT personnel that auto-deletions were suspended

25· ·as of June 26, 2014.


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·1· · · · · · · · · Next slide, please.

·2· · · · · · · · · However, your Honor, we were very

·3· ·surprised to learn in the 30(b)(6) deposition of

·4· ·Keurig's corporate representative that, in fact,

·5· ·unless a custodian has already been placed on a

·6· ·litigation hold and IT is made aware of that

·7· ·litigation hold, when an employee leaves Keurig,

·8· ·Keurig has continued to use a computer script to

·9· ·automatically delete the employee's email, mailbox as

10· ·well as the content of that employee's network share

11· ·drive.

12· · · · · · · · · Keurig also set up its systems to

13· ·delete a user's information from a network, if that

14· ·user does not connect the network in 30 days.

15· · · · · · · · · Your Honor, what this means is that

16· ·if Keurig fails to keep a record of an employee's

17· ·encryption key needed to decrypt a hard drive, Keurig

18· ·can no longer connect that hard drive to the system

19· ·to either prompt the reset of an encryption key or to

20· ·log on to the system with the user's log-in

21· ·credentials which would otherwise permit IT to image

22· ·the hard drive while connected to the network.

23· · · · · · · · · Next slide, please.

24· · · · · · · · · While Keurig's auto-deletions of

25· ·former employees' email and network share drive is


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·1· ·shocking enough, Keurig's 30(b)(6) representative

·2· ·further testified that, during the course of this

·3· ·litigation, Keurig decided, thereby willfully, to

·4· ·implement even more auto-deletions in 2017, despite

·5· ·the fact that counsel knows we allege ongoing

·6· ·violations of the law in this case and despite the

·7· ·fact that new cases were, and still are, expected to

·8· ·be filed.

·9· · · · · · · · · Even though the relevant time period

10· ·in our case reaches back to 2009 by Judge Pitman's

11· ·Court Order at ECF-434.· This means that, for

12· ·example, when McLane case in 2019 email for

13· ·custodians and added that were not previously on a

14· ·litigation hold would have email deleted if it was

15· ·more than three years old, cutting off seven years of

16· ·the court-ordered relevant time period.

17· · · · · · · · · Obviously, this violates the duty to

18· ·suspend auto-deletions as set forth in Zubalake 4 by

19· ·Judge Scheindlin.

20· · · · · · · · · Next slide, please.

21· · · · · · · · · JUDGE CAVE:· Well, are you saying

22· ·that that applies across the board to any employee

23· ·even if they're not the custodian?

24· · · · · · · · · MS. TORPEY:· Your Honor, reading the

25· ·testimony of Kevin Campbell, corporate -- the


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·1· ·corporate representative for Keurig, I do not know if

·2· ·I would assume -- I would like to assume that that

·3· ·does not apply, certainly, I would hope, to

·4· ·individuals who are on a litigation hold.

·5· · · · · · · · · However, the issue is that this is

·6· ·dealing with ongoing violations, as you probably

·7· ·noticed, the vast majority of our custodians are

·8· ·former employees and new people have come in and

·9· ·taken those positions, and there are ongoing

10· ·violations in this case.

11· · · · · · · · · This is all potentially relevant ESI

12· ·and data that future cases and, frankly, our case, if

13· ·there are other issues that happened before trial,

14· ·should have preserved under the duty to suspend

15· ·auto-deletion.

16· · · · · · · · · Okay.· So on Slide 13, Keurig's

17· ·30(b)(6) witness also testified that Keurig did not

18· ·collect hardcopy documents for most departing

19· ·employees.· They did not track how many computers or

20· ·hard drives were assigned to employees.· They did not

21· ·ask former employees what happened when their

22· ·computers went missing.· They deleted the remedy

23· ·ticketing system data that could have shown who in HR

24· ·initiated a repossession ticket for IT to start the

25· ·off-boarding process for an employee and prompts them


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·1· ·to collect their computer.

·2· · · · · · · · · Slide 14.

·3· · · · · · · · · Your Honor, he further testified that

·4· ·for many years into this litigation, Keurig did not

·5· ·have a computer tracking system either for computers

·6· ·that were assigned to employees or to keep track of

·7· ·computers on litigation holds returned to IT.

·8· · · · · · · · · Some computers, for example, were

·9· ·just put in a tote or put on an unsecured shelf like

10· ·John Wettstein, whose hard drive had mysteriously

11· ·been removed from the laptop by the time IT went to

12· ·image it.

13· · · · · · · · · Keurig also did not take precautions

14· ·to prevent damage to hard drives.· Some were just put

15· ·in a big bin, for example.· They weren't stored in

16· ·temperature-controlled locations, even when the heat

17· ·was turned down in very cold places like Vermont.

18· · · · · · · · · And critically, your Honor, he

19· ·testified that Keurig did not even begin its effort

20· ·to try to locate computer hard drives that contained

21· ·documents relevant to our litigation until the first

22· ·quarter of 2018; that is four years after the

23· ·Complaint was filed in 2014 and two years after we

24· ·served RFPs.

25· · · · · · · · · Next slide, please.


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·1· · · · · · · · · Keurig's corporate representative

·2· ·also testified that they did not track encryption

·3· ·keys, which was contrary to the company standard

·4· ·issues -- issued years earlier.

·5· · · · · · · · · No one bothered to reach out to

·6· ·former employees to ask if they still had their

·7· ·log-on information, which is often used as the

·8· ·encryption key itself.· IT did not have written

·9· ·instructions for how to log on to the McAfee

10· ·encryption server or how to prompt the server to

11· ·generate a new encryption key if one were lost.

12· · · · · · · · · And as noted, Keurig removed user

13· ·information from the network so they could not be

14· ·imaged by connecting them to the network and

15· ·accessing them in that alternative way.

16· · · · · · · · · Of course this all failed to satisfy

17· ·Keurig's duty to take affirmative steps to prevent

18· ·inadvertent spoliation.

19· · · · · · · · · Next slide, please.

20· · · · · · · · · As you know, the ESI order also

21· ·explicitly required collection of hard drives.

22· · · · · · · · · Next slide.

23· · · · · · · · · Despite Keurig --

24· · · · · · · · · JUDGE CAVE:· Can I just stop you one

25· ·second there?· You said 24, you said 25 earlier.


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·1· ·These papers also said the 23 -- so my point was the

·2· ·prior slide said 24 hard drives --

·3· · · · · · · · · (Reporter instruction.)

·4· · · · · · · · · JUDGE CAVE:· I'll start again.· So my

·5· ·point was, earlier Ms. Torpey had said 25 hard

·6· ·drives.· I think the Plaintiffs referred to 23

·7· ·custodians, but there's one hard drive that I think

·8· ·is missing.

·9· · · · · · · · · MS. TORPEY:· Let me explain.

10· · · · · · · · · JUDGE CAVE:· Yes.

11· · · · · · · · · MS. TORPEY:· I know.· And I have to

12· ·admit and it has taken us and, frankly, we've been

13· ·working on these slides for a very long time and our

14· ·understanding is still evolving and we're trying to

15· ·still piece everything together ourselves, but I

16· ·think we have a good handle on it now.

17· · · · · · · · · So one of the issues is that two of

18· ·the hard drives relate to one custodian.· So that is

19· ·one difference across the counting.

20· · · · · · · · · Another difference in the count is

21· ·that two of the hard drives were partially recovered.

22· ·So I think sometimes we have included that and other

23· ·times we haven't.· So the two hard drives that have

24· ·been partially but not fully recovered such that they

25· ·were still spoliated, as far as we can say, are for


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·1· ·Rathke, Fran Rathke, the CFO and Michelle Stacy, the

·2· ·president -- the former president.

·3· · · · · · · · · So I hope that is a helpful

·4· ·clarification.

·5· · · · · · · · · JUDGE CAVE:· It does, and just remind

·6· ·me, the two hard drives are -- I believe --

·7· · · · · · · · · MS. TORPEY:· I believe that's for

·8· ·DiFabio.

·9· · · · · · · · · JUDGE CAVE:· DiFabio, okay, great.

10· ·Thank you.

11· · · · · · · · · MS. TORPEY:· So despite Keurig's

12· ·obligation to produce hard drives under the ESI order

13· ·to the extent that they weren't duplicative, that's a

14· ·point in the ESI order, Keurig's corporate

15· ·representative admitted under oath that the reason

16· ·why IT did not collect hard drives was because Keurig

17· ·simply did not feel like it's worth the effort to

18· ·look at individual hard drives.

19· · · · · · · · · And there is the cite, your Honor,

20· ·that I believe you were asking for in the beginning,

21· ·ES -- ECF 1635-6 at 259, Lines 1 through 10.

22· · · · · · · · · Next slide, please.

23· · · · · · · · · So your Honor, ultimately, Keurig's

24· ·dereliction of the its known duties resulted in

25· ·Keurig losing at least nine hard drives that we know


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·1· ·of, rendering 10 hard drives inaccessible as a result

·2· ·of its failure to track encryption keys and rendered

·3· ·six hard drives in accessible as failing to prevent

·4· ·damage.· Keurig's loss of and failure to preserve

·5· ·these drives is now undisputed as a result of the

·6· ·stipulation.

·7· · · · · · · · · Next slide, please.

·8· · · · · · · · · Your Honor, this case is even more

·9· ·egregious than in Zubalake 5, for example, in which

10· ·Judge Scheindlin awarded a jury instruction in fees

11· ·and cost for failing to failure relevant backup tapes

12· ·from being inadvertently recycled.

13· · · · · · · · · That case was, as she described, a

14· ·gray area because it dealt with backup tapes as

15· ·opposed to hard drives themselves.

16· · · · · · · · · So in order for the obligation to

17· ·kick in for the backup tapes, the prior media would

18· ·have to be spoliated or inaccessible.

19· · · · · · · · · Here, of course, hard drives was

20· ·specifically included in the ESI order so there can

21· ·be no question that there was a court ordered

22· ·obligation to collect and preserve hard drives.

23· · · · · · · · · Okay.· Slide 20, please.

24· · · · · · · · · The ESI order also required Keurig to

25· ·produce documents from document servers like Keurig's


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·1· ·network home shares that store Keurig's My Documents

·2· ·folder.

·3· · · · · · · · · Next slide, please.

·4· · · · · · · · · Keurig, of course, has recognized

·5· ·that custodians saved documents to the home share in

·6· ·addition to the local hard drive.

·7· · · · · · · · · Next slide, please.

·8· · · · · · · · · However, Keurig has admitted that

·9· ·five custodians home shares inexplicably did not

10· ·contain any documents including those four

11· ·custodians:· Barberio, McCall, Shepard, Sullivan and

12· ·Michelle Stacy.

13· · · · · · · · · Keurig's counsel disclosed this in

14· ·correspondence, I believe that was in May, in a

15· ·letter describing why they purported to have complied

16· ·with their obligation.· Although Keurig has been

17· ·arguing that there is no prejudice from failing to

18· ·preserve 25 hard drives because custodians were

19· ·purportedly, in their words, instructed to save

20· ·documents to their home shares -- first of all,

21· ·"instructed" is not the right word, according to

22· ·Kevin Campbell.· They might encouraged but they're

23· ·not instructed, they're not prohibited from saving

24· ·documents elsewhere, but your Honor, studying

25· ·Keurig's proposed stipulations, in the course of


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·1· ·leading up to this hearing, has now raised additional

·2· ·new serious concerns for us.

·3· · · · · · · · · In reviewing --

·4· · · · · · · · · JUDGE CAVE:· Can I just ask you a

·5· ·question.· I'm sorry to interrupt you.

·6· · · · · · · · · MS. TORPEY:· Yeah.

·7· · · · · · · · · JUDGE CAVE:· About the first bullet.

·8· ·So the home shares for these four people, McCall,

·9· ·Shepard, Sullivan, Stacy.

10· · · · · · · · · MS. TORPEY:· Excuse me, and Barberio,

11· ·there's five.

12· · · · · · · · · JUDGE CAVE:· I'm sorry.· Barberio, as

13· ·well, have -- so there are home shares, but there was

14· ·nothing in the home shares, but do we know that there

15· ·was ever everything in the home shares and it was

16· ·deleted or was there just never anything in the home

17· ·shares?

18· · · · · · · · · MS. TORPEY:· So that is an excellent

19· ·question, your Honor.· The one thing I would say is

20· ·that Keurig's corporate representative testified that

21· ·custodians saved critical business documents to the

22· ·home share.

23· · · · · · · · · JUDGE CAVE:· Okay.

24· · · · · · · · · MS. TORPEY:· Keurig has, for the last

25· ·several years, including in May 2019 in this


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·1· ·particular letter, has been telling us that there's

·2· ·no prejudice to the loss of hard drives, local hard

·3· ·drives, because all of their custodians should and do

·4· ·save documents to their home shares.· We will see

·5· ·later the corporate asset policy demonstrates instead

·6· ·as, in fact, corporate testimony by Kevin Campbell

·7· ·demonstrates that custodians did, in fact, as the ESI

·8· ·demonstrates save documents, business documents, to

·9· ·both the local hard drive, that is Drive C and the

10· ·home share drive, which is Drive K.

11· · · · · · · · · JUDGE CAVE:· Okay.· So for these five

12· ·custodians, we don't have hard drives, we don't have

13· ·a home share, is there any other network location

14· ·from which we have documents for these five

15· ·custodians.

16· · · · · · · · · MS. TORPEY:· So, your Honor, if you

17· ·would like me to go through these right now.

18· · · · · · · · · JUDGE CAVE:· Okay.

19· · · · · · · · · MS. TORPEY:· We have slides

20· ·detailing --

21· · · · · · · · · JUDGE CAVE:· Okay.

22· · · · · · · · · MS. TORPEY:· But I would just say,

23· ·for example, Don Barberio, his hardcopy documents

24· ·were spoliated.· He is the person who left and had

25· ·binders in his office.· His hard drive was spoliated.


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·1· ·He testified that he returned his hard drive to HR

·2· ·and Tom Ferguson on corporate premises, and since

·3· ·then, it went missing.· Don Barberio's local My

·4· ·Documents folder was also mysteriously missing.

·5· · · · · · · · · So you will see, your Honor, that

·6· ·they cannot claim that nothing was lost and that

·7· ·there is no prejudice, because some of these

·8· ·custodians have neither a My Documents folder on

·9· ·their home share nor a C drive for their local hard

10· ·drive.

11· · · · · · · · · JUDGE CAVE:· Okay.

12· · · · · · · · · MS. TORPEY:· Okay?

13· · · · · · · · · JUDGE CAVE:· And do we have emails

14· ·for him or not?

15· · · · · · · · · MS. TORPEY:· We do have emails but it

16· ·is a much smaller volume considerably than the other

17· ·custodians.

18· · · · · · · · · JUDGE CAVE:· Okay.· Thank you.

19· · · · · · · · · MS. TORPEY:· Okay.· So your Honor, in

20· ·reviewing the other sources of production for the

21· ·custodians whose hard drives have been spoliated, it

22· ·appeared that Keurig may not have preserved home

23· ·share folders for many other custodians as well,

24· ·specifically unlike other custodians, Keurig does not

25· ·represent that it has produced documents from the


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·1· ·home share for a number of the custodians in their

·2· ·proposed stipulations.· So this includes custodians,

·3· ·Dwight Brown, Tom Ferguson, Don Holly, Sherry Hurley,

·4· ·Joe Mueller, Richard Sweeney, Jon Wettstein and John

·5· ·Whorisky.

·6· · · · · · · · · These names might be familiar to you

·7· ·already because a number of them have other

·8· ·spoliation issues as well.

·9· · · · · · · · · Jimmy Huang is a little bit different

10· ·in that they represented that they produced documents

11· ·from his OneDrive folder, but that was not

12· ·implemented until 2017.

13· · · · · · · · · They argue that there are documents

14· ·in that other drive throughout the course of his

15· ·employment, but we have no way of knowing that a full

16· ·migration was done.

17· · · · · · · · · Importantly, your Honor, Keurig has

18· ·never disclosed to date whether it has preserved

19· ·documents from the home share for any of the other

20· ·many custodians in this case.· All they have

21· ·disclosed to date are the five custodians they

22· ·admitted to in 2019.

23· · · · · · · · · If, in fact, not listing the home

24· ·share in their other sources of production does

25· ·indicate that Keurig did not preserve those


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·1· ·documents, that would mean that at least 14

·2· ·custodians in this case did not have their home

·3· ·shares preserved in addition to the other spoliation

·4· ·issues in this case.

·5· · · · · · · · · That says nothing, of course, of all

·6· ·of the other custodians who they have not made

·7· ·representation as to in terms of what has been

·8· ·preserved specifically and what has been spoliated.

·9· · · · · · · · · Next slide, please.

10· · · · · · · · · Keurig also violated the ESI order by

11· ·refusing to interview each of its agreed upon

12· ·custodians in a timely manner where they retained

13· ·documents and data and to collect documents as the

14· ·ESI order clearly requires that custodians who took

15· ·home documents and custodians who had documents in

16· ·their possession were required to be collected and

17· ·produced in this litigation.

18· · · · · · · · · As you can see, the ESI order

19· ·expressly obligated to Keurig to search for documents

20· ·not just in Keurig's possession, custody and control,

21· ·but expressly also in that of its individual

22· ·custodians.

23· · · · · · · · · It also expressly required Keurig to

24· ·search for responsive documents, quote, wherever they

25· ·may reside and to collect documents from custodians'


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·1· ·office or home.

·2· · · · · · · · · Next slide, please.

·3· · · · · · · · · Your Honor, in 2019, it started to

·4· ·become clear that Keurig was drawing a noncompliance

·5· ·distinction between current and former employees who

·6· ·were agreed-upon custodians.· Surprised by Keurig's

·7· ·lack of diligence of failing to collect hardcopy

·8· ·documents from a custodian before a deposition, Judge

·9· ·Pitman warned Keurig -- Keurig's counsel that they

10· ·should have sat down with custodians long ago to

11· ·discuss how to comply with requests for production.

12· · · · · · · · · We also specifically warned Keurig

13· ·that their position violated the ESI order.

14· · · · · · · · · Next slide, please.

15· · · · · · · · · But despite being warned, Keurig

16· ·willfully disregarded the plain language of the ESI

17· ·order by arguing that they did not have to collect

18· ·documents for former employees who had documents in

19· ·their possession.

20· · · · · · · · · Despite the fact that, by this time

21· ·we had agreed upon the list of custodians, Keurig's

22· ·counsel increased our cost and caused delay by

23· ·requiring us to serve and individually negotiate

24· ·subpoenas for agreed upon custodians that should have

25· ·been governed by the normal RFP process.


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·1· · · · · · · · · Next slide, please.

·2· · · · · · · · · This misconduct not only violated the

·3· ·plain language of multiple provisions of the ESI

·4· ·order but also settled case law that counsel's duty

·5· ·to preserve extends to former employees.

·6· · · · · · · · · Next slide, please.

·7· · · · · · · · · It is notable that Keurig refused to

·8· ·respond to your Honor's request to provide the dates

·9· ·of interviews counsel conducted with custodians.

10· ·However, deposition testimony establishes that Keurig

11· ·waited to interview key custodians for more than five

12· ·years from when we filed our Complaint, more than

13· ·three years from the time we served RFPs and notably

14· ·more than a year, in some cases, after Keurig was

15· ·supposed to have completed custodial production.

16· · · · · · · · · Next slide, please.

17· · · · · · · · · As shown on this slide, Keurig did

18· ·not contact numerous key custodians we are aware of

19· ·for anywhere between months and a year after Keurig

20· ·was supposed to have substantially completed

21· ·custodians' production.

22· · · · · · · · · Next slide, please.

23· · · · · · · · · Of course, had Keurig fulfilled its

24· ·basic obligation to interview custodians, it could

25· ·have prevented the spoliation of numerous handwritten


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·1· ·notes and hardcopy documents that were spoliated as

·2· ·well as the spoliation of numerous computers that

·3· ·went missing and could have also ensured that

·4· ·custodians preserved log-in information that could

·5· ·have been used to decrypt computers.

·6· · · · · · · · · Next slide, please.

·7· · · · · · · · · This case is similar to Zubalake 5 in

·8· ·which Judge Scheindlin observed that counsel had an

·9· ·obligation to interview custodians to determine where

10· ·responsive materials are kept.

11· · · · · · · · · Next slide, please.

12· · · · · · · · · Your Honor, this slide shows the

13· ·document counts we have for hardcopy productions from

14· ·Keurig custodians.· This confirms what we have

15· ·learned from the depositions.· Hardcopy documents

16· ·were spoliated for custodians like Suzanne DuLong,

17· ·Barberio, DiFabio, Ferguson and others.

18· · · · · · · · · Even for those who have produced

19· ·something -- I'm sorry, your Honor, would you --

20· · · · · · · · · JUDGE CAVE:· I was just going to ask

21· ·what's the difference between personal and --

22· · · · · · · · · MS. TORPEY:· Yes.· So your Honor,

23· ·this stems from Keurig's noncompliance with the

24· ·agreements -- well, the normal practice to treat

25· ·regular custodians under the RFP process.


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·1· · · · · · · · · So Keurig required us to serve

·2· ·subpoenas for employees who were agreed upon

·3· ·custodians, if they were a former employee.

·4· · · · · · · · · So you'll see, for example, although

·5· ·the numbers still are remarkably small, John

·6· ·Whoriskey, you'll see, he has a personal production

·7· ·of a total of six documents.· The difference, I

·8· ·believe, distinguishes between what documents would

·9· ·have been collected on Keurig's premises when it was

10· ·a current employee versus a former employee for whom

11· ·Keurig required us to serve a subpoena.

12· · · · · · · · · I'm just looking to see if there are

13· ·any who have both.

14· · · · · · · · · Yeah, so Ian Tinkler, I think, is

15· ·perhaps the only one who has I think both.· So

16· ·perhaps Keurig actually succeeded in collecting some

17· ·documents from Ian Tinkler when he was still an

18· ·employee but then we became very concerned about

19· ·spoliation issues, as you might imagine.· We had to

20· ·serve subpoenas and that must have been a result of a

21· ·subpoena served on him to ensure preservation.

22· · · · · · · · · JUDGE CAVE:· Okay.· Thank you.

23· · · · · · · · · MS. TORPEY:· Okay.

24· · · · · · · · · So as I was noting, even for those

25· ·who produced something, it is very hard to believe


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·1· ·that someone like John Whoriskey, who left Keurig

·2· ·after the Complaint was filed, would not have had

·3· ·more than six responses hardcopy documents in his

·4· ·office at the time he left the company.

·5· · · · · · · · · Next slide, please.

·6· · · · · · · · · JUDGE CAVE:· What did he say, for

·7· ·example -- you're going to give me a different

·8· ·example.· That's fine.

·9· · · · · · · · · MS. TORPEY:· This is, I believe,

10· ·responsive to your precise question, I hope.

11· · · · · · · · · So what did he say?· He testified

12· ·that he took notes in meetings for the time that he

13· ·was there but then he threw them out.

14· · · · · · · · · As you can see on the slide, this is

15· ·his testimony.· There's more on the next slide.

16· · · · · · · · · So here, he confirms that this was

17· ·his practice through the time he left, through 2015,

18· ·despite supposedly having received a litigation hold

19· ·the year prior.

20· · · · · · · · · Next slide, please.

21· · · · · · · · · So this is Ron DiFabio's testimony.

22· ·Perhaps even worse, Ron DiFabio testified that he

23· ·liked everything in hardcopy and left binders of

24· ·customer meeting of recaps and retailer presentations

25· ·on the credenza when he left Keurig after the


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·1· ·Complaint was filed.

·2· · · · · · · · · As in other cases, the only inference

·3· ·to draw from this is that either Keurig spoliated

·4· ·them or has improperly withheld them.· Either one is

·5· ·misconduct.

·6· · · · · · · · · Next slide, please.

·7· · · · · · · · · Here, your Honor is Barberio's

·8· ·testimony that he threw out his handwritten notes

·9· ·from customer meetings, that he had kept until he had

10· ·cleaned out his office when he left the company also

11· ·after the Complaint was filed.

12· · · · · · · · · Next slide, please.

13· · · · · · · · · You had raised a question yourself

14· ·very diligently reviewing the exhibits to the briefs

15· ·that question was whether Suzanne DuLong had any

16· ·hardcopy documents produced.

17· · · · · · · · · As you saw from the prior chart, she

18· ·did not.· This is her testimony saying that hardcopy

19· ·documents existed at the time that she left the

20· ·company.

21· · · · · · · · · Interestingly, she left the company

22· ·much later than the others as well.· You would have

23· ·thought that by that time, they certainly would have

24· ·collected her documents.

25· · · · · · · · · Next slide, please.


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·1· · · · · · · · · So here we have the requirement that

·2· ·the ESI also required Keurig to raise any issues

·3· ·concerning the inaccessibility of ESI as soon as

·4· ·possible.

·5· · · · · · · · · Next slide, please.

·6· · · · · · · · · As you can see here, Keurig knew that

·7· ·it could not image or locate drives for Michelle

·8· ·Stacy, Wettstein, Rathke and Huang no later than

·9· ·March of 2018 but for the deadline for substantial

10· ·completion of custodian production.· There was one

11· ·other hard drive that it had realized it was missing

12· ·before this date that it actually disclosed.· We find

13· ·it quite interesting that they disclosed only that

14· ·one.· Looking at it now, it seems apparent that they

15· ·did so because that was a former employee who left

16· ·before we filed our Complaint, unlike all of these

17· ·other custodians who were still at Keurig at the time

18· ·we filed the Complaint, suggesting that they were

19· ·well aware of their spoliation issues as of March

20· ·2018.

21· · · · · · · · · So what does "as soon as possible"

22· ·mean in compliance with the Court order, of course, I

23· ·think a reasonable amount of time certainly would be

24· ·several weeks, months even, but at the very latest,

25· ·you would have to think that they would have


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·1· ·disclosed this before the initial deadline for

·2· ·substantial completion of documents, which they did

·3· ·not.

·4· · · · · · · · · Compounding issues further, following

·5· ·that, we had questions of course because we were

·6· ·trying to figure out why the document counts were all

·7· ·over the place in this litigation.

·8· · · · · · · · · It was clear on our side that there

·9· ·were serious deficiencies in Keurig's productions and

10· ·we were trying to get to the bottom of it, and we had

11· ·to invest substantial resources to do so.

12· · · · · · · · · Yet, despite raising those concerns

13· ·about the deficiencies, including four custodian

14· ·whose drive they knew either already had issues or

15· ·were missing entirely, they did not respond to our

16· ·inquiries by disclosing that they had, in fact,

17· ·spoliated these drives.· Instead --

18· · · · · · · · · JUDGE CAVE:· I'm sorry.· Can you tell

19· ·me a little bit just on the -- what you were just

20· ·mentioning about the efforts that you were taking to

21· ·look at the document counts and identify

22· ·deficiencies, can you just explain to me, you know,

23· ·in a little bit of detail what it is that Treehouse

24· ·did because that will help me assess whether what you

25· ·did is something that Keurig should have done on its


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·1· ·own.

·2· · · · · · · · · MS. TORPEY:· Sure.· Are so we were,

·3· ·of course, trying to move the case along as

·4· ·expeditiously as we possibly could.· We were eager to

·5· ·get documents in the door and get them reviewed and

·6· ·get them into deposition kits to get our depositions

·7· ·underway.

·8· · · · · · · · · We kept looking at the document

·9· ·counts to figure out which custodians were

10· ·substantially complete so that we could then make

11· ·sure we were reviewing the right custodians and could

12· ·sequence our depositions, for example.

13· · · · · · · · · So we were watching these.· We were

14· ·looking at the numbers.· We were, in fact, doing

15· ·counts, as I'm sure you'll hear.· You know, Keurig is

16· ·well capable of running counts for documents.· I'm

17· ·sure you'll hear that in their motion.· So we were

18· ·looking at the number of documents produced.· We were

19· ·comparing them across all of the custodians, and we

20· ·were noticing that there were some very significant

21· ·distinctions and we were looking at the back end to

22· ·the extent that we could.

23· · · · · · · · · So, for example, we might be able to

24· ·determine if no documents were produced from Michelle

25· ·Stacy's hard drive.· This was one of the things that


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·1· ·we had raised, the sources.· We tried to look at the

·2· ·sources.· One of the things that is more challenging

·3· ·is determining if something was produced from the

·4· ·home share unfortunately.· So this is something that

·5· ·we were not able to do as well.· But we were looking

·6· ·and we were asking.· This custodian is now

·7· ·represented as being substantially complete as of

·8· ·this date.

·9· · · · · · · · · Why are we not seeing any documents,

10· ·for example -- in one of the letters, for example,

11· ·Keurig itself admitted that Michelle Stacy had a full

12· ·month where she had no email.· I'm not sure if it was

13· ·email or ESI documents, but one of those.· Full

14· ·month, no documents.· You know, very significant

15· ·differences in terms of patterns and timing of what

16· ·was being produced.· So we were, basically -- it was

17· ·like a second job to one of our associates.· She

18· ·worked tirelessly with litigation support to try to

19· ·understand what was going on.· We invested so many

20· ·resources in this exercise because we wanted to move

21· ·the case quickly.· That turned out not to be an

22· ·option for us because it turned out that there were

23· ·so many deficiencies in Keurig's production that very

24· ·soon they told us that, in fact, they had not even

25· ·searched, collected and produced from their


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·1· ·litigation fold repository.

·2· · · · · · · · · Now, one thing, your Honor, I think

·3· ·you will find interesting, which reviewing the dates

·4· ·has piqued my interest and I look forward to hearing

·5· ·from Keurig's counsel what was going on, I find it

·6· ·very interesting that they appear to have known that

·7· ·a number of custodians already had hard drive issues

·8· ·but then they represented that they had substantially

·9· ·completed their custodial productions.· We continued

10· ·to raise these deficiencies, including for some of

11· ·those specific custodians, they came back to us and

12· ·told us that they had adequately preserved relevant

13· ·ESI, despite knowing that there were spoliation

14· ·issues already for a number of custodians with

15· ·respect to their hard drives, and interestingly, on

16· ·August 7th, instead of telling us about these issues,

17· ·they instead pivoted and only told us that there was

18· ·an issue in not collecting and producing from its

19· ·litigation hold repository CommVault.

20· · · · · · · · · So we continued to try to investigate

21· ·all this while to figure out why what they were

22· ·saying to us was still not matching up with what we

23· ·were seeing on the back end with our litigation

24· ·support team.

25· · · · · · · · · JUDGE CAVE:· Okay.· Now, when your


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·1· ·associate was sitting down to look at the ESI for a

·2· ·particular custodian go, what were the categories or

·3· ·what were the columns in her spreadsheet?· Emails?

·4· ·Hard drives?· Home share?· Network drives?· Can you

·5· ·just explain to me what the different components

·6· ·were?

·7· · · · · · · · · MS. TORPEY:· Sure.· We were looking

·8· ·at sources, which is a very laborious process

·9· ·especially for home shares.· So what you can do is

10· ·you can run a report and what you see is -- like

11· ·almost a link where you can if something is coming

12· ·from the K drive, the C drive, you know, from email,

13· ·hardcopy productions.

14· · · · · · · · · So she spent a very long time

15· ·analyzing all of this, as did our litigation support

16· ·team, as did our vendor trying to figure out what was

17· ·going on.

18· · · · · · · · · JUDGE CAVE:· Okay.· So I'm just

19· ·trying to -- this goes to the question of alternative

20· ·sources.· So that's why I'm just trying to pin you

21· ·down a little bit more so that I know when Keurig

22· ·comes back and says well there was nothing in the K

23· ·drive but there was in the C drive --

24· · · · · · · · · MS. TORPEY:· Sure.

25· · · · · · · · · JUDGE CAVE:· Is there an agreement on


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·1· ·what those different categories of ESI were?

·2· · · · · · · · · MS. TORPEY:· So I believe that -- we

·3· ·have a different interpretation and I'll get to that

·4· ·certainly.· I think that they represent them

·5· ·differently than the documents do for their --

·6· · · · · · · · · JUDGE CAVE:· I'll take your word --

·7· · · · · · · · · MS. TORPEY:· But there is the C

·8· ·drive, which is the local hard drive.

·9· · · · · · · · · JUDGE CAVE:· All right.

10· · · · · · · · · MS. TORPEY:· There is the K drive

11· ·which is the home share My Documents folder.

12· ·Sometimes there are -- they mentioned in their May

13· ·2019 letter, I believe, that several custodians also

14· ·had places on share drives where they would store

15· ·some documents in coordination with their team, but

16· ·that is not the primary place to store.· The primary

17· ·place to store critical business documents under

18· ·corporate asset policy is the My Documents home share

19· ·and the place where they are actually directed to put

20· ·personal data and documents is the hard drive.· There

21· ·is actually a split and we'll get to that.· They

22· ·suggest that you are prohibited or instructed --

23· ·you're instructed to save to just the My Documents

24· ·home share, but that does not match up with the

25· ·corporate asset policy and we will get to that.


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·1· · · · · · · · · JUDGE CAVE:· Okay.· Thank you.

·2· · · · · · · · · MS. TORPEY:· Yes.

·3· · · · · · · · · So then you see finally they conceded

·4· ·that at least there were deficiencies and they were

·5· ·going back to CommVault.· Then there were more issues

·6· ·apparently that were discovered by Keurig that there

·7· ·were -- and they could have known about these earlier

·8· ·too.· We just don't know.· This is all that we have

·9· ·access to.· So additional spoliation issues with

10· ·respect to hard drives for Shepard, DuLong, Billings,

11· ·unable to decrypt hard drives for Wettstein,

12· ·Ferreira, Novak, Manly, Cote, Crites, Tinkler, Brown,

13· ·DiFabio.

14· · · · · · · · · So we all this time were trying to

15· ·work with them to figure out when are we going to

16· ·have substantially complete documents, and they

17· ·continued to have all sorts of technical difficulties

18· ·throughout.

19· · · · · · · · · One of the issues that I assume will

20· ·be addressed probably later in the day is that from

21· ·CommVault, you don't have the same access to the

22· ·metadata that says a document really came from one

23· ·particular custodian's email, for example.· Instead

24· ·counsel said that they manually assigned who it was

25· ·for, basically, combining all of the metadata.


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·1· · · · · · · · · So we don't know, for example, if an

·2· ·email from CommVault came from the person who -- who

·3· ·was on the recipient line or who was the sender of

·4· ·that email.

·5· · · · · · · · · Next slide, please.

·6· · · · · · · · · So there continued to be additional

·7· ·CommVault issues of course.

·8· · · · · · · · · Then, in January, you see that by

·9· ·this time, Keurig has learned about Don Barberio's

10· ·computer being missing.· Then we get into the

11· ·transactional data issues.· Keurig produced their

12· ·transactional data on February 7th.· They represented

13· ·that it was complete.· On April 8th, Keurig

14· ·represented that they had substantially completed

15· ·their custodial production once again without having

16· ·disclosed the extent of their spoliation issues or

17· ·the loss of these myriad hard drives.

18· · · · · · · · · We continued to ask questions about

19· ·their preservation.· They continued to tell us they

20· ·had complied with their obligations.· This is where

21· ·we learned about the metadata issue I was just

22· ·telling you about on May 6th.· And then on August

23· ·7th, one of the other Plaintiffs, who was focused on

24· ·this issue, sent a letter to Keurig questioning the

25· ·sufficiency of the transactional data asking, for


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·1· ·example, if it was true that all of the sales in this

·2· ·time period had a discount because, at that time,

·3· ·Keurig had admitted all records that did not have a

·4· ·discount.

·5· · · · · · · · · As you might imagine, this would

·6· ·portray a much different understanding of the pricing

·7· ·of Keurig's products, which is extraordinarily

·8· ·important of course in a monopolization case where

·9· ·monopoly pricing is at issue.

10· · · · · · · · · Next slide, please.

11· · · · · · · · · So we learned later on of course from

12· ·a deposition that Keurig had learned that there were

13· ·material deficiencies in its transactional data

14· ·production as early as fall of 2019.

15· · · · · · · · · Work continued to be done trying to

16· ·figure out how this transactional data could, in

17· ·fact, be accurate, continuing to question the

18· ·sufficiency of the transactional data.

19· · · · · · · · · Ultimately, Keurig revealed that it

20· ·of course had known that there were material

21· ·deficiencies in the transactional data, and we were

22· ·required to force -- we were forced to get another --

23· ·yet another extension to the schedule after

24· ·discovering the material deficiencies in that

25· ·transactional data which I believe resulted in --


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·1· ·yes, I see it here -- an extension by two months,

·2· ·which was very challenging, I will tell you, because

·3· ·our experts had been working with that data for a

·4· ·very long time, trying to prepare their expert

·5· ·reports which compromised our ability to prepare our

·6· ·expert reports as well.

·7· · · · · · · · · On March 19th, Keurig reproduced all

·8· ·of its core transactional data, which we had been

·9· ·processing for over a year, just one month before the

10· ·close of parties' fact discovery.

11· · · · · · · · · Next slide, please.

12· · · · · · · · · JUDGE CAVE:· There's not an issue of

13· ·spoliation of the transactional data?· It's just that

14· ·it was deficient and had to be reproduced and there

15· ·were delays, right?

16· · · · · · · · · MS. TORPEY:· Correct.· We believe

17· ·that, ultimately, I should hope, it was produced in

18· ·full, but because of the delay in producing the

19· ·accurate transactional data, as you might imagine

20· ·with multiple cases and multiple experts, experts are

21· ·extraordinarily expensive, and they had to do a lot

22· ·of manual work, cleaning the data, matching up the

23· ·sources of the data, matching up the customers,

24· ·matching up the products because everything has a

25· ·different name in transactional data.· It takes a lot


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·1· ·of manual work to go through and clean and match up

·2· ·the data as well as trying to analyze the data to

·3· ·figure out everything we needed to know to support

·4· ·our case and to analyze the pricing patterns, analyze

·5· ·monopoly pricing, analyze how they were pricing to

·6· ·various customers and that work had to all be redone,

·7· ·which is --

·8· · · · · · · · · JUDGE CAVE:· I get that.· I'm just

·9· ·wondering why we're even talking about transactional

10· ·data if there's no issue with it being spoliated.

11· · · · · · · · · MS. TORPEY:· We're talking about it,

12· ·your Honor, because it is a violation of the Court's

13· ·scheduling order, and it resulted in substantial,

14· ·substantial costs that we needlessly incurred

15· ·because -- if you go back, Megan -- because Keurig

16· ·concealed its material deficiencies in its production

17· ·despite having been told that this did not appear to

18· ·be accurate as a result of this discount issue, and

19· ·our -- had they raised it when they learned about it,

20· ·we could have stopped the work at that time that was

21· ·going on by our experts.· They did not disclose it.

22· ·Instead, they continued to conceal it and because of

23· ·that, probably hundreds of thousands of dollars in

24· ·expert fees were needlessly wasted by all of the

25· ·Plaintiffs' experts.


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·1· · · · · · · · · Under 37(b), as a result of the

·2· ·violation of the Court order, unless it was

·3· ·substantially justified, which it was not because

·4· ·they were aware of it as early as fall of 2019, under

·5· ·37(b), the Court must under the rule, it says:· Award

·6· ·monetary remedies to compensate Plaintiffs for that

·7· ·violation of the Court Order.

·8· · · · · · · · · That is why we're talking about it,

·9· ·your Honor --

10· · · · · · · · · JUDGE CAVE:· Okay.

11· · · · · · · · · MS. TORPEY:· -- respectfully.

12· · · · · · · · · Next slide, please.

13· · · · · · · · · So not only with respect to -- to the

14· ·transactional data and the court ordered deadline for

15· ·that, as you see here, this is in some -- as shown on

16· ·the prior timeline, Keurig's deficiencies repeatedly

17· ·violated Judge Brodrick's scheduling orders.· Keurig

18· ·failed to communicate with Keurig IT to understand

19· ·and collect from its CommVault litigation document

20· ·repository which resulted in an extension of the

21· ·schedule by six months and increased Plaintiffs'

22· ·costs as a result of requiring extensive analysis and

23· ·investigation into production deficiencies, which we

24· ·discussed.· Keurig did not substantially complete

25· ·production by the initial court-ordered deadline,


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·1· ·contrary to misrepresentations to that effect.

·2· ·Keurig, again, failed to substantially complete

·3· ·production by the second court-ordered deadline

·4· ·contrary to misrepresentations to that effect, and

·5· ·Keurig failed to properly produce its transactional

·6· ·data that resulted in a delay of the schedule by two

·7· ·months and increased Plaintiffs' costs as a result of

·8· ·a year -- a year of wasted work, cleaning and

·9· ·analyzing data, which then had to be redone.

10· · · · · · · · · Next slide, please.

11· · · · · · · · · So based on what we have covered,

12· ·Keurig repeatedly violated the Court's ESI and

13· ·scheduling orders.· In addition to noncompliance, as

14· ·your Honor observed in Rule 3621, Courts in the 2nd

15· ·Circuit considered four non-exclusive detractors

16· ·extension based on Rule 37(b), the wilfulness of the

17· ·noncompliant party of the reason -- and reason for

18· ·noncompliance.

19· · · · · · · · · The efficacy of lesser sanctions, the

20· ·duration of the period of noncompliance, which, in

21· ·this case, is easy.· It started at the beginning of

22· ·the case when Keurig failed to search, collect and

23· ·produce from its litigation hold repository, and it

24· ·continued throughout the duration of the discovery

25· ·period through the time period when they failed to


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·1· ·produce transactional data appropriately and also

·2· ·failed to secure a hard drive and also the Court

·3· ·considers whether the noncompliant party has been

·4· ·warned of the consequences of noncompliance.· No

·5· ·single factor is dispositive.

·6· · · · · · · · · Next slide, please.

·7· · · · · · · · · With respect to the wilfulness and

·8· ·culpability needed to satisfy Rule 37(b), Judge

·9· ·Brodrick has made clear that the culpable state of

10· ·mind factor is satisfied by a showing that the

11· ·evidence was destroyed knowingly, even if without

12· ·intent to breach a duty to preserve it or

13· ·negligently... in the discovery context, negligence

14· ·is a failure to conform to the standard of what a

15· ·party must do to meet its obligation to participate

16· ·meaningfully and fairly in the discovery phase of a

17· ·judicial proceeding.· A party is negligent even if

18· ·the failure results from a pure heart and an empty

19· ·head.

20· · · · · · · · · This is from his Berger case.

21· · · · · · · · · Next slide, please.

22· · · · · · · · · So, your Honor, there is no question

23· ·that Keurig willfully and unjustifiably violated the

24· ·Court's ESI and scheduling orders in this case.

25· ·Keurig admits that it made a deliberately conscious


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·1· ·choice not to collect and preserve hard drives in a

·2· ·timely manner admitting that they simply felt it

·3· ·wasn't worth the effort to look at individual hard

·4· ·drives.

·5· · · · · · · · · Keurig did not even try to image at

·6· ·least 12 hard drives required for custodial

·7· ·production until after one or both deadlines for the

·8· ·substantial completion of custodial productions.

·9· · · · · · · · · Keurig knew it did not track

10· ·computers and there was no way to know how many

11· ·computers custodians had from the relevant time

12· ·period, but chose not to implement an asset tracking

13· ·system.

14· · · · · · · · · Keurig knew it had an obligation to

15· ·interview each custodian and preserve and produce

16· ·documents and data from former employees but refused

17· ·to do so in a timely manner.

18· · · · · · · · · Keurig admits the company standard

19· ·required them to create a document to track

20· ·encryption keys, which they chose not to do.

21· · · · · · · · · Next slide.

22· · · · · · · · · Keurig also admits that they knew

23· ·they needed access to the McAfee servers and to know

24· ·how to use it in order to find valid decryption keys,

25· ·specifically for litigation hold purposes.· But


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·1· ·Keurig did not preserve instructions on how to access

·2· ·the server, get keys out of it or prompt the server

·3· ·to issue new log-in credentials used as a -- an

·4· ·encryption key.

·5· · · · · · · · · Notably, Keurig admits that if they

·6· ·took the basic step of tracking which computer

·7· ·belonged to which person, they would not have had

·8· ·this issue, as Kevin Campbell testified in his

·9· ·30(b)(6) deposition, if we had the hard drive serial

10· ·number, then we would have found them all.

11· · · · · · · · · Next slide, please.

12· · · · · · · · · Keurig was also repeatedly warned

13· ·that we would seek sanctions if they continued to

14· ·violate the Court Orders, as you see here.

15· · · · · · · · · Next slide, please.

16· · · · · · · · · As to the efficacy of lesser

17· ·sanctions, we believe that monetary sanctions can

18· ·compensate Plaintiffs for increased costs

19· ·unnecessarily incurred by Keurig's violations of

20· ·Judge Brodrick's scheduling orders in connection with

21· ·CommVault, former employee subpoenas and

22· ·transactional data deficiencies and increased costs

23· ·as a result of investigations into Keurig's

24· ·deficiencies, correspondence, meet and confers,

25· ·subpoenas to customers and the like.


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·1· · · · · · · · · However, monetary sanctions cannot

·2· ·remedy Keurig's violations of the ESI order spoliated

·3· ·admittedly unique and important hardcopy documents

·4· ·and hard drives.

·5· · · · · · · · · Limiting Keurig's sanctions to

·6· ·monetary compensation would allow Keurig to benefit

·7· ·from its failures to comply with Judge Brodrick's ESI

·8· ·Order.

·9· · · · · · · · · Next slide, please.

10· · · · · · · · · Given Keurig's wilfulness, severe

11· ·sanctions are warranted in this case to deter future

12· ·violations.

13· · · · · · · · · Next slide, please.

14· · · · · · · · · However, it should be noted that --

15· ·noted that we are not requesting the harshest of

16· ·sanctions, even though breadth of Keurig's spoliation

17· ·and its continued wilfulness throughout the course of

18· ·litigation is severe enough for even harsher remedies

19· ·than we are requesting.

20· · · · · · · · · Next slide, please.

21· · · · · · · · · For the reasons stated in Rule 3621,

22· ·an adverse inference is appropriate here to restore a

23· ·prejudice party to the position he would have been in

24· ·absent the repelled evidence.

25· · · · · · · · · Next slide, please.


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·1· · · · · · · · · So Plaintiffs are entitled to an

·2· ·adverse inference under Rule 37(b) and/or other

·3· ·remedies under Rule 37(e)(1) because Keurig's

·4· ·spoliation has also prejudiced Plaintiffs.

·5· · · · · · · · · Next slide, please.

·6· · · · · · · · · Here, relevance and prejudice are

·7· ·presumed under Rule 37 because Keurig lost and

·8· ·destroyed evidence willfully, grossly negligently and

·9· ·in bad faith.· Note, your Honor, Judge Scheindlin's

10· ·definition here of bad faith means intentionally and

11· ·willfully.· That is what happened here.

12· · · · · · · · · When evidence was destroyed in bad

13· ·faith, that alone is sufficient to support an

14· ·inference that the missing evidence would have been

15· ·favorable to the parties seeking sanctions and thus

16· ·relevant.

17· · · · · · · · · That is from the Ottoson case that

18· ·I'm sure we'll talk a lot about today.

19· · · · · · · · · Next slide, please.

20· · · · · · · · · However, although we are entitled to

21· ·presumption of both relevant and prejudice under

22· ·governing case law, there's also extensive evidence

23· ·here supporting the conclusion that spoliated

24· ·evidence would have supported Plaintiffs' claims.

25· ·For example, Kroger's buyer submitted a declaration


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·1· ·in this case that reporting a meeting with Tom

·2· ·Ferguson and John Whorisky who both testified that

·3· ·they both threw out notes from customer meetings.

·4· ·The buyer recounted a meeting that took place after

·5· ·we filed our Complaint in which Mr. Whoriskey

·6· ·reported -- reportedly told Kroger that Keurig was

·7· ·launching the 2.0 in order to recapture market share

·8· ·that had been lost to private label cuts made by our

·9· ·client.

10· · · · · · · · · She also recounted that he said that

11· ·unlicensed cups harm Keurig brewers, and as you note

12· ·from our brief, Tom Ferguson had also testified that

13· ·he told all customers that the lock-out technology

14· ·was important for consumer safety.

15· · · · · · · · · So this is just one very specific

16· ·example of a meeting for which notes would have

17· ·supported our claims specifically.

18· · · · · · · · · Next slide, please.

19· · · · · · · · · So this slide is another example of

20· ·how Keurig's spoliation has prejudiced us in this

21· ·particular case.

22· · · · · · · · · Ron DiFabio testified that Keurig

23· ·entered into its standard exclusive Private Label

24· ·Agreement with Walmart, but Joe Mueller, whose hard

25· ·drive and home share were also spoliated, testified


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·1· ·to the contrary.

·2· · · · · · · · · Had Keurig not spoliated DiFabio's

·3· ·hard drive and the binder of customer papers left on

·4· ·his credenza in Keurig's offices, it's likely that

·5· ·this spoliated evidence would have supported his

·6· ·testimony and thus our claims.

·7· · · · · · · · · This prejudice, of course, is

·8· ·exacerbated by the fact that numerous other

·9· ·custodians with responsibilities relating to Walmart

10· ·have been spoliated.

11· · · · · · · · · Next slide, please.

12· · · · · · · · · Slide 55 provides another example of

13· ·how we have been prejudiced by Keurig's spoliation.

14· ·Bruce Godfrey spoke up that the 2.0 was not supported

15· ·by consumer research and was fired for doing so

16· ·shortly thereafter.

17· · · · · · · · · Keurig's corporate representative

18· ·testified that Godfrey's computer would have been

19· ·returned to HR given his termination but that it went

20· ·missing.· If we had the data on his hard drive, it

21· ·would support our claims that the 2.0 did not benefit

22· ·consumers.

23· · · · · · · · · Next slide, please.

24· · · · · · · · · Your Honor, as in other cases that

25· ·have found prejudice documents produced by third


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·1· ·parties in this case indicate that there were

·2· ·communications with Keurig that reflected an

·3· ·understanding                                     .· Here is

·4· ·Keurig's consultant describing their understanding

·5· ·that

·6·

·7·

·8·                  · That's why they've invited their

·9· ·lawyer to meet, to give privileged status to the

10· ·meeting.

11· · · · · · · · · And you'll see at the end, he says:

12· ·Delete this email, please.

13· · · · · · · · · But you know what we don't have?· We

14· ·don't have the document from the home share and we

15· ·don't have the documents from the hard drive where,

16· ·for example, the corresponding employees working with

17· ·Sagentia have recorded, for example,

18·

19·                                .

20· · · · · · · · · Next slide, please.

21· · · · · · · · · So with respect to the sham

22· ·litigation, your Honor, Michelle Stacy gave a

23· ·presentation to the board of directors before filing

24· ·the Sturm patent infringement litigation against

25· ·non-filtered cups made by our clients in which she


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·1· ·admitted that, quote:· There is no patent protection

·2· ·for non-filtered products like hot chocolate.· Those

·3· ·products were made by our clients.

·4· · · · · · · · · If we had Michelle Stacy's sole

·5· ·production, it would be likely to contain additional

·6· ·documents supporting our sham litigation claim.

·7· · · · · · · · · Next slide, please.

·8· · · · · · · · · While these examples are all highly

·9· ·indicative that spoliated evidence would support our

10· ·claims, in any event, here it is Keurig's burden to

11· ·prove that Plaintiffs were not prejudiced.· They

12· ·cannot do so given the evidence we just covered as

13· ·well as the vast volume of spoliated evidence and

14· ·thus we are entitled to sanctions under Rule 37(e)(1)

15· ·as well.

16· · · · · · · · · Indeed, Keurig's counsel has admitted

17· ·that handwritten notes like those that were lost are

18· ·unique and that documents relating to customer

19· ·meetings are very, very substantially important

20· ·documents.· Such loss of highly relevant information

21· ·is sufficient to support a finding of prejudice.

22· · · · · · · · · Next slide, please.

23· · · · · · · · · Moreover, given the fact that Keurig

24· ·cannot even say how many hard drives were spoliated

25· ·because they did not track computers, the spoliation


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·1· ·of 25 hard drives and the spoliation of handwritten

·2· ·notes, the lost documents are presumed to be

·3· ·prejudicial in this case.

·4· · · · · · · · · This Court's case law establishes

·5· ·that whereas here Keurig cannot show that what was

·6· ·lost is an exact copy of the full set of spoliated

·7· ·data, particularly where it says here whole devices

·8· ·are lost, it is reasonable to conclude highly

·9· ·relevant ESI cannot be replaced.

10· · · · · · · · · Next slide, please.

11· · · · · · · · · On Slide 61, you see Keurig's

12· ·corporate representative admitting that it doesn't

13· ·even know how many computers custodians would have

14· ·had in the relevant time period such that we are

15· ·dealing with the case of an unknown amount of lost

16· ·ESI supporting prejudice.

17· · · · · · · · · Next slide, please.

18· · · · · · · · · On 62, he further admits that Keurig

19· ·will never know what actually happened to the lost

20· ·slides.

21· · · · · · · · · Next slide, please.

22· · · · · · · · · Similarly, on 63, he assumes lost

23· ·drives have been re-imaged and redeployed.

24· · · · · · · · · Next slide, please.

25· · · · · · · · · So this is very important, your


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·1· ·Honor, and it is found throughout Keurig's briefs in

·2· ·its opposition, and it is also found throughout the

·3· ·correspondence in the litigation itself.

·4· · · · · · · · · Keurig's prejudice argument is based

·5· ·on a fundamental misrepresentation about the way

·6· ·Keurig's systems are set up.· Keurig represents to

·7· ·the Court that Keurig instructed its employees to

·8· ·save documents in that work location, not to local

·9· ·hard drives and hard drives were thus unlikely to

10· ·contain unique data in the first place.

11· · · · · · · · · But this is a misrepresentation, your

12· ·Honor.· Keurig tells its employees that its local

13· ·hard drive is not backed up and merely encourages

14· ·employees to store critical business documents on the

15· ·home share.

16· · · · · · · · · It further prohibits employees from

17· ·saving personal documents on the shared networks

18· ·thereby instructing them to save noncritical or more

19· ·sensitive personal documents on their local hard

20· ·drive.· Thus, Keurig instructs employees to save

21· ·different documents in two locations, some on the

22· ·home share and some on the local hard drive.

23· · · · · · · · · Keurig then doubles down on its

24· ·misleading representations to the Court where it

25· ·argues Keurig produced documents from the network


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·1· ·locations where employees were instructed to save

·2· ·their business documents.

·3· · · · · · · · · But the problem is that Keurig has

·4· ·admitted that it has also spoliated home share data

·5· ·for at least five custodians that we know of for

·6· ·sure, and its proposed stipulations suggest there are

·7· ·at least 14 custodians without home share documents.

·8· · · · · · · · · Next slide, please.

·9· · · · · · · · · So this is recreated from the

10· ·compilation Keurig prepared for the Campbell 30(b)(6)

11· ·deposition and this further supports spoliation.

12· · · · · · · · · If you look at the chart, which is

13· ·ECF 1284-48, you will see that most employees have

14· ·many drives swapped out over time, but there are

15· ·custodians like these that Keurig suggests only had

16· ·one or very few hard drives over a very long tenure.

17· · · · · · · · · It is not credible, for example, that

18· ·Godfrey, Hurley and Shepard, who were employed for

19· ·years after the Complaint was filed, only had one

20· ·computer in that time frame when compared to the

21· ·others.· And I just want to point out of course that

22· ·this is not directly -- we have supplied the

23· ·acknowledged issues and the evidence of bad faith but

24· ·the underlying analysis comes from the compilation,

25· ·just to be clear.


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·1· · · · · · · · · Next slide, please.

·2· · · · · · · · · JUDGE CAVE:· Before you go on, can we

·3· ·stay on that slide for a minute?

·4· · · · · · · · · MS. TORPEY:· Sure.

·5· · · · · · · · · JUDGE CAVE:· Why do you say Hurley,

·6· ·for example, under "evidence of bad faith" you have

·7· ·Walmart.

·8· · · · · · · · · What does that mean?

·9· · · · · · · · · MS. TORPEY:· Yeah, I will get to that

10· ·as well.· One of the challenges is that there is so

11· ·much information here we have to bucketize it in

12· ·different ways, but I will cover that as well.

13· · · · · · · · · MS. NEWTON:· Same as the system --

14· · · · · · · · · MS. TORPEY:· I will cover all of the

15· ·different buckets, if you will.

16· · · · · · · · · JUDGE CAVE:· Thank you.

17· · · · · · · · · MS. TORPEY:· Okay.· Next slide,

18· ·please.

19· · · · · · · · · So here as well, you can see that the

20· ·information that was pulled from the compilation for

21· ·the 30(b)(6) also supports compilation -- also

22· ·supports spoliation in that the last dated document

23· ·from the drive far predates the end of their

24· ·employment with the company.

25· · · · · · · · · This signifies that they were using


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·1· ·their local hard drive, they were storing documents

·2· ·on their local hard drive, but then there is a large

·3· ·gap of time between the last document produced and

·4· ·the end of their employment at Keurig.

·5· · · · · · · · · So, for example, you have custodian

·6· ·DuLong who worked for Keurig until 2016.· However,

·7· ·the last dated document produced from her hard drive

·8· ·is from January 20, 2011, such that there is a gap of

·9· ·time, of course, from 2011 to 2016 without documents

10· ·produced from her hard drive.

11· · · · · · · · · Next slide, please.

12· · · · · · · · · So in Slide 67, you see that the

13· ·dates from documents produced from hard drives also

14· ·suggest that the drives that were spoliated come from

15· ·the time that we expect the most damaging evidence

16· ·for certain custodians, for example, from 2012 in

17· ·connection with Project Squid for custodians Huang

18· ·and Tinkler.

19· · · · · · · · · And we're getting the dates from the

20· ·compilation for the 30(b)(6).· You line them up

21· ·against the other dates for the other hard drives

22· ·from that compilation.

23· · · · · · · · · Next slide, please.

24· · · · · · · · · So, your Honor, Plaintiffs are

25· ·entitled to an adverse inference under Rule 37(b)


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·1· ·and/or other remedies under Rule 37(e) because

·2· ·Keurig's spoliation has prejudiced Plaintiffs by

·3· ·comprising multiple non-duplicative custodial sources

·4· ·of documents and data.

·5· · · · · · · · · Next slide, please.

·6· · · · · · · · · So notably, your Honor, the patterns

·7· ·of spoliation in this case, provide compelling

·8· ·evidence of an intent to deprive Plaintiffs of

·9· ·evidence for use in litigation.

10· · · · · · · · · It can be no coincidence, for

11· ·example, that certain custodians have the most

12· ·serious issues, for example, for custodians with

13· ·responsibilities for sales for customers that

14· ·Treehouse claims has lost customers in this

15· ·litigation, Keurig has lost the hard drives for at

16· ·least five custodians, failed to preserve and decrypt

17· ·or image hard drives for three custodians, did not

18· ·produce documents from the home share for at least

19· ·five custodians, lost hardcopy notes referenced in

20· ·deposition testimony for at least three custodians

21· ·and did not produce hardcopy documents for nine

22· ·custodians.

23· · · · · · · · · In total, there are serious

24· ·spoliation issues concerning at least 11 of 17

25· ·customers connected to Treehouse's lost customers.


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·1· · · · · · · · · Next slide, please.

·2· · · · · · · · · So slide 70 shows that these are not

·3· ·isolated issues, and some custodians have had most,

·4· ·if not all, sources completely destroyed.

·5· · · · · · · · · For Barberio, for example, Keurig

·6· ·lost all of his hard drives, lost hardcopy documents

·7· ·and unique handwritten notes that we know existed and

·8· ·have been spoliated as a result of his deposition.

·9· · · · · · · · · There were no documents produced from

10· ·his custodial file, no documents produced from his

11· ·home share and they produced no other hardcopy

12· ·documents.

13· · · · · · · · · Your Honor, if you're interested in

14· ·any particular custodians, we can look at it.

15· ·Otherwise, I will leave it.· We will provide this for

16· ·your reference and I would go onto the next batch.

17· ·Megan --

18· · · · · · · · · JUDGE CAVE:· Just before you do --

19· · · · · · · · · MS. TORPEY:· -- go to slide 71.

20· · · · · · · · · JUDGE CAVE:· Before you leave that

21· ·slide, what do you mean there by "custodial files,"

22· ·his email custodial files or his --

23· · · · · · · · · MS. TORPEY:· So that is a good

24· ·question, your Honor, and it's something that we have

25· ·been wondering about in the way that Keurig has


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·1· ·described what they have and have not produced in

·2· ·terms of their other sources of production listed in

·3· ·their proposed stipulation.

·4· · · · · · · · · However, I would note that it is

·5· ·undisputed for Don Barberio that he had a hard drive

·6· ·spoliated that he returned to HR.· He had hardcopy

·7· ·documents, including handwritten notes, that were

·8· ·spoliated that he testified he cleaned out of his

·9· ·office after leaving Keurig, and you'll see that they

10· ·produced documents for Tom Ferguson in relation to

11· ·Barberio.· Tom Ferguson supervised him.· Tom Ferguson

12· ·also in some less clear, I will concede, deposition

13· ·testimony that he took notes that were not produced.

14· · · · · · · · · Keurig represented that they were

15· ·providing another supervisor to try to ameliorate the

16· ·situation but that other supervisor stopped being

17· ·employed by Keurig in 2012, so it is beyond dispute,

18· ·I believe, that there are highly relevant documents

19· ·that Don Barberio had, specific documents, that

20· ·existed.

21· · · · · · · · · He left in June of 2014, well after

22· ·our Complaint was filed.· They knew he was a key

23· ·witness.· They gave him a litigation hold in 2014,

24· ·but just months after, somehow all of these sources

25· ·of evidence have been spoliated.· It's very


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·1· ·concerning.

·2· · · · · · · · · JUDGE CAVE:· Thank you.

·3· · · · · · · · · MS. TORPEY:· Megan, why don't we go

·4· ·to Slide 70?· Just go slowly in case there's anyone

·5· ·the judge would like to discuss specifically --

·6· ·actually, could you have go to slide -- let's see,

·7· ·Slide 71.· Okay.

·8· · · · · · · · · So -- oh, try 74, thank you.· Ah,

·9· ·yes, thank you.

10· · · · · · · · · So on Slide 74, you'll see that this

11· ·is the overview of spoliation with respect to

12· ·custodians who specifically had responsibilities

13· ·relating to Walmart which is Treehouse's largest lost

14· ·customer as well as McLane's.· So you see here that

15· ·Keurig has lost the hard drive for at least four

16· ·custodians with responsibilities relating to Walmart.

17· ·Keurig failed to preserve and decrypt hard drives for

18· ·one custodian.· Keurig did not produce documents from

19· ·the home share for at least four custodians with

20· ·responsibilities for Walmart and Keurig lost hardcopy

21· ·notes referenced in deposition testimony for at least

22· ·two custodians and did not produce hardcopy documents

23· ·for all seven custodians with responsibilities

24· ·relating to Walmart.

25· · · · · · · · · In total, there are serious


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·1· ·spoliation issues concerning at least seven of the 12

·2· ·custodians connected to Walmart.

·3· · · · · · · · · Next slide, please.

·4· · · · · · · · · Similarly, four custodians with

·5· ·responsibilities for sales to Kroger, another large

·6· ·lost customer, Treehouse claims as a basis for its

·7· ·damages in this litigation, Keurig lost the hard

·8· ·drive for at least one custodian, did not produce

·9· ·documents from home share for three custodians, lost

10· ·hardcopy notes referenced in deposition testimony for

11· ·three custodians and did not produce hardcopy

12· ·documents for three custodians.

13· · · · · · · · · In total, there are serious

14· ·spoliation issues concerning at least three of the

15· ·four custodians connected to Kroger, one of

16· ·Treehouse's largest lost customers.

17· · · · · · · · · Next slide, please.

18· · · · · · · · · Oh, I see.· Are we on the right one?

19· ·Let's go to 79, please.· In its brief, your Honor,

20· ·Keurig represents to the Court that Plaintiffs have

21· ·no basis for asserting that the email here, Project

22· ·Squid, was interpreted, as we believe it was, or

23· ·specifically that unique evidence was lost.

24· · · · · · · · · You may recall that your Honor ruled

25· ·that Keurig did not have to produce a collection of


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·1· ·documents

·2· ·custodians.· He ruled specifically based on the

·3· ·arguments made by the parties during today's

·4· ·conference, the Court finds that the burdens of these

·5· ·requests outweighs the potential that a search of

·6· ·Mr. Degnan documents would lead to the production of

·7· ·relevant, noncumulative nonprivileged documents.

·8· · · · · · · · · Next slide, please.

·9· · · · · · · · · Counsel for Keurig in that hearing

10· ·upon which you relied argued that to the extent that

11· ·those things were happening, Mr. Degnan, Attorney

12· ·Degnan, back in 2012 sent that to six employees and

13· ·all six are custodians.

14· · · · · · · · · When you look at the way people kept

15· ·the computers and the policies at Keurig, all of that

16· ·would be duplicative as to what is in the custodial

17· ·files, what's in the share drive, et cetera.

18· · · · · · · · · First, it's important to note that

19· ·this representation directly contradicts Keurig's

20· ·counsel's prior admission in the course of the

21· ·litigation that documents stored on Keurig's hard

22· ·drives are unique and that that is why they sought to

23· ·collect them.· Specifically in correspondence from

24· ·May 13, 2019, counsel for Keurig admitted computer

25· ·hard drives were not backed up, though employees were


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·1· ·instructed to save important documents to their home

·2· ·folder or another network location, we understand

·3· ·that, on occasion, some employees may have saved

·4· ·documents to their hard drives.

·5· · · · · · · · · Accordingly, Keurig collected and

·6· ·produced data from custodians hard drive where it was

·7· ·available.

·8· · · · · · · · · Next slide, please.

·9· · · · · · · · · There, of course, is another serious

10· ·issue with the representation that counsel made to

11· ·you during that hearing.· As we now understand, all

12· ·six of the recipients of Mr. Degnan's Project Squid

13· ·email have very serious spoliation issues that,

14· ·contrary to Keurig's counsel's representation to the

15· ·Court, were not preserved based on the way people

16· ·kept their computers and Keurig's policies.

17· · · · · · · · · To the contrary, we now know Dwight

18· ·Brown -- for Dwight Brown, Keurig admits it did not

19· ·decrypt or image any documents from his hard drive

20· ·and Keurig's stipulation suggests that no documents

21· ·were produced from his home share.

22· · · · · · · · · Keurig also did not produce any

23· ·hardcopy documents for him.· With respect to Jimmy

24· ·Huang, Keurig admits it did not image his hard drive

25· ·due to possible physical damage.· Keurig does not


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·1· ·represent that it produced any documents from his

·2· ·home share, but suggests some documents may have been

·3· ·copied over to a later-in-time OneDrive that was not

·4· ·implemented until 2017.· Keurig also did not produce

·5· ·any hardcopy documents for him.

·6· · · · · · · · · With respect to Jim Shepard, Keurig

·7· ·admits it was unable to image his hard drive due to

·8· ·possible physical damage.

·9· · · · · · · · · Keurig also admits that it produced

10· ·no documents from his home share.

11· · · · · · · · · Keurig also did not produce any

12· ·hardcopy documents for him.

13· · · · · · · · · With respect to Ian Tinkler, Keurig

14· ·admits --

15· · · · · · · · · JUDGE CAVE:· Just, in the interest of

16· ·time, I don't think -- I have the slides --

17· · · · · · · · · MS. TORPEY:· Understood.· So you get

18· ·the point.

19· · · · · · · · · JUDGE CAVE:· Let me just ask you

20· ·this:· Keurig makes the point in response to the

21· ·issues you raised about the Degnan email that I

22· ·denied your request to search -- to do a search as to

23· ·Degnan without prejudice to renewing it after

24· ·depositions and you didn't do that.

25· · · · · · · · · Can you respond to that point?


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·1· · · · · · · · · MS. TORPEY:· Yes.· Your Honor, I

·2· ·believe the order specifically permitted us to renew

·3· ·our request for the deposition but not for the

·4· ·documents, if that answers your questions.

·5· · · · · · · · · JUDGE CAVE:· Thank you.· Go ahead.

·6· ·Get to the next topic.

·7· · · · · · · · · MS. TORPEY:· So Slide 84, please.· So

·8· ·this is just an overview of the issues we were

·9· ·discussing.· For all six recipients of the Project

10· ·Squid email, they have spoliation issues.· They

11· ·failed to preserve and decrypt hard drives for two of

12· ·the custodians, they lost hardcopy notes referenced

13· ·in deposition testimony for one and did not produce

14· ·hardcopy documents for six custodians.· They did not

15· ·produce documents from the home share for all six

16· ·custodians as far as we are aware, and of course of

17· ·note this relates to

18·

19· · · · · · · · · So Slide -- why don't we go to Slide

20· ·87, please, to speed things up here.

21· · · · · · · · · So for custodians with involvement in

22· ·the sham litigation against Sturm, Keurig also failed

23· ·to preserve and decrypt imaged hard drives for three

24· ·custodians, did not produce documents from the home

25· ·share for two custodians, did not produce hardcopy


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·1· ·documents for the two custodians, and all three

·2· ·custodians disclosed by Keurig as having been

·3· ·involved in discussions of sham litigation had

·4· ·serious spoliation issues.

·5· · · · · · · · · Why don't we go to Slides 90?· Thank

·6· ·you.

·7· · · · · · · · · So your Honor, Plaintiffs are

·8· ·entitled to an adverse inference or other sanctions

·9· ·under Rule 37(e)(2) as well because a finder of fact

10· ·could conclude that Keurig had the intent to deprive

11· ·Plaintiffs of use of information in litigation.

12· · · · · · · · · Next slide, please.

13· · · · · · · · · As we discussed, there's an email

14· ·from Sagentia that asked to delete the email and

15· ·indicates that Keurig was trying to cover up its

16· ·intent to lock out competitors by inviting lawyers to

17· ·meetings to shroud communications under privilege

18· ·because they knew what they were doing was, quote,

19·

20· · · · · · · · ·

21·

22·

23·

24·

25· · · · · · · · · MS. NEWTON:· Are you going to do more


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·1· ·on the 502(d) Susannah?· It's okay to have it up on

·2· ·the slide, but your second bullet that is the 502(d)

·3· ·Degnan email.· I just want to caution you.

·4· · · · · · · · · MS. TORPEY:· I'm sorry.· What are you

·5· ·asking, Wendy?

·6· · · · · · · · · MS. NEWTON:· I'm not asking.· I'm

·7· ·telling you that that is the 502(d) privileged email.

·8· ·It's fine that you have it on the slides because they

·9· ·won't be accessible to the public but could you

10· ·refrain from talking about --

11· · · · · · · · · MS. TORPEY:· I'll move on.

12· · · · · · · · · MS. NEWTON:· Thank you.

13· · · · · · · · · JUDGE CAVE:· Thank you, Ms. Newton.

14· ·Go ahead, Ms. Torpey.

15· · · · · · · · · MS. TORPEY:· An employee, Godfrey,

16· ·was fired in 2016 for speaking up that the 2.0 brewer

17· ·did not benefit consumers and Keurig's corporate

18· ·representative testified that it's presumed that he

19· ·returned his computer to HR but because it was not

20· ·produced, he presumed it was re-imaged and

21· ·redeployed.· The laptop for at least one employee,

22· ·Barberio, responsible for making presentations about

23· ·Keurig's lock-out technology to Plaintiffs' lost

24· ·customers who testified he handed his laptop into HR

25· ·in 2014 and to his supervisor, Tom Ferguson, who also


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·1· ·spoliated materials, was never -- his hardcopy notes

·2· ·for Barberio were never produced and were a loss.              I

·3· ·think this is very significant, your Honor, not only

·4· ·were Mr. Barberio's hard drives and hardcopy

·5· ·documents spoliated, but Keurig's counsel, despite

·6· ·Barberio's testimony that he returned his computer to

·7· ·HR, never informed Keurig's IT personnel according to

·8· ·Kevin Campbell, Keurig's corporate representative,

·9· ·that Barberio had testified that he returned his

10· ·laptop to HR.

11· · · · · · · · · So if they were really looking for

12· ·the drive, your Honor, you would think they would

13· ·have reported to IT that they should contact Tom

14· ·Ferguson and HR to look for the laptop.· But they did

15· ·not do so.

16· · · · · · · · · Another hard drive from a laptop kept

17· ·on an open shelf at Keurig had literally been taken

18· ·out of the computer itself when Keurig went to image

19· ·the drive.

20· · · · · · · · · Hardcopy documents from employees who

21· ·testified they left relevant materials onsite at

22· ·Keurig have never been produced, including for a

23· ·corporate officer who was mentioned by name -- this

24· ·is Suzanne DuLong in the Complaint for making

25· ·statements in an article called With Keurig 2.0 Green


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·1· ·Mountain Wants Its Monopoly Back and the salesperson

·2· ·in charge of the Walmart relationship who testified

·3· ·he left all of his hardcopies on the credenza at

·4· ·Keurig, of course those have never been produced.

·5· ·The only reasonable inference to draw, as per the

·6· ·case law, is that either these materials were

·7· ·spoliated or withheld improperly in both cases.

·8· · · · · · · · · Next slide, please.

·9· · · · · · · · · JUDGE CAVE:· Ms. Torpey, we've been

10· ·going for about two hours roughly.· I just wanted to

11· ·get a sense to get to the end of your initial

12· ·presentation.· What's your projection on that?

13· · · · · · · · · MS. TORPEY:· I would be delighted to

14· ·have another fifteen minutes.

15· · · · · · · · · JUDGE CAVE:· Okay.

16· · · · · · · · · MS. TORPEY:· If that would be okay.

17· · · · · · · · · JUDGE CAVE:· Why don't you just let

18· ·you go to the end and then take a short break.

19· · · · · · · · · MS. TORPEY:· I'll try to speed it up,

20· ·I have to admit, I've been a little leisurely with

21· ·your kind --

22· · · · · · · · · JUDGE CAVE:· I would say to the

23· ·extent you're reading from the slides, that's maybe

24· ·less necessary as opposed to just drawing my

25· ·attention to the points you want to make and in


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·1· ·particular, I think we're still focused on your

·2· ·intent which is one of the things I initiated and

·3· ·then focusing on remedies.

·4· · · · · · · · · MS. TORPEY:· All right.· As we noted

·5· ·seven of the 12th custodians with responsibilities

·6· ·for Walmart have spoliations including to whose

·7· ·computers have simply gone completely missing.

·8· · · · · · · · · Keurig's corporate representative of

·9· ·course testified that Keurig chose not to search for

10· ·hard drives because it was not worth the effort.

11· ·Keurig maintained a computer script to delete former

12· ·employees' ESI after certifying that it had suspended

13· ·auto-deletions and before it negotiated custodians.

14· ·All three of the custodians who were disclosed as

15· ·having been involved in the decision to file the

16· ·litigation that is the basis for our sham litigation

17· ·claim have had spoliation issues and of course 25

18· ·hard drives in total were lost, too damaged to

19· ·retrieve or rendered inaccessible as a result of not

20· ·preserving encryption keys.

21· · · · · · · · · Keurig never reached out to employees

22· ·to ask them what happened to their computers or what

23· ·their logins this were to decrypt the computers,

24· ·according to Kevin Campbell, corporate -- Keurig's

25· ·corporate representative.


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·1· · · · · · · · · The evidence suggests that Keurig

·2· ·still has not disclosed the full extent of its

·3· ·spoliation issues including with respect to the

·4· ·deletion of all documents in at least 14 custodians'

·5· ·My Documents home share folder, and Keurig has

·6· ·repeatedly evaded questions about the scope of

·7· ·spoliation in this case.

·8· · · · · · · · · Remarkably -- next slide, please --

·9· ·I'll move on, but remarkably Keurig entered new

10· ·auto-deletion of email mid case despite the

11· ·expectation of new cases being filed and Keurig's

12· ·initial production of transactional data only

13· ·provided sales for cups at a discount, concealing

14· ·potentially the extent of its monopoly pricing and

15· ·then waited three months to correct it knowing it had

16· ·material deficiencies.

17· · · · · · · · · Next slide, please.· Why don't we go

18· ·to 96?· Okay.· Thank you.

19· · · · · · · · · So your Honor, the facts in this case

20· ·far exceed what's needed for an intent to deprive in

21· ·granting the adverse in inference instruction, the

22· ·Court noted evidence establishes relevant and

23· ·prejudice because Keurig acted in bad faith or in a

24· ·grossly negligent manner.· It was obligated to

25· ·preserve evidence.· It failed to take reasonable


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·1· ·steps.· It failed to produce then in violation of

·2· ·discovery obligations.· It did not intentionally take

·3· ·any steps to preserve them, or at least reasonable

·4· ·steps to preserve them, and possibly still have them

·5· ·in their possession if they failed to produce them.

·6· · · · · · · · · Let's go to the next slide.

·7· · · · · · · · · Your Honor, I just want to direct you

·8· ·to the Ottoson case, which is very important because

·9· ·it demonstrates that the conscious dereliction of a

10· ·known duty to preserve is sufficient to find an

11· ·intent to deprive under Rule 37(e)(2).· I think it

12· ·cannot reasonably be disputed that Keurig made a

13· ·conscious dereliction of its known duties set forth

14· ·in the ESI order.

15· · · · · · · · · With respect to remedies, your Honor,

16· ·monetary sanctions alone will not remedied the

17· ·discovery violation here or deter such conduct in the

18· ·future.

19· · · · · · · · · Why don't we go to the next slide?

20· ·Why don't we go to the next slide?· Next slide.

21· · · · · · · · · We've included some specific examples

22· ·of evidence that supports an intent to deprive but in

23· ·the interest of time, I will lead you with these.

24· · · · · · · · · Next slide, please.

25· · · · · · · · · Next slide.


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·1· · · · · · · · · Next slide.

·2· · · · · · · · · Next slide.

·3· · · · · · · · · Next slide.

·4· · · · · · · · · So notably of course once an intent

·5· ·to deprive has been established Rule 37(e)(2) does

·6· ·not require an additional finding of prejudice.

·7· · · · · · · · · Next slide.

·8· · · · · · · · · It's worth noting, your Honor, that

·9· ·we have reviewed all of these cases that have awarded

10· ·adverse inferences and only one of them, out of all

11· ·of these cases, has had a higher number of devices

12· ·destroyed that is the Crossfit case and the remedy in

13· ·that case was a default judgment.· All of the other

14· ·cases in which adverse inferences have far less

15· ·spoliation than this case does.

16· · · · · · · · · Next slide, please.

17· · · · · · · · · Next slide.

18· · · · · · · · · Next slide.

19· · · · · · · · · So here we just wanted to point out

20· ·that as well, the numerous misstatements by Counsel

21· ·also supports a finding of wilfulness and an intent

22· ·to deprive.

23· · · · · · · · · Next slide.

24· · · · · · · · · For example, the statement that

25· ·Keurig instructs its employees not to save business


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·1· ·documents to the local hard drive.· Instead, the

·2· ·corporate asset policy and evidence demonstrates that

·3· ·they know that custodians of course save to their

·4· ·hard drives as well as to their home share location.

·5· ·This is well-established in both their policies and

·6· ·by the testimony of the corporate representatives and

·7· ·was, in fact, admitted by Keurig's counsel in May of

·8· ·2019 as well.

·9· · · · · · · · · Next slide.

10· · · · · · · · · Keurig repeatedly had said that they

11· ·complied with their discovery obligations and their

12· ·preservation obligations when it's clear at this

13· ·point in time that they had known that there were

14· ·serious spoliation issues that they did not disclose.

15· · · · · · · · · Next slide, please.

16· · · · · · · · · Keurig's counsel had represented that

17· ·based on the way computers were kept and Keurig's

18· ·policies that all of the documents requested in

19· ·relation to the six custodians that were on the

20· ·Project Squid email would have full production when,

21· ·in fact, we now know that each of them had serious

22· ·spoliation issues.

23· · · · · · · · · Next slide, please.· Okay.· Now, to

24· ·remedies.

25· · · · · · · · · Next slide, please.


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·1· · · · · · · · · So, your Honor, we -- I believe,

·2· ·reflected these requests for either adverse

·3· ·inferences and adverse inference or preclusion orders

·4· ·with respect to various issues related to the

·5· ·collection of custodians that have been -- have had

·6· ·evidence spoliated.

·7· · · · · · · · · Next slide.

·8· · · · · · · · · Next slide.

·9· · · · · · · · · Next slide.

10· · · · · · · · · Next slide.

11· · · · · · · · · Next slide.

12· · · · · · · · · Do you know what the next section --

13· ·next slide.

14· · · · · · · · · Okay, next slide.

15· · · · · · · · · Next slide.

16· · · · · · · · · Why don't we go to 122, I believe.

17· ·Okay.· Here we go.

18· · · · · · · · · So of course, your Honor has wide

19· ·discretion to fashion the appropriate remedies.· You

20· ·can forbid a party that failed to preserve

21· ·information from putting on certain evidence.· You

22· ·can exclude specific evidence to offset prejudice

23· ·caused by the failure to preserve.· You can preclude

24· ·evidence that might contradict the excluded evidence,

25· ·for example, with respect to the tension between


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·1· ·DiFabio and Mueller.· You can permit parties to

·2· ·present evidence to the jury concerning the loss and

·3· ·instruct the jury that it can consider that along

·4· ·with other evidence in the case and let the jury make

·5· ·its determination at that time.· You can conclude

·6· ·that the finding of an intent to deprive should be

·7· ·made by the jury.

·8· · · · · · · · · Next slide.

·9· · · · · · · · · And, your Honor, I just want to note

10· ·that the 2nd Circuit has observed that monetary

11· ·sanctions are considered to be the mildest sanctions

12· ·for discovery conduct and that severe sanctions are

13· ·justified when the failure to comply with a Court

14· ·Order is due to wilfulness or bad faith or otherwise

15· ·culpable as it is here.

16· · · · · · · · · That is the Dissolved Steel Products

17· ·case.· Although an order granting a claim and

18· ·precluding a party from presenting evidence in

19· ·opposition is strong medicine, as we saw sometimes

20· ·that it's necessary to enforce compliance with the

21· ·discovery rules and maintain credible deterrent to

22· ·potential violators.

23· · · · · · · · · And I'm happy to go through the

24· ·specific questions, if you would like, your Honor,

25· ·that you had posed or whatever you would like to do


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·1· ·or to sum up.

·2· · · · · · · · · JUDGE CAVE:· I think you can sum up.

·3· ·I think by my count, I think we've gotten most of

·4· ·them with the exception of two or three, so if you

·5· ·want to sum up and then I'll just quickly ask the

·6· ·ones that I am still unclear about and then we'll

·7· ·take a break.

·8· · · · · · · · · MS. TORPEY:· Okay.· Sure.· First,

·9· ·thank you, your Honor.· I appreciate your patience

10· ·from wading through all of these facts which despite

11· ·the stipulations on file, I'm sure Keurig will still

12· ·say is not accurate.· However, looking at the facts

13· ·in the underlying documents, I urge you to look back

14· ·even at the characterizations of the cases in which

15· ·sanctions have been granted in Keurig's own brief to

16· ·see if they ring true to you in this case.

17· · · · · · · · · For example, on page 14 of its

18· ·opposition, in Note 31, Keurig describes Ottoson as

19· ·finding the likelihood of lost data based on emails

20· ·produced by the recipient, a third-party witness.

21· ·Here we have the same thing.· Sagentia third-party

22· ·witness received an email discussing a communications

23· ·protocol that was expressly intended to conceal their

24· ·known and

25· ·but we do not have the corresponding questions as to


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·1· ·that communication protocol, and we have some

·2· ·documents, as I'm sure Keurig will raise, but we do

·3· ·not have what we would expect to find in the -- in

·4· ·the business documents, not the emails, because we

·5· ·need to remember, of course, that what is spoliated

·6· ·here is coming from the C drive and the K drive, the

·7· ·home shares and the hard drives.· We're not talking

·8· ·about the 6emails.

·9· · · · · · · · · So these emails are besides the point

10· ·that are referenced in Keurig's motion.· We don't

11· ·have the underlying corresponding business documents

12· ·that would have been saved in these drives.

13· · · · · · · · · Keurig also describes Gorson on page

14· ·15 as a case in which a intentionally spoliated

15· ·evidence in bad faith when misleading the Court and

16· ·evading discovery obligations and destroying one

17· ·laptop.· I think we far exceed that description in

18· ·this case.

19· · · · · · · · · Keurig also describes Karsch on page

20· ·15 as having spoliation when a law firm lost two hard

21· ·drives and a laptop and made misrepresentations to

22· ·the Court regarding the devices and attempted to

23· ·cover up the preservation failures.

24· · · · · · · · · Here, as well, I believe the conduct

25· ·far exceeds that description.


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·1· · · · · · · · · So we submit that the conduct at

·2· ·issue here today demonstrates a cavalier and

·3· ·surreptitious violation of multiple court orders and

·4· ·repeated evasive tactics used to try to cover up the

·5· ·full scope of Keurig's spoliation, which we still do

·6· ·not even know today that far exceeds many, many

·7· ·cases -- the conduct in many cases in which adverse

·8· ·inferences have been granted under Rule 37(b) or (e)

·9· ·including with respect to the intent to deprive

10· ·element added to 37(e)(2) in 2015.· We included for

11· ·you in our slides a chart that we skipped over very

12· ·quickly, but I recommend going back to that and

13· ·you'll see for yourself that here the conduct and the

14· ·spoliation far exceeds what is in those cases for all

15· ·of them, except one, the Crossfit case in which there

16· ·was a default judgment.· And here we are not asking

17· ·for such a drastic remedy despite the widespread

18· ·spoliation.· But it is clear that monetary sanctions

19· ·alone will not be enough to deter Keurig from

20· ·continuing to engage in such ongoing and intentional

21· ·destruction of evidence.· Only preclusive orders and

22· ·an adverse inference would be able to reset the

23· ·balance in our trial as a result of dozens of

24· ·spoliated devices and an unknowable amount of ESI

25· ·lost forever.


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·1· · · · · · · · · And with that, your Honor, I will

·2· ·just thank you and ask if you have any particular

·3· ·questions remaining or if you would like to take a

·4· ·break or whatever you would like to do.

·5· · · · · · · · · JUDGE CAVE:· Just a couple of

·6· ·minor -- not minor but hopefully relatively brief

·7· ·questions.· One of the questions in the order that I

·8· ·issued the other day was about exhibit -- deps

·9· ·Exhibit X-50 to 59 which I think -- that might have

10· ·been shown during the Campbell deposition.

11· · · · · · · · · Is that anywhere in what I already

12· ·have?

13· · · · · · · · · MS. TORPEY:· Yes, your Honor, that is

14· ·ECF-1284-48.

15· · · · · · · · · JUDGE CAVE:· Thank you.

16· · · · · · · · · And I think last question for now is

17· ·to the extent that Plaintiffs are seeking monetary

18· ·sanctions, are you seeking those against Keurig only

19· ·or Keurig and its counsel?

20· · · · · · · · · MS. TORPEY:· We defer to your

21· ·judgment, of course, your Honor.· I would just note

22· ·that the cases look to the relative culpability of

23· ·the parties.· In the Syntel case, however, that

24· ·question was actually directed to the spoliators

25· ·themselves because they are in a better position to


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·1· ·assess the culpability of the relative parties

·2· ·involved in this spoliation.

·3· · · · · · · · · JUDGE CAVE:· Okay.· Thank you.· All

·4· ·right.· So let's take about a five-minute break, and

·5· ·come back at 12:25.

·6· · · · · · · · · Ms. Newton, I'll just note for your

·7· ·benefit, Ms. Torpey, I gave her two hours and about

·8· ·five minutes.· You're welcome to use -- I will make

·9· ·sure that you use that same amount of time.· What I

10· ·would suggest is that if there is a way for you to

11· ·take a look at your presentation now and I'm going to

12· ·take a break in about an hour, around 1 -- you know,

13· ·1:25 or 1:30 and we'll take a little bit of a longer

14· ·break, about a half hour so people can have lunch and

15· ·then come back.

16· · · · · · · · · And then I guess the only other

17· ·housekeeping question I have is -- I guess for

18· ·Mr. Moore and Mr. Johnson or any of the other

19· ·plaintiff's counsel, do you anticipate wanting to be

20· ·heard on the Plaintiffs' motion against Keurig?

21· · · · · · · · · MR. JOHNSON:· Your Honor, this is Dan

22· ·Johnson, I don't anticipate any -- any additional

23· ·comments unless -- if something should come up, I

24· ·will but it will be very, very brief.

25· · · · · · · · · JUDGE CAVE:· Okay.


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·1· · · · · · · · · MR. JOHNSON:· But I'm talking about

·2· ·minutes.

·3· · · · · · · · · JUDGE CAVE:· Okay.· Mr. Miller?

·4· · · · · · · · · MR. MILLER:· My answer would be the

·5· ·same.

·6· · · · · · · · · JUDGE CAVE:· Very good.· Let's come

·7· ·back at 12:25 then.

·8· · · · · · · · · (A brief recess was taken.)

·9· · · · · · · · · JUDGE CAVE:· I think we can go ahead.

10· · · · · · · · · MS. NEWTON:· Thank you, your Honor.

11· ·Plaintiffs Treehouse, McLane and DPPs, so not JBR

12· ·have moved the Court for sweeping sanctions against

13· ·Keurig reaching nearly every claim in the case.· Let

14· ·me stop and ask if you can hear me okay.

15· · · · · · · · · JUDGE CAVE:· Yes.· You're a little

16· ·quiet, but I can hear you.

17· · · · · · · · · MS. NEWTON:· Can you turn that up at

18· ·all?

19· · · · · · · · · Thank you, your Honor.· Obviously,

20· ·there are allegations as we just went through for two

21· ·hours accused Keurig and its counsel of engaging in

22· ·pervasive and intensional discovery misconduct and

23· ·spoliation of evidence.

24· · · · · · · · · That's serious, as Ms. Torpey said,

25· ·but it's also wrong.


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·1· · · · · · · · · Your Honor, I want to provide a

·2· ·little overview to set the context here, and then I

·3· ·want to respond to Plaintiffs' specific arguments,

·4· ·particularly the new ones that they raised in their

·5· ·reply and in the stipulation.· They have some new

·6· ·ones today that I haven't responded to, including the

·7· ·Kroger example, but at least I want to make sure your

·8· ·Honor has our response to the reply brief and the

·9· ·stipulation arguments.· And then I will respond as we

10· ·go along to your Honor's questions from Friday.

11· · · · · · · · · So initially, let's talk about the

12· ·legal standard.· So Rule 37(e) addresses the failure

13· ·to preserve electronically stored information or ESI

14· ·which was the primary focus of their motion.

15· · · · · · · · · It was amended in 2015, as your Honor

16· ·knows, to deal with the proliferation of ESI and to

17· ·deal with big litigation and multiple devices and

18· ·documents in loss of different locations.

19· · · · · · · · · 37(e) sets forth the prerequisites

20· ·really for ESI, and so the first one is it's lost.

21· ·It has to be lost and I -- your Honor had a question

22· ·on this earlier, no, you can't hear me, sorry,

23· ·Jennifer is having trouble -- can you hear me?

24· · · · · · · · · THE REPORTER:· That's better.

25· · · · · · · · · MS. NEWTON:· If you have trouble, or


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·1· ·you do, your Honor, we can stop and see if I can -- I

·2· ·can't, but see if I can have tech assistance.

·3· · · · · · · · · So the first one is lost and as the

·4· ·note says, lost from one source may be a substitute

·5· ·somewhere else.· The second one is you have to have a

·6· ·preservation of obligation, obviously, a preservation

·7· ·obligation.· The third is that it's lost because the

·8· ·party failed to take reasonable steps to preserve the

·9· ·information and here's where you really get the note

10· ·about the ever increasing volume of ESI and that the

11· ·standard can't be perfection.· It has to be

12· ·reasonableness because there's just so much anymore.

13· ·And then fourth is it has not been restored or

14· ·replaced through additional discovery and there's an

15· ·element there of proportionality.· You don't need to

16· ·restore something that is not as important, et

17· ·cetera.

18· · · · · · · · · 37(e)(1) requires prejudice, and that

19· ·is only after the first four prerequisites are found.

20· ·So if they're found, then the Court can find

21· ·prejudice to another party that flows from the loss

22· ·of the information, and the burden, in our opinion,

23· ·your Honor, is on the Plaintiffs here because as you

24· ·see from the note, where you heavy an abundance of

25· ·preserved information, then the burden should be on


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·1· ·the moving party.

·2· · · · · · · · · And on the finding of prejudice, the

·3· ·notes make it clear that any remedy should be no

·4· ·greater than necessary to cure that prejudice.

·5· · · · · · · · · So no sanction is justified unless

·6· ·all the prerequisites are met and even then, only to

·7· ·cure the -- with respect to intent to deprive, that's

·8· ·37(e)(2).· Obviously, those are very severe measures

·9· ·like the adverse inference that Ms. Torpey talked

10· ·about.· Courts should exercise caution.

11· · · · · · · · · These are the allegations we've heard

12· ·them for a while, so I don't need to belabor that.

13· ·This is a little bit of an overview, your Honor, just

14· ·on the hard drive discussions you'll see Plaintiffs

15· ·cannot show loss of unique and material ESI or

16· ·prejudice as to hard drives.· They ignore our

17· ·extensive efforts to preserve and those efforts

18· ·included searching and restoring sources of ESI

19· ·unlikely to contain non-duplicative material, and

20· ·that is the situation with the hard drives and we

21· ·will spend some time on that, your Honor.

22· · · · · · · · · Plaintiffs' so-called proof

23· ·particular from their reply brief demonstrate that

24· ·there's no lost unique or material evidence on hard

25· ·drives, and then our position that there's no


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·1· ·prejudice from the loss of any ESI and that is

·2· ·required under (e)(1) and there's no intent to

·3· ·deprive, as required under (e)(2).

·4· · · · · · · · · Having discussed the applicable lens

·5· ·and provided a little bit of an overview, I want to

·6· ·touch on the broader context, your Honor, and in

·7· ·particular, our currents efforts to preserve, which

·8· ·is central to Rule 37.

·9· · · · · · · · · So let me start with the litigation

10· ·timeline.

11· · · · · · · · · Discovery did not start until 2018.

12· ·Yes, Treehouse filed their Complaint in February of

13· ·2014, but then there was the preliminary injunction

14· ·hearing that fall with respect to the launch of the

15· ·2.0, and then there were the motions to dismiss and

16· ·the judge was looking at this and then made his

17· ·decision.· And that occupied the intervening years.

18· · · · · · · · · And discovery, as you'll see on the

19· ·timeline, was stayed pending decisions on the motions

20· ·to dismiss.

21· · · · · · · · · So Plaintiff took the position that

22· ·the parties should exchange initial disclosures and

23· ·agree on custodians and search terms early, but

24· ·that's not what Judge Brodrick said.· He ruled

25· ·otherwise.· He said we will not identify custodians


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·1· ·until after I rule on the motions to dismiss.· But of

·2· ·course Keurig issued preservation notices to 438

·3· ·employees within six days and we'll talk about

·4· ·that --

·5· · · · · · · · · JUDGE CAVE:· In which order -- in

·6· ·which order did Judge Brodrick say that you don't

·7· ·have to identify custodians until after the ruling on

·8· ·the motions to dismiss.

·9· · · · · · · · · MS. NEWTON:· I have that.· This is

10· ·going to be how I use my time, sorry about that, it's

11· ·on the screen, your Honor.· He issued the order in

12· ·September -- September 27, 2016 order.· Yes, sorry.

13· ·It's right on the timeline, your Honor.· I just was a

14· ·little flustered.

15· · · · · · · · · JUDGE CAVE:· Okay.· That's okay.

16· · · · · · · · · MS. NEWTON:· And my only point there

17· ·was that Keurig was preserving information but there

18· ·were no custodians and there were no custodians until

19· ·after the motions to dismiss, and then you'll see at

20· ·the end of the timeline, fact discovery ended in June

21· ·of 2020.· And you can see the McLane filing in 2019,

22· ·the commencement of fact discovery, the motions to

23· ·dismiss, et cetera.

24· · · · · · · · · Your Honor, one of our calls had

25· ·asked about the 54 custodians, and so we laid that


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·1· ·out here in this slide.· The original 29 were named

·2· ·in December 2017, January 2018 and at that time,

·3· ·Plaintiffs knew that 23 of them were former

·4· ·employees.· The 12 additional Keurig custodians were

·5· ·added at the request of Plaintiffs in the fall of

·6· ·2018, and they knew that all of -- all but one were

·7· ·former employees.· And then after McLane filed their

·8· ·Complaint, 10 more custodians were added in May of

·9· ·2019 and Plaintiffs knew that eight of them were

10· ·former employees.

11· · · · · · · · · Three additional ones were added

12· ·during discovery, your Honor, and Plaintiffs knew

13· ·that two of them were former employees.

14· · · · · · · · · I wanted to talk a little bit about

15· ·Keurig's extensive efforts to preserve which I think

16· ·is important and, obviously, as it's at the center of

17· ·Rule 37.· Keurig expended enormous amount of time,

18· ·effort and resources to preserve, collect or produce,

19· ·as your Honor knows, was a truly massive amount of

20· ·discovery in this case.

21· · · · · · · · · As we mentioned just a minute ago,

22· ·within six days of the February 2014 Complaint, 430

23· ·litigation hold communications were issued.· That was

24· ·later expanded to an additional 30.· Outside counsel

25· ·worked closely with Keurig inside counsel as well as


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·1· ·the IT department to preserve -- to preserve and

·2· ·understand the policies, and since 2011, CommVault,

·3· ·the archive system, preserved employee emails through

·4· ·journaling which was the retention, your Honor, of

·5· ·any sent or received email regardless of whether the

·6· ·employee deleted it in his or her -- in his or her

·7· ·box.· And then in 2016, Keurig transitioned to Office

·8· ·365 and that's what they use for litigation holds.

·9· ·Your Honor had a question about CommVault and so I

10· ·wanted to answer that here.

11· · · · · · · · · Your Honor asked what was the issue

12· ·with CommVault, why it arose and when it was

13· ·resolved.

14· · · · · · · · · CommVault was Keurig's archival

15· ·system for email beginning in 2011.· It would

16· ·preserve emails, as we just talked about, going in

17· ·and out, and that was regardless of whether an

18· ·employee did at their desk.

19· · · · · · · · · Plaintiffs sent their detailed July

20· ·25, 2018 letter where they then identified specific

21· ·examples of concerns as to emails.· There was an

22· ·earlier July letter where they said they had concerns

23· ·and they were going to detail them.

24· · · · · · · · · It's the July 25 letter where they

25· ·did that we investigated that, your Honor, and


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·1· ·discovered that, in fact, that the CommVault emails

·2· ·were not in the collection for all the original 29

·3· ·custodians.· We had a massive amount of material,

·4· ·including their email box system, the Microsoft

·5· ·Exchange, the Office 365, but it turned out that

·6· ·not -- that not only 29 had the CommVault

·7· ·collections.· On August 6 -- so they send that letter

·8· ·on July 25.· On August 6, in a meet and confer, we

·9· ·tell them that and the next day on August 7th, we put

10· ·it in a letter.· Keurig and we then worked very hard

11· ·to collect all 29 custodians anew and produce the

12· ·archived emails and had corrected that issue, which

13· ·was one of your Honor's questions, by October of

14· ·2018.

15· · · · · · · · · Plaintiff obtained additional time,

16· ·discovery was extended six months to November of

17· ·2019.· I think I said an additional 30 lit holds but

18· ·it's additional 300 as is on the slide, your Honor, I

19· ·apologize if I misspoke.

20· · · · · · · · · JUDGE CAVE:· That's okay.

21· · · · · · · · · On the CommVault, the additional

22· ·emails that were collected and produced by October

23· ·2018, were those nonduplicative or did you -- or were

24· ·they -- were they unique or were they duplicate?

25· · · · · · · · · MS. NEWTON:· It would be a mixture,


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·1· ·your Honor, depending on -- because we made a massive

·2· ·production in April of 2018 of lots of documents,

·3· ·including emails, and we had some of the emails.

·4· · · · · · · · · JUDGE CAVE:· Okay.

·5· · · · · · · · · MS. NEWTON:· But if your question is

·6· ·when we did it anew -- I think your question is did

·7· ·we end up producing the same CommVault email twice

·8· ·because of the exercise and that answer is no.

·9· · · · · · · · · JUDGE CAVE:· Okay.· I guess it was

10· ·slightly different.

11· · · · · · · · · MS. NEWTON:· Oh.

12· · · · · · · · · JUDGE CAVE:· Let's just call the

13· ·mistake Ms. DuLong, for example.· I'm just picking

14· ·her out of the air because her name is in front of

15· ·me.

16· · · · · · · · · So in April of 2018, Keurig produced

17· ·Ms. DuLong's emails from what source?

18· · · · · · · · · MS. NEWTON:· So I'm going to get a

19· ·little help from Ms. Baird on that specific question.

20· · · · · · · · · MS. BAIRD:· Your Honor, this is

21· ·McKenzie Baird.· I'm sharing Ms. Newton's audio but

22· ·hopefully you can still see my video.

23· · · · · · · · · JUDGE CAVE:· Yes.

24· · · · · · · · · MS. NEWTON:· Mrs. DuLong,

25· ·unfortunately, was not a good example because


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·1· ·Ms. DuLong was not a custodian in April of 2018.· She

·2· ·was one of the additional 12 that Plaintiffs

·3· ·requested to be added in the fall of 2018.

·4· · · · · · · · · JUDGE CAVE:· So pick a different

·5· ·person who was there both times.· It doesn't matter.

·6· · · · · · · · · MS. BAIRD:· So let's take Mark Woods

·7· ·for an example.· He's the one who readily comes to

·8· ·mind.

·9· · · · · · · · · In the original collection of data,

10· ·we would have had Mr. Woods' email data collected

11· ·from Office 365 given his time at the company.

12· · · · · · · · · To the extent that there was

13· ·additional email in CommVault that was also not

14· ·duplicative of email already collected from Office

15· ·365, that would be new, and in fact, when we

16· ·disclosed these issues to the Plaintiffs in the

17· ·August meet and confer with them, we were upfront

18· ·that we understood that there by the be some

19· ·additional email that would be coming as a result of

20· ·this CommVault collection.

21· · · · · · · · · JUDGE CAVE:· Okay.· And what was

22· ·the -- if Craig had Office 365 in August of 2016,

23· ·what was the name of the email system before that?

24· · · · · · · · · MS. BAIRD:· Sure.· The email system

25· ·before that was Microsoft Exchange.


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·1· · · · · · · · · JUDGE CAVE:· Okay.

·2· · · · · · · · · MS. BAIRD:· As sort of previewed here

·3· ·on the slide, Microsoft Exchange was used in

·4· ·conjunction with CommVault to preserve and archive

·5· ·email.· When the company switched over to O-365

·6· ·throughout 2016 and there was transitioning depending

·7· ·on employees, both of those switched over to Office

·8· ·365.

·9· · · · · · · · · JUDGE CAVE:· Okay.· And the CommVault

10· ·journaling happened automatically or what -- was

11· ·there any manual collection of whose emails were

12· ·journaled?

13· · · · · · · · · MS. BAIRD:· So again, it's a mix of

14· ·both.

15· · · · · · · · · JUDGE CAVE:· Okay.

16· · · · · · · · · MS. BAIRD:· Again, depending on the

17· ·time frame and depending on the custodian and we

18· ·tried to detail this in a lot of our communications

19· ·to Plaintiffs.

20· · · · · · · · · So there are two aspects of the

21· ·CommVault archive.· There is the journaling aspect in

22· ·which emails are automatically sent to the CommVault

23· ·archive when they are sent or received from the

24· ·mailbox of somebody on a litigation hold.· There is a

25· ·separate aspect of CommVault which we all have


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·1· ·referred to as "ingestion."· That may sound somewhat

·2· ·familiar to you and that was the process in which in

·3· ·approximately 2012, the company took all existing

·4· ·email data on the Exchange server at that time and

·5· ·put it into CommVault.

·6· · · · · · · · · JUDGE CAVE:· Okay.· Thank you very

·7· ·much.· Go ahead, Ms. Newton.

·8· · · · · · · · · MS. NEWTON:· Sure.· So in terms of

·9· ·additional efforts to preserve, you have other ESI

10· ·sources, central files, central databases.· In

11· ·addition to the custodial files, which included the

12· ·home share that Mr. -- that Ms. Torpey talked about.

13· ·Current collected documents for more than 14,700

14· ·folders from its X drive and H drives.· It produced

15· ·146,000 documents from shared folders.

16· · · · · · · · · Keurig also had a process to preserve

17· ·ESI when an employee was on legal hold and left

18· ·Keurig.· That was the computer script to package up

19· ·the data from their email and from their home drive

20· ·and to preserve it on the network.· That's

21· ·separate -- that was separate from CommVault.· So

22· ·that was an additional step.· Keurig's IT department

23· ·was to preserve data on computers, which we'll talk

24· ·more about computers.· And then there was a data

25· ·transfer, so when someone got a new drive, a new -- a


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·1· ·computer, the data would be migrated, so all --

·2· ·everything I had on my old computer would come up to

·3· ·my new computer.· But they retained some of the old

·4· ·computers nonetheless even though everything was

·5· ·migrated to the -- to the new one.

·6· · · · · · · · · JUDGE CAVE:· Can I pause you for one

·7· ·second?

·8· · · · · · · · · MS. NEWTON:· Certainly.

·9· · · · · · · · · JUDGE CAVE:· The term "custodial

10· ·file," I think both Ms. Torpey and I are not exactly

11· ·clear when Keurig uses that term what is included

12· ·in -- in an employee's custodial file.

13· · · · · · · · · MS. NEWTON:· Yes, your Honor.· I had

14· ·that note to myself.· The custodial files include --

15· ·do you want to answer that?· Go ahead.· McKenzie will

16· ·answer that.

17· · · · · · · · · MS. BAIRD:· Your Honor, generally,

18· ·when we're speaking about the custodial files we're

19· ·talking about their email collected from any source

20· ·which would include CommVault.· Plaintiffs disagree

21· ·with that characterization as noted in the

22· ·stipulation.· We're talking about documents collected

23· ·from computers, multiple computers, if they had them,

24· ·documents collected from the home share and to the

25· ·extent that the custodian retained hardcopy


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·1· ·documents, those would be custodial documents as

·2· ·well.

·3· · · · · · · · · JUDGE CAVE:· Okay.· Thank you.

·4· · · · · · · · · MS. NEWTON:· That was the definitive

·5· ·definition, so I like that.

·6· · · · · · · · · In terms of overall context and I

·7· ·think your Honor has seen some of these numbers

·8· ·before, Keurig -- there was 30 months of fact

·9· ·discovery.· It closed on June 2020, which we talked

10· ·about, Keurig produced 3.8 million documents, or more

11· ·than 11 million pages.· That covered nine years.

12· ·That was in response to RFPs.· This included the

13· ·documents from all 54 agreed-upon Keurig custodians

14· ·and hundreds of noncustodial sources that the parties

15· ·negotiated.

16· · · · · · · · · So the different drives and things

17· ·that we've talked about.· Keurig also produced seven

18· ·million additional pages of documents from prior

19· ·litigations.· There were 200 fact depositions,

20· ·including 23 of the 30 custodians that the Plaintiffs

21· ·complain about.

22· · · · · · · · · The rest they chose not to depose,

23· ·your Honor.· 432 document subpoenas were issued,

24· ·that's the third-party productions, plus non-ESI in

25· ·terms of hardcopy documents from Keurig and former --


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·1· ·from current and former employees.· Throughout fact

·2· ·discovery, we tried very hard to be transparent, to

·3· ·work through these issues, to deal with any concerns

·4· ·that they had.· There were dozens of meet and confers

·5· ·and additional followups.· There were intensive back

·6· ·and forths with the Plaintiffs.· I think your Honor

·7· ·has gotten a flavor of that from some of the letters

·8· ·that you've seen as Keurig and the counsel team tried

·9· ·to work through all of these as we went through the

10· ·30 months of discovery.

11· · · · · · · · · So thank you for letting me set the

12· ·stage because I thought that was important, Keurig's

13· ·efforts to preserve are core to Rule 37 but I do want

14· ·to jump into some of the specifics, your Honor,

15· ·because you don't have our responses to a lot of the

16· ·proof that they brought out in their reply brief and

17· ·then some of the arguments they made in the

18· ·stipulation.

19· · · · · · · · · So let me start with what Ms. Torpey

20· ·spent a fair amount of time talking about this

21· ·morning and this afternoon, the custodian hard

22· ·drives.

23· · · · · · · · · So Plaintiffs today and before have

24· ·worked very hard to make it look like unique and

25· ·material evidence was lost from custodian hard


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·1· ·drives.· But that is simply not the case and without

·2· ·such a loss, there is no spoliation, and without

·3· ·spoliation, there is no sanction.

·4· · · · · · · · · They ignore the extensive efforts of

·5· ·preservation, and they ignore the fact that we were

·6· ·looking for hard drives even though Keurig never

·7· ·believed that they would be a source of unique and

·8· ·nonduplicative responsive material.

·9· · · · · · · · · So by way of overview, your Honor,

10· ·Keurig preserved and collected 99 custodian hard

11· ·drives.· Six of them could not be imaged.

12· ·Extraordinary measures were taken for two of them.

13· ·That's Ms. Rathke and Ms. Stacy.· Of the 93

14· ·successfully imaged, there were ten that could not be

15· ·decrypted.· Keurig successfully decrypted 11 drives

16· ·that had McAfee and produced documents from those,

17· ·successfully decrypted at least 62 drives that had

18· ·BitLocker and produced documents from those.· Let me

19· ·pause because your Honor asked a question on Friday

20· ·about the hard drives encrypted with BitLocker which

21· ·could not be decrypted.· So Mr. DiFabio had one of

22· ·those.· Of his five computers, one was noted as

23· ·BitLocker decryption and it was not decrypted.· He

24· ·had a second one that was identified as unknown

25· ·encryption but based on the timing we believe that


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·1· ·was also BitLocker.· So that's two out of the five

·2· ·for Mr. DiFabio.· And Mr. Brown, his was noted as

·3· ·unknown, but again, based on the timing, we believe

·4· ·that also was BitLocker, but keep in mind 62 -- at

·5· ·least 62 drives with BitLocker were decrypted, just

·6· ·not these three.· And Keurig also produced documents

·7· ·from drives that had no encryption.

·8· · · · · · · · · With your indulgence, I just -- I

·9· ·want to stop just for a second because I think

10· ·Ms. Torpey mentioned -- was it ten times, eight times

11· ·that we didn't -- we didn't really bother with hard

12· ·drives because I think the Court words it was just

13· ·not worth it.· And I'm holding the page from

14· ·Mr. Campbell's testimony, and I'm looking at the --

15· ·at page 258 and 259 where he says:· We don't feel

16· ·like it's worth the effort to look at the individual

17· ·hard drives.· But your Honor, he wasn't talking about

18· ·this case.· He was talking about the Degnan efforts

19· ·in 2012.· So on page 258 at Line 19 through 259, Line

20· ·10, your Honor, it's just not accurate.· That quote

21· ·that you heard over and over is just not about this

22· ·effort that we're going to spend some time talking

23· ·about.· So I just wanted to take a second, thank you,

24· ·your Honor, to mention that.

25· · · · · · · · · So we're in the middle of the


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·1· ·overview, you had asked a question about BitLocker,

·2· ·but your Honor also asked a question about the May 20

·3· ·letter offering remedial measures.· And so we put

·4· ·together this slide for you, which talks about those

·5· ·remedial measures set forth in the May 20, 2019

·6· ·letter where we offered to take additional steps to

·7· ·try to deal with issues that they were raising and

·8· ·the answer to your question of which of these did we

·9· ·do is all of them.

10· · · · · · · · · And so what we put up on the slide so

11· ·that you would have it, your Honor, is the specifics

12· ·of what we did and the -- and the dates.

13· · · · · · · · · We worked with them to investigate

14· ·the encrypted and damaged and all these hard drive

15· ·issues, your Honor.· We offered Treehouse vendor

16· ·access to drives that we couldn't -- that our vendor

17· ·couldn't image.· We offered to pay vendors reasonable

18· ·fees for drives, not the extraordinary measures but a

19· ·normal -- you know, we did all of that and so I

20· ·think -- I think this answers your Honor's questions

21· ·in that regard.

22· · · · · · · · · Woop, nope.

23· · · · · · · · · JUDGE CAVE:· One question on the last

24· ·point.

25· · · · · · · · · MS. NEWTON:· Uh-huh.


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·1· · · · · · · · · JUDGE CAVE:· So those hard drives

·2· ·took to each vendor, Keurig has already paid

·3· ·Treehouse for those costs or that's -- that's still

·4· ·open.

·5· · · · · · · · · MS. NEWTON:· We had paid our vendor

·6· ·for efforts to work on the hard drives, whether they

·7· ·were damaged or encrypted, et cetera.· We offered --

·8· ·particularly the ones without -- that were physically

·9· ·damaged, we offered them to the Plaintiffs.· They

10· ·decided to go forward with two.· That was Rathke and

11· ·Stacy.· But those were the cleaning room

12· ·extraordinary measures, not normal measures, and so

13· ·we did not offer to pay for them --

14· · · · · · · · · JUDGE CAVE:· Okay.

15· · · · · · · · · MS. NEWTON:· -- if that's your

16· ·question.

17· · · · · · · · · JUDGE CAVE:· Yeah, thank you.

18· · · · · · · · · MS. NEWTON:· So Plaintiffs say in the

19· ·stipulation that Keurig's counsel acknowledged -- and

20· ·I think again today that Keurig's employees stored

21· ·documents in various places, including their hard

22· ·drives, and they cite to the same letter that your

23· ·Honor asked about the remedial measures because what

24· ·they're trying to say is that we knew that custodians

25· ·were putting documents on their local hard drives and


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·1· ·that we told them we were well aware of that and that

·2· ·we didn't back them up.· But your Honor, if I may

·3· ·read this -- this clip, unless you don't want me to,

·4· ·but as we reminded you today, Keurig employees stored

·5· ·documents in various places, including their network

·6· ·home drive, one or more of the folders on the

·7· ·shareholder X or H drives and sometimes on their hard

·8· ·drives, though Keurig discouraged them from doing so.

·9· ·As we also explained, Keurig has produced back-ups of

10· ·certain laptops or robust collections that were

11· ·identified in one of the network locations.· Further,

12· ·it is our understanding that when an employee

13· ·received a new computer, that data from the prior

14· ·computer was copied to the new device.· Accordingly

15· ·we do not expect the above devices, should they be

16· ·imaged, will contain a substantial volume of new

17· ·information (if any at all).

18· · · · · · · · · And again, this goes to the heart

19· ·that Keurig did not believe that hard drives were the

20· ·source of unique and relevant -- unique and material

21· ·information.

22· · · · · · · · · So I want to dive in, your Honor, to

23· ·the specific proof that Plaintiffs have offered and

24· ·it primarily comes in their reply brief as to why you

25· ·should believe that highly relevant unique documents


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·1· ·are stored on hard drives.

·2· · · · · · · · · They tee up two documents in that

·3· ·regard, N and O, and we have added the ESI numbers,

·4· ·1402-7, 1402-8, but I will tell you that neither of

·5· ·them is unique and I want to talk about that but let

·6· ·me just back up for a second because I want to be

·7· ·clear on what they're doing here.· They're taking

·8· ·down produced to them on the hard drive, proffering

·9· ·them as the proof to your Honor that highly relevant

10· ·and unique documents are on hard drives and then

11· ·infer -- asking you to infer from that that there's a

12· ·lot of unique and material documents on hard drives.

13· ·The problem that they have is that Exhibit N, ESI

14· ·1402-7 was from Karen Gallagher's hard drive, and

15· ·that's what they offer as proof of uniqueness.· But

16· ·it was also produced from Mr. DiFabio's files, the

17· ·same exact document, and let me just show your Honor.

18· · · · · · · · · So on the left, you have N, which is

19· ·the Plaintiffs' exhibit from Ms. Gallagher's hard

20· ·drive, and on the right, you have the same document,

21· ·but produced out of Mr. DiFabio's collections and I'm

22· ·going to -- with your indulgence spend a little time

23· ·on this.· But the interesting thing here is in tiny,

24· ·tiny print at the bottom, you'll see the MB-5 hash.

25· ·You see that?


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·1· · · · · · · · · The MB-5 hash value is -- hash values

·2· ·were created using industry standard algorithms for

·3· ·exact matches.· So this is a technical exact same

·4· ·document.

·5· · · · · · · · · This slide is the -- sorry, your

·6· ·Honor, I lost my place.· This is Exhibit O, the

·7· ·1402-8.· This was Plaintiffs' proof from one of the

·8· ·five Wettstein hard drives, but it was also produced

·9· ·from the emails of TJ Whalen and it was also

10· ·collected from a Keurig shared file and then

11· ·de-duplicated through the parties' agreement so it

12· ·was collected at least from three different sources

13· ·and Plaintiffs received at least that we know of two

14· ·copies of the same document, and it too, if you look

15· ·at the bottom is an MD-5 hash value duplicate.

16· · · · · · · · · So these are exact technical

17· ·duplicates that are not difficult to find using the

18· ·computer.· They're just not.· The Plaintiffs claim,

19· ·in their reply brief, that these two hard drive

20· ·documents show your Honor how unique and material

21· ·documents exist on hard drives.· Yet, they've

22· ·actually had these.· These were produced from other

23· ·sources.· And this is where I'm going to ask your

24· ·indulgence because I want to talk just a little bit

25· ·about an MD-5 hash value and technical or substantive


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·1· ·documents.· Because a document does not have to be an

·2· ·MD5 hash value exact technical duplicate to be a

·3· ·substantive duplicate.· And I'm not a tech-ey person,

·4· ·but I'm going to tell you that this is very important

·5· ·here because of the extensive Keurig ESI productions

·6· ·in this case.

·7· · · · · · · · · So identical documents can have

·8· ·different MD5 hash values for reasons that have

·9· ·nothing to do with the substance, so saving a file at

10· ·a time or at a different location, use of a different

11· ·operating system, like Mac, a different center

12· ·received time by seconds and that can make it not an

13· ·MD5 hash value even though it is the same document

14· ·otherwise.

15· · · · · · · · · And let me just divert for a second

16· ·by saying the parties agreed to perform

17· ·de-duplication at the document family level so that

18· ·email attachments were not de-duplicated against

19· ·identical standalone versions of the same document or

20· ·vice versa.

21· · · · · · · · · So what does that mean -- what does

22· ·that mean from a practical standpoint?· That means

23· ·that a produced document could be produced as a

24· ·standalone but then be produced again attached to an

25· ·email.· They would not de-dupe out.· So you could get


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·1· ·it twice, once as a standalone -- you could get it

·2· ·multiple times, but you could at least get it twice

·3· ·because they're not going to be de-duplicated out

·4· ·based on the way the parties agreed to do it.

·5· · · · · · · · · And your Honor, both of these things

·6· ·that I'm talking about are completely separate from

·7· ·having the same content -- like, you know, you have

·8· ·an email, we're going back and forth and then you lob

·9· ·and then I lob, and then somebody else, that content

10· ·that they're going to get bunches of time among

11· ·emails, that's a whole separate thing that I'm not

12· ·talking about.· I'm talking about the same documents,

13· ·whether that be MD5 or substance.· Yes, your Honor?

14· · · · · · · · · JUDGE CAVE:· And the parties

15· ·agreement about de-duping it at the same level,

16· ·that's in the ESI order or somewhere else?

17· · · · · · · · · MS. BAIRD:· Yes.· That's in the ESI

18· ·order.

19· · · · · · · · · JUDGE CAVE:· Thank you.

20· · · · · · · · · MS. NEWTON:· So the bottom line is

21· ·documents were produced multiple times from different

22· ·sources, your Honor.

23· · · · · · · · · So the other huge practical impact of

24· ·MD5 hash value versus substantive -- a duplicate, let

25· ·me bring that through if I may in the hard drive


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·1· ·context.

·2· · · · · · · · · So if there was a material document

·3· ·on a hard drive, it is extremely unlikely that it

·4· ·would be uniquely found on that hard drive and that,

·5· ·your Honor, is a critical key point to all of the

·6· ·Plaintiffs' hard drive arguments.

·7· · · · · · · · · So Plaintiffs cite in productions in

·8· ·their reply brief from the hard drives of Jim Shepard

·9· ·and Jon Wettstein and they argue the productions to

10· ·show your Honor that there are unique relevant

11· ·documents routinely maintained on hard drives.

12· · · · · · · · · As to Mr. Shepard, they point to 2200

13· ·documents on an external hard drive.· Put aside by

14· ·the way that Mr. Shepard copied his later damaged

15· ·hard drive when he left.· He copied the whole thing,

16· ·so nothing was lost from him, but as to those 2200

17· ·that they point out to your Honor, they say less than

18· ·3 percent -- 3 percent were duplicative of Keurig's

19· ·other document productions.

20· · · · · · · · · But our investigation found that more

21· ·than 40% of them were exact technical MD5 hash value

22· ·duplicates.· There would be far more if you

23· ·considered substantive duplicates.· I wanted to show

24· ·your Honor what that would look like.

25· · · · · · · · · So here's a Shepard PowerPoint.· The


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·1· ·water study update on the left.· On the right is

·2· ·exactly the same document produced from Whoriskey's

·3· ·production.· So you've got Shepard's PowerPoint, same

·4· ·PowerPoint comes out of Whoriskey.· But if you look

·5· ·at the tiny little letters on the bottom, it is not

·6· ·an MD5 hash, but substantively they are the same

·7· ·document.· And Plaintiffs made a similar calculation

·8· ·as to Mr. Wettstein in their reply brief.· They said

·9· ·out of 1300 documents that were produced on his

10· ·remaining hard drives, about 4 percent were

11· ·duplicative of other productions.

12· · · · · · · · · But our investigation showed about 50

13· ·percent were MD5 hash value exact duplicates, and

14· ·there would be more if you counted substantive.

15· · · · · · · · · So here's an example, your Honor.

16· ·You have the Wettstein project status update 9/14,

17· ·the PowerPoint on the left, you have the same

18· ·PowerPoint that came out of Dave Crosson's materials

19· ·but if you look at the bottom, they're not MD5 hash,

20· ·they're not the technical duplicates, but they're

21· ·exactly -- exactly the same document.

22· · · · · · · · · The point of this, your Honor, is

23· ·there's no lost unique and material documents for

24· ·hard drives and I think, hopefully, this is shown

25· ·when we investigated the specific proof that they


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·1· ·proffered, that it's just -- it's just not accurate.

·2· ·So let's talk a little bit about encrypted hard

·3· ·drives.

·4· · · · · · · · · Any loss from a hard drive issue was

·5· ·not because Keurig failed to take reasonable steps to

·6· ·preserve.· So that's one of the predicate elements

·7· ·for 37(e).· We've talked about it before.· Keurig had

·8· ·no reason to believe that hard drives would be a

·9· ·source of unique and material documents.· But maybe

10· ·even more importantly, the overlapping and

11· ·duplicative productions are critical and it is

12· ·exactly what the advisory committee spoke about that

13· ·we looked at earlier that because ESI is often stored

14· ·in multiple locations, loss from one source may often

15· ·be harmless when substitute information can be found

16· ·elsewhere.

17· · · · · · · · · So with respect to encrypted, ten

18· ·hard drives from nine custodians could not be

19· ·decrypted.· But current produced documents from

20· ·network drives for all of them.· Keurig produced

21· ·documents from shared folders where Mr. -- a shared

22· ·folder where Mr. Brown testified he stored his

23· ·business documents.

24· · · · · · · · · Mr. Crites left Keurig before the

25· ·case was filed.· He left in March of 2013 before


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·1· ·there was a preservation obligation.

·2· · · · · · · · · But Keurig produced 50,138 documents

·3· ·from his custodial files, including from his home

·4· ·share and thousands related to Bigelow, the alleged

·5· ·Treehouse lost customer.· You see Cote, DiFabio,

·6· ·Ferreira, Manly, Novak, Tinkler and Wettstein.· They

·7· ·all had responsive documents produced from

·8· ·later-in-time drives, meaning after the migrations,

·9· ·their computers.

10· · · · · · · · · Your Honor had asked about the

11· ·encryption, like when was it -- when did it stop,

12· ·when did it start.· So we put together this

13· ·encryption timeline.· Hopefully, you find it helpful.

14· ·McAfee was rolled out beginning in September of 2009

15· ·to 2012 with Keurig beginning to transition computers

16· ·to about it locker between Q1 of 2012.· And I'm

17· ·probably saying it too much but when an employee

18· ·receives a new computer, then IT migrates the data

19· ·from the old computer to the new one.· So by the time

20· ·Treehouse filed the first Complaint, February 11,

21· ·2014 there on the timeline, McAfee was long gone.

22· · · · · · · · · Your Honor also asked on Friday about

23· ·the last Keurig employee with access to and knowledge

24· ·of McAfee encryption, when did they leave Keurig.

25· ·What I can tell you, your Honor, is that the product


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·1· ·manager for the McAfee rollout in 2009 was Jim

·2· ·Litine -- Liotine, sorry, Liotine.

·3· · · · · · · · · Mr. Campbell identified him as the

·4· ·person responsible for collecting employee computers

·5· ·for litigation.· I do want to mention here, your

·6· ·Honor, that contrary to plaintiff's claim, Keurig did

·7· ·work directly with McAfee to relearn the system and

·8· ·to decrypt -- I have trouble saying that -- to

·9· ·decrypt the laptops.

10· · · · · · · · · So it's not like we didn't do that.

11· ·We did.

12· · · · · · · · · Plaintiffs have stipulated that they

13· ·have received hard drives from encrypted documents.

14· ·This is a piece -- oh, I didn't give you when -- I

15· ·apologize, your Honor, I didn't give you when

16· ·Mr. Liotine left of the company.· That was one of

17· ·your questions.· I'm being kept honest here.· April

18· ·13, 2017.

19· · · · · · · · · JUDGE CAVE:· Thank you.· I was going

20· ·to follow up if you didn't tell me.

21· · · · · · · · · MS. NEWTON:· We're trying to head you

22· ·off, your Honor.· We're trying to head you off.

23· · · · · · · · · So this is a quote from the

24· ·stipulation of Paragraph 143, but essentially they

25· ·stipulate that we produced from Cote's two drives,


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·1· ·DiFabio's three drives, Ferreira's three drives,

·2· ·Manly's two drives, Novak's three drives, Tinkler's

·3· ·two drives, Wettstein's four drives.

·4· · · · · · · · · And this is a table, your Honor, that

·5· ·just speaks to the custodial documents -- I think you

·6· ·had a similar question earlier -- produced by Keurig

·7· ·for each of these custodians that had the encryption

·8· ·issue on one of their hard drives.

·9· · · · · · · · · Your Honor, we also prepared the

10· ·detailed Exhibit 1 that was filed that was goes

11· ·custodian by -- I am sure you probably read it or

12· ·tried to -- that goes custodian by custodian, so

13· ·that's all -- you've got it -- you've got it handy.

14· ·Okay.· A lot of that is in there as well.

15· · · · · · · · · Custodians with hard drives not

16· ·located.· So under the heading of producing from

17· ·duplicative and overlapping sources, for these

18· ·custodians, Keurig was unable to locate hard drives

19· ·from eight custodians, and you see them listed there.

20· ·There was also the empty Wettstein laptop that you

21· ·saw in the stipulation and Ms. Torpey mentioned

22· ·today.· It was a -- it was -- it was the laptop that

23· ·didn't have the hard drive inside.

24· · · · · · · · · Three of these custodians, Holly,

25· ·Smith and Stevens left Keurig before Plaintiffs filed


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·1· ·this lawsuit, so before any preservation obligation.

·2· ·Wettstein, Keurig produced documents from four of his

·3· ·hard drives, including the last-in-time, the one he

·4· ·was using at the end, so with the data migrated has

·5· ·the last lap -- last hard drive or laptop, all the

·6· ·data previously has been migrated.· Keurig produced

·7· ·for Barberio, Godfrey, Hurley, Mueller and Tidwell

·8· ·and their teams and their home shares were available.

·9· ·Keurig added -- I think Ms. Torpey mentioned this --

10· ·for Barberio, Keurig added an additional custodian,

11· ·his supervisor, Mr. Travis, Keurig produced 25,813

12· ·custodial files from Mr. Travis.· His other

13· ·supervisor was Mr. Ferguson, who was also a

14· ·custodian, and Keurig produced 80,797 custodial files

15· ·but that's just through the time that Barberio

16· ·retired.· That's not the number for Ferguson's whole

17· ·production.· That's the number for when he was

18· ·supervising Barberio.

19· · · · · · · · · Slide 33 is a table that shows a

20· ·substantial number of documents from these

21· ·custodians.· It shows our counts which we're very

22· ·comfortable with.· It shows their counts from the

23· ·stipulation.· Let me pause, your Honor, and say and

24· ·say I don't know why Plaintiff miscalculate the

25· ·document production numbers.· We tried to back into


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·1· ·their numbers and we don't know how -- how to do it.

·2· ·We know in the past that they have not included all

·3· ·four custodian fields in their searches.· We also

·4· ·know that they have appeared to not update their

·5· ·database with the custodial overlay files to update

·6· ·the custodian values, but the point -- the other

·7· ·point of this table is that even if you just look at

·8· ·their stipulated numbers, these are substantial

·9· ·productions.· I mean these are substantial

10· ·productions.

11· · · · · · · · · So I want to spend a little time

12· ·addressing the additional new arguments that

13· ·Plaintiffs raised in their reply brief and I don't

14· ·know are, your Honor, if this is a good breaking

15· ·point or you want to keep going?

16· · · · · · · · · JUDGE CAVE:· Let's keep going a

17· ·little bit longer.

18· · · · · · · · · MS. NEWTON:· Okay.· Whatever you

19· ·want.· Okay.· So let me talk about Don Holly.· So Don

20· ·Holly in their reply brief, Plaintiffs claim that his

21· ·computer, quote, might have been retrievable but for

22· ·Keurig's failure to contact him before his deposition

23· ·in 2020, but he was not a custodian in this case

24· ·until ordered by the Court on a limited basis in

25· ·February of 2020, seven years after he left Keurig.


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·1· ·So they also point to Groupo Phoenix, one of the

·2· ·suppliers' documents, and they say:· Keurig failed to

·3· ·produce Holly documents related to a supplier Groupo

·4· ·Phoenix.· They had to obtain those documents from a

·5· ·third party.· That's what they say.· And they cite to

·6· ·four documents produced by Groupo Phoenix to argue

·7· ·for the first time in the stipulation that these

·8· ·documents evidence missing Don Holly documents.· But

·9· ·Holly's not on them.· Mr. Holly is not on these

10· ·documents.· There's two other Keurig employees on

11· ·there and they weren't custodians.· So of course we

12· ·didn't produce them.

13· · · · · · · · · The other thing is that all four of

14· ·the emails that they point to were sent after

15· ·Mr. Holly left Keurig, and we did, in fact, your

16· ·Honor, produce Mr. Holly's email communications with

17· ·Curwood, Phoenix Cups, that's Groupo Phoenix, and

18· ·Winpak consistent with the Court's February 4, 2020

19· ·order.

20· · · · · · · · · Once again, when you look at the

21· ·actual proof rather than the high-level accusations,

22· ·it's simply incorrect.

23· · · · · · · · · So let's look at --

24· · · · · · · · · JUDGE CAVE:· Could you just remind me

25· ·why Don Holly -- who I'm sure is thrilled that his


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·1· ·picture is in this presentation for all time, but why

·2· ·he came up in February 2020?· I don't remember the

·3· ·specific dispute why he was added.· And then, you

·4· ·know, I think Plaintiffs would argue that

·5· ·notwithstanding the fact that they had not named him,

·6· ·that Keurig reasonably should have known his -- that

·7· ·he would have relevant documents, and, therefore,

·8· ·should have preserved and collected his documents

·9· ·even before he became a custodian so could you just

10· ·respond to those two points.

11· · · · · · · · · MS. NEWTON:· So let me just say one

12· ·thing because you recall that no custodians were

13· ·named until late 2017, early 2018 pursuant to Judge

14· ·Brodrick's ordered and the ESI protocol, which we

15· ·heard a lot about this morning in the context of

16· ·Ms. Torpey claiming that we violated it, speaks in

17· ·terms of custodians.· There's more to say there.

18· · · · · · · · · JUDGE CAVE:· Okay.

19· · · · · · · · · MS. NEWTON:· But Ms. Baird argued

20· ·before your Honor the Holly issues so I'm going to

21· ·ask her if she'll just remind you as to why there was

22· ·an issue where he was added in February of 2020.

23· · · · · · · · · JUDGE CAVE:· Go ahead, Ms. Baird.

24· · · · · · · · · MS. BAIRD:· Your Honor, my

25· ·recollection and I apologize, this may not be


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·1· ·complete, and I'm sure Ms. Torpey will correct me

·2· ·when she has an opportunity to reply if I am wrong.

·3· · · · · · · · · My recollection is that Treehouse was

·4· ·seeking two buckets of information related to

·5· ·Mr. Holly, one of which was information related to

·6· ·the supplier agreements.· They argued to the Court

·7· ·that he was the signatory and was involved in the

·8· ·negotiation of many of those agreements.· I believe

·9· ·at issue in that motion, they also argued that he

10· ·would have relevant information relating to quality

11· ·complaints and the quality of portion packs.· That

12· ·was his role at the company.

13· · · · · · · · · Again, my recollection is that the

14· ·Court denied the request with respect to quality but

15· ·granted their request in order for us to produce his

16· ·communications with the identified suppliers relevant

17· ·to the motion.

18· · · · · · · · · JUDGE CAVE:· Okay.· Thank you.· And

19· ·then what ultimately was produced for Mr. Holly, just

20· ·in terms of the nature or the sources of documents

21· ·that were produced for him?

22· · · · · · · · · MS. NEWTON:· Sure.· So Keurig

23· ·collected over 250,000 documents from Holly's email,

24· ·home share and archived email in CommVault,

25· ·ultimately produced 288 documents that were


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·1· ·responsive to the court order.· Keurig produced 8,921

·2· ·documents in which Holly was identified as a

·3· ·custodian, including from sources collected and

·4· ·produced prior to the Court's February 2020 order.

·5· · · · · · · · · Did you intend to ask something

·6· ·that's slightly different than what I just went off

·7· ·on?

·8· · · · · · · · · JUDGE CAVE:· No.

·9· · · · · · · · · MS. NEWTON:· Okay.

10· · · · · · · · · JUDGE CAVE:· 288 were produced after

11· ·February 2020, but in your prior productions, you

12· ·identified an additional 9800 or so that were --

13· · · · · · · · · MS. NEWTON:· 8,921.

14· · · · · · · · · JUDGE CAVE:· 8,921 that he was also a

15· ·custodian on?

16· · · · · · · · · MS. NEWTON:· Correct.· Turning to

17· ·Mr. Godfrey who we heard about this morning quite a

18· ·bit.· Plaintiffs say that Godfrey's hard drive would

19· ·have been a source of documents relating to his June

20· ·26th memo, that's the one they say, oh, that caused

21· ·his termination.

22· · · · · · · · · But Keurig collected and produced the

23· ·June 2016 memo cited by Plaintiffs multiple times

24· ·from at least three sources.

25· · · · · · · · · Plaintiffs then said, but we didn't


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·1· ·get the drafts.· We didn't get the other versions.

·2· ·We didn't get to see what changes were made to it,

·3· ·but the exhibit that they used, Exhibit -- their

·4· ·Exhibit 13, which is ECF 1287-6 is a draft from Bruce

·5· ·Godfrey dated June 1.· And the numbers you see on the

·6· ·slide, your Honor, that document was subsequently

·7· ·revised between June 1 and June 3.· We produced

·8· ·those.· And then there were internal emails

·9· ·indicating, you know, edits and comments to the -- to

10· ·the memo.· We produced those.

11· · · · · · · · · So they have all of that.· I want to

12· ·shift to the Walmart-related custodians.· Because in

13· ·connection with the reply brief, Plaintiffs tried to

14· ·bolster their hard drive arguments by grouping

15· ·together five custodians and arguing spoliation as to

16· ·Walmart:· Tidwell, Mueller, Hurley, Smits and

17· ·DiFabio.

18· · · · · · · · · All but DiFabio were added as

19· ·custodians specifically for the McLane case, not

20· ·until May of 2019, and there was also -- they gave

21· ·the Walmart example, which I want to speak to, from

22· ·their reply brief, but today, they also gave a Kroger

23· ·example and I have not heard that one before.· That

24· ·was new, and so I don't have a response prepared on

25· ·that.


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·1· · · · · · · · · But with respect to these custodians,

·2· ·your Honor, you may recall that Treehouse counsel

·3· ·argued in March of 2020 for an additional 50 hours

·4· ·for party depositions, do you remember that, based on

·5· ·the McLane-specific custodians.

·6· · · · · · · · · So in connection with that request,

·7· ·they advised your Honor that McLane had taken

·8· ·discovery that was really McLane specific and I'm

·9· ·quoting, specific to its issues and not general

10· ·plaintiff issues, and they argued that McLane was

11· ·taking away hours that would normally have been for

12· ·the Plaintiffs groups.· And I mention that, your

13· ·Honor, because that is exactly the case with

14· ·Ms. Hurley and Mr. Tidwell.· These are custodians

15· ·that are specific to the McLane forecasting issue

16· ·that they raised in their Complaint.· They have no

17· ·relevance to Treehouse's claims more generally.

18· · · · · · · · · Ms. Hurley was added for the McLane

19· ·case in May of 2019, nearly a year after she left

20· ·Keurig.· She was a forecasting person.· She was not

21· ·the, quote, primary manager of the Walmart

22· ·relationship, as they claim in their reply brief.

23· ·They didn't depose her, which makes sense because

24· ·she's of marginal relevance.· They say that they

25· ·anticipate she would have communications related to


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·1· ·Walmart, but communications relating to Walmart were

·2· ·produced from her email.· Keurig produced 109,431

·3· ·emails and attachments in which she is identified as

·4· ·a custodian.· 62,464 of those hit on Walmart.

·5· · · · · · · · · Mr. Tidwell is in the same boat.

·6· ·He's a forecasting guy.· He left more than a year

·7· ·before McLane filed.· He also is not the primary

·8· ·manager, as they claim.· We could not locate his hard

·9· ·drive but it's unlikely that it would produce unique

10· ·and material documents.· Keurig produced 44,863

11· ·documents from Mr. Tidwell's custodial files

12· ·including 419 documents from his home share.

13· · · · · · · · · Mr. Smits did lead the Walmart

14· ·customer focus team.· He was Mueller's -- and we'll

15· ·talk about Mr. Mueller in a second -- predecessor.

16· ·He worked for Keurig for 18 months, January 2012

17· ·through July 2013 and left before the Treehouse

18· ·Complaint was filed.

19· · · · · · · · · Keurig produced 13,657 documents from

20· ·his custodial files, including 606 from his home

21· ·share that spanned his entire employment.

22· ·Interesting, his home share included a folder

23· ·specifically designated for meeting recaps with

24· ·Walmart.

25· · · · · · · · · Mr. Mueller also led the Walmart


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·1· ·customer focused team after Smits, and did not have a

·2· ·hard drive for Mr. Mueller.· His home share

·3· ·collection was empty but his email was beyond

·4· ·massive.· He only worked for Keurig for 16 months but

·5· ·he had 34,301 documents from his emails.· The other

·6· ·thing, your Honor, is he reported to DiFabio who in

·7· ·turn reported to Whoriskey.· Both of them obviously

·8· ·are custodians, and Mr. DiFabio said that his team --

·9· ·and Mr. Mueller and Mr. Smits were part of his

10· ·team -- that they saved everything to the share drive

11· ·and don't forget Walmart.· They produced documents,

12· ·6,636 documents, and provided three 30(b)(6)

13· ·witnesses for deposition.

14· · · · · · · · · The next thing I want to address,

15· ·your Honor, damaged hard drives.· And again, not --

16· ·certainly not telling you what to do but is this the

17· ·break time, do you think, or do you want to do

18· ·damaged hard drives?

19· · · · · · · · · JUDGE CAVE:· No, this is probably a

20· ·good time.· So why don't we take about a 30-minute

21· ·break and pick back up at 2 o'clock?

22· · · · · · · · · MS. NEWTON:· Two o'clock, thank you,

23· ·your Honor.

24· · · · · · · · · JUDGE CAVE:· Okay, wonderful.· Thank

25· ·you everyone.· We'll see you at 2.


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·1· · · · · · · · · (A lunch recess was taken.)

·2· · · · · · · · · JUDGE CAVE:· So my thought, while

·3· ·you're getting organized, Ms. Newton, is, by my

·4· ·count, you have about another hour on your response

·5· ·time and then --

·6· · · · · · · · · MS. NEWTON:· Hopefully, I won't take

·7· ·that much.

·8· · · · · · · · · JUDGE CAVE:· Okay.· And then,

·9· ·Ms. Torpey, my thought would be to give you about 30

10· ·minutes for any reply points and then take a really

11· ·short five-minute break and move to Keurig's motion.

12· ·So that would have us moving to Keurig's motion

13· ·around 3:45 or so and -- or sooner, and then

14· ·hopefully wrap everything up by around 5:30 just for

15· ·planning purposes.· So try to aim for that.· Okay.

16· · · · · · · · · Ms. Newton, whenever you're ready,

17· ·tell me about the damaged hard drives.

18· · · · · · · · · MS. NEWTON:· Yes, your Honor.· So

19· ·there were six hard drives from six custodians that

20· ·were physically damaged and could not be imaged using

21· ·the ordinary means:· Billings, DuLong, Huang, Rathke,

22· ·Shepard and Stacy.

23· · · · · · · · · Keurig produced documents from

24· ·network drives for all six of them.· On the slide, we

25· ·have two examples:· One, Ms. DuLong, one,


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·1· ·Mr. Billings.· We produced 804 documents from

·2· ·Ms. DuLong's home share, 4,369 from the corporate

·3· ·communications shared file where she testified she

·4· ·stored her business documents and also produced 1,501

·5· ·documents from the C's folder that she maintained.

·6· · · · · · · · · JUDGE CAVE:· Can I interrupted you

·7· ·one second?· Just before we get too -- further in, I

·8· ·should have asked this before we get started.

·9· · · · · · · · · I want to make sure that I'm using

10· ·the same terminology that Ms. Torpey was using for

11· ·the different drives, and so as I went through them

12· ·with Ms. Torpey, the C drive was what someone stored

13· ·on their hard drive, their local hard drive.

14· · · · · · · · · Is that -- do you share that

15· ·understanding?

16· · · · · · · · · MS. NEWTON:· You're talking about if

17· ·they store it on the home share or My Documents --

18· · · · · · · · · JUDGE CAVE:· Yeah.

19· · · · · · · · · MS. NEWTON:· -- and it gets backed up

20· ·onto the C?

21· · · · · · · · · JUDGE CAVE:· Yeah.· If somebody saved

22· ·something directly onto their computer, that's the C,

23· ·the C drive?

24· · · · · · · · · MS. BAIRD:· I'll take this one, your

25· ·Honor, if you don't mind.


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·1· · · · · · · · · So it depends on where the person

·2· ·saves it to their computer.· If a person saves it to

·3· ·the desktop location, I would agree that that is the

·4· ·C drive.

·5· · · · · · · · · JUDGE CAVE:· Okay.

·6· · · · · · · · · MS. BAIRD:· If they save it to the

·7· ·location that some employees understand is in the My

·8· ·Documents location, that is the location that is

·9· ·backed up to the personal home share.

10· · · · · · · · · You've heard it called a couple of

11· ·different things:· Home share, home directory.· Later

12· ·that becomes OneDrive for business in -- at the end

13· ·of 2017, roughly, depending on the employee.

14· · · · · · · · · JUDGE CAVE:· Okay.

15· · · · · · · · · And that is K.

16· · · · · · · · · MS. BAIRD:· I believe that is K.

17· · · · · · · · · And those would be what we would call

18· ·the custodial files, those locations.· There is the

19· ·other bucket of locations, the shared drive, and

20· ·these are the network locations where you have things

21· ·like departmental folders, for example, the corporate

22· ·communications folder that's referenced here on the

23· ·slide that Ms. DuLong used.

24· · · · · · · · · JUDGE CAVE:· Okay.

25· · · · · · · · · MS. BAIRD:· That folder was something


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·1· ·that was accessible to Ms. DuLong, but it was also

·2· ·accessible to other employees within the organization

·3· ·which is why we called those shared drives.

·4· · · · · · · · · JUDGE CAVE:· Okay.

·5· · · · · · · · · MS. BAIRD:· There are two primary

·6· ·locations for those.· One is the X drive.· The other

·7· ·is the H drive.

·8· · · · · · · · · And that -- that is generally a

·9· ·result of the legacy of two separate companies,

10· ·Keurig and Green Mountain Coffee Roasters.· That's

11· ·why there are the two.

12· · · · · · · · · JUDGE CAVE:· Okay.· And --

13· · · · · · · · · MS. BAIRD:· And when --

14· · · · · · · · · JUDGE CAVE:· Sorry.· Go ahead.

15· · · · · · · · · MS. BAIRD:· And so when those were

16· ·produced, those were produced as the custodian

17· ·Keurig.

18· · · · · · · · · JUDGE CAVE:· Okay.

19· · · · · · · · · MS. BAIRD:· Because again, those

20· ·locations were accessible by multiple employees, not

21· ·just custodians, but employees throughout the

22· ·organization and those locations -- you know, you

23· ·could -- you create and save documents within those

24· ·locations throughout the company.· And so that's why

25· ·those are Keurig documents.· And when we talk about


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·1· ·custodial files, our custodial counts do not include

·2· ·documents produced from either the X or the H drive

·3· ·for that reason.

·4· · · · · · · · · JUDGE CAVE:· Okay.· And I think

·5· ·Ms. Newton has used numerous times the word, quote,

·6· ·network drives.· Which of the things that we just

·7· ·talked about does that refer to?

·8· · · · · · · · · MS. BAIRD:· Of course.· So that

·9· ·actually refers to the home share --

10· · · · · · · · · JUDGE CAVE:· Okay.

11· · · · · · · · · MS. BAIRD:· -- or the K drive.

12· ·Again, I may be off on the letter.

13· · · · · · · · · JUDGE CAVE:· Okay.

14· · · · · · · · · MS. BAIRD:· But the network -- the

15· ·concept is, of course, that it exists on a location

16· ·other than an employee's computer.

17· · · · · · · · · JUDGE CAVE:· Okay.

18· · · · · · · · · MS. BAIRD:· It exists on the network,

19· ·and that includes the X and the H drive.

20· · · · · · · · · JUDGE CAVE:· Okay.

21· · · · · · · · · MS. BAIRD:· And so when Ms. Torpey

22· ·showed you the corporate assets policy encouraging

23· ·users to save documents to the network drives, the

24· ·policy is speaking to the home share space.

25· · · · · · · · · JUDGE CAVE:· Uh-huh.


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·1· · · · · · · · · MS. BAIRD:· As well as the X drive or

·2· ·the H drive, depending on the employee, and of course

·3· ·later, OneDrive for business when the company makes

·4· ·the transition to that platform.

·5· · · · · · · · · JUDGE CAVE:· Okay.· Great.· Thank you

·6· ·for pointing that out.· Okay.· Go ahead, Ms. Newton

·7· ·with this slide.

·8· · · · · · · · · MS. NEWTON:· Sure.· So I just wanted

·9· ·to mention because Ms. Torpey had mentioned something

10· ·about Ms. DuLong.

11· · · · · · · · · So Ms. DuLong testified that she

12· ·saved just about everything to the corporate

13· ·communications folder so her team members could

14· ·access them.· She also testified that she saved

15· ·everything on her computer hard drive to the C's

16· ·folder on the share drive prior to leaving.

17· · · · · · · · · We produced 106,561 documents from

18· ·her custodial files, preserved two hard drives,

19· ·de-encrypted and produced from one of them and your

20· ·honor had asked -- oh, Jimmy Huang, Rathke and Stacy,

21· ·we produced from their last-in-time computers, so

22· ·that's the last ones they're using at the end with

23· ·that other stuff migrated over.

24· · · · · · · · · But your Honor had asked about

25· ·hardcopy documents with Ms. DuLong, and I wanted to


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·1· ·respond to that while we're talking about her.

·2· · · · · · · · · We checked again for hardcopy

·3· ·documents after her June 19, 2019 deposition and

·4· ·there were none.· Plaintiffs did not follow up in the

·5· ·deposition as to the nature of those documents and

·6· ·have not moved on any claim with respect to

·7· ·Ms. DuLong's hardcopy documents.· I think that

·8· ·answers your question, your Honor.

·9· · · · · · · · · This is a table that shows a

10· ·substantial number of documents received from the

11· ·custodians that had the damaged hard drives.

12· · · · · · · · · And then I wanted to talk a little

13· ·bit about the two recovered drives from Ms. Rathke

14· ·and Ms. -- I can't even say it, Stacy -- and these

15· ·are the ones that extraordinary means were used to

16· ·get into them.

17· · · · · · · · · But the reason I want to talk about

18· ·them, your Honor, is that the recovered hard drives

19· ·illustrate that hard drives -- illustrate again that

20· ·hard drives were, in fact, not a source of unique and

21· ·relevant documents and that any lost ESI from a hard

22· ·drive at issue would be or likely was restored or

23· ·replaced through other means, including the massive

24· ·overall discovery, the production from overlapping

25· ·sources, including other custodian e-mails, the


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·1· ·network share drives we've been talking about, et

·2· ·cetera.

·3· · · · · · · · · So the plaintiff vendor, VIA, they

·4· ·took the third Rathke drive, which was the oldest,

·5· ·and they did extraordinary means and they got 11

·6· ·documents.

·7· · · · · · · · · None of them were unique or material

·8· ·to this litigation.

·9· · · · · · · · · As for Stacy, there were more

10· ·documents produced as you've seen in the papers from

11· ·Plaintiffs, including e-mail files that did not

12· ·automatically de-duplicate because she used a Mac on

13· ·her hard -- on her computer.

14· · · · · · · · · So none of the Rathke recovered drive

15· ·or the Stacy recovered drive documents were used in

16· ·depositions, expert reports, Daubert motions or the

17· ·very substantial summary judgment motions that had

18· ·thousands of exhibits.

19· · · · · · · · · So let me drill down on the bigger

20· ·number of the Michelle Stacy documents.· And, in

21· ·particular, I want to talk about the daily reports

22· ·because that is what Plaintiffs spent time on in

23· ·their reply brief.

24· · · · · · · · · They cite to 3,778 daily reports that

25· ·they say were unique and material and they didn't get


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·1· ·them and they're upset.· It's actually half of that

·2· ·number, your Honor, because half were the

·3· ·auto-generated emails.· The other half were the

·4· ·extracted data, and while Plaintiffs claim that that

·5· ·information on the daily shipments, the sales and

·6· ·shipments for the day, which is what those were, that

·7· ·data was, they did receive voluminous transactional

·8· ·data that had all that information taken directly

·9· ·from Keurig's databases and produced to them, so they

10· ·didn't really need these at all, but we actually

11· ·produced like 2800 of them from other custodians --

12· ·from different dates and times, including in the

13· ·older Sturm production.

14· · · · · · · · · But I wanted to spend a little time

15· ·just focusing on the three daily reports that the

16· ·Plaintiffs teed up for your Honor in their reply as

17· ·their proof of unique and material documents on the

18· ·Stacy recovered drives.· And that's Exhibits K, L and

19· ·M -- well, for you 1402, 4, 5 and 6.

20· · · · · · · · · All three show the day's snapshot of

21· ·extracted data, and that's the data they already have

22· ·from the transactional -- from the transactional data

23· ·they received.

24· · · · · · · · · We could not find L in the production

25· ·but Exhibits K and M were already produced.· So this


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·1· ·is another situation, your Honor, where their proof

·2· ·does not hold up.

·3· · · · · · · · · So let me -- this is a tough slide to

·4· ·read, so I'll apologize right upfront.· But on top is

·5· ·the daily report that they have teed up, Exhibit K,

·6· ·and underneath is the duplicate.

·7· · · · · · · · · So you can see there's no commentary.

·8· ·This is just extracted data.· And the little call-out

·9· ·boxes, your Honor, we put that there so if you wanted

10· ·to, you could see that yes, we're telling the truth,

11· ·they're the same numbers.· They're the same

12· ·documents.· And, actually, they are the same

13· ·documents because they are the MD5 hash value.· So

14· ·they're actually technical duplicates.

15· · · · · · · · · I wanted to do the other example,

16· ·which is M, their Exhibit M, 1402-6 is on the top,

17· ·and this actually points out a substantive duplicate

18· ·because down below is the same report, the same

19· ·extracted data, and it's not an MD5 hash value

20· ·because it was -- the e-mail was off by several

21· ·seconds.· So that's one of those weird things.· It

22· ·doesn't affect the substance, but it's exactly the

23· ·same thing.

24· · · · · · · · · Again, this was their proof.· It

25· ·wasn't correct.· It doesn't hold up.


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·1· · · · · · · · · I wanted to talk a little bit, your

·2· ·Honor, about prejudice because Plaintiffs want to try

·3· ·to manufacture prejudice and in their opening brief,

·4· ·they use the example of Mr. DiFabio, which Ms. Torpey

·5· ·did today as well.

·6· · · · · · · · · Their specific argument, in fact,

·7· ·underscores that there's not any prejudice.· They

·8· ·speculate that they are given -- this is the quote

·9· ·from them:· Given Mr. DiFabio's testimony, data from

10· ·his inaccessible hard drives would likely have

11· ·supported Treehouse's claim by showing evidence of an

12· ·oral exclusive agreement with Walmart.

13· · · · · · · · · That's -- that's their proposition.

14· ·However, his testimony, Mr. DiFabio's testimony that

15· ·they cite, says nothing about where he stores

16· ·documents, let alone that he stored documents on his

17· ·hard drive or memorialized any kind of an exclusive

18· ·oral agreement.· They took his deposition for two

19· ·days.· They never once asked him whether he

20· ·memorialized this alleged exclusive agreement in

21· ·writing and whether he saved any writing to a hard

22· ·drive.· Mr. Mueller, who actually did leave the

23· ·Walmart relationship, testified that there was no

24· ·such agreement, and Walmart testified that there was

25· ·no such exclusive agreement.· And Walmart produced


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·1· ·documents, sat for a deposition.

·2· · · · · · · · · Again, no basis to assert prejudice.

·3· ·In their reply brief then, they say, well, here's how

·4· ·we'll prove prejudice.· They reemphasize Mr. Godfrey.

·5· ·They say they are missing crucial documents for

·6· ·Mr. Godfrey, and I believe we heard this from

·7· ·Ms. Torpey today, that suggests that he conducted

·8· ·research that showed that consumers did not want the

·9· ·Keurig 2.0 brewer.

10· · · · · · · · · But Keurig produced Mr. Godfrey's

11· ·research from his e-mail, from his home share and

12· ·from the research libraries maintained by his

13· ·department, the Consumer Insights Group.

14· · · · · · · · · So in addition to his e-mail

15· ·production, which was substantial, we produced 3,045

16· ·from his home share that spanned his entire

17· ·employment during the relevant time period.

18· · · · · · · · · We -- it is undisputed that they got

19· ·the June 2016 and now we know they've also got other

20· ·versions of it, and they got commentary on those

21· ·changes.

22· · · · · · · · · In short, they have thousands of

23· ·documents from Godfrey and his Consumer Insights

24· ·Group.

25· · · · · · · · · So let me switch to the issue of a


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·1· ·lack of linkage.

·2· · · · · · · · · So Plaintiffs seek a preclusion order

·3· ·on various things.· I want to give two examples here,

·4· ·your Honor.· One is on Keurig's subjective intent in

·5· ·filing the Sturm litigation and they cite to three

·6· ·custodians.· They say with spoliation issues involved

·7· ·in the decision, and that's a problem, and,

·8· ·therefore, we got a preclusion order.

·9· · · · · · · · · Well, put aside you have to meet all

10· ·the prerequisites.· They don't allege any loss as to

11· ·Blanford, one of the ones they teed up.· We've

12· ·already looked critically at Stacy and Rathke.

13· ·They're not unique and material.· So that argument

14· ·fails.· They also say:· We need to preclude Keurig

15· ·from establishing the purported procompetitive

16· ·justifications for the exclusivity provisions in

17· ·their supplier contracts.· They are there presumably

18· ·relying on the loss of Mr. Holly's hard drive.

19· · · · · · · · · But as we talked about before,

20· ·Mr. Holly left Keurig before the lawsuit was even

21· ·filed, so prior to a preservation obligation.

22· · · · · · · · · Plaintiffs have not suffered any loss

23· ·of -- any prejudice from a loss of ESI and that is a

24· ·prerequisite.· And preclusion is a harsh remedy.· You

25· ·must show prejudice, and you can't just point


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·1· ·fingers.

·2· · · · · · · · · You have to prove it, and the hard

·3· ·drive documents that they hold up in their reply as

·4· ·the proof that hard drives actually had unique and

·5· ·material documents on them, we've already seen, is

·6· ·incorrect.

·7· · · · · · · · · So let me switch to their claim for,

·8· ·we want to tell the jury about everything we went

·9· ·through this morning and we want money.

10· · · · · · · · · At the end of the reply, Plaintiffs

11· ·say -- and this is a quote:· At the very least, at

12· ·the very least, they should be able to argue Keurig's

13· ·spoliation generally at trial, and they cite that

14· ·Sturm example we just walked through.· That's what

15· ·they cite.· They add Tinkler to try to bolster it.              I

16· ·don't know why.· Because he testified unequivocally

17· ·he wasn't involved in the decision, but they --

18· ·telling the jury all of what we heard this morning,

19· ·which is what they want to do, is a serious measure.

20· ·That's what the advisory committee notes say.· It is

21· ·a serious measure.· It is not a throw-away compromise

22· ·the way they present it in their reply brief.· It is

23· ·not a compromise.· They also claim money, but, again,

24· ·you have to meet the elements to get a monetary

25· ·sanction.· And it is true that courts often split the


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·1· ·baby -- not do other relief and maintain some

·2· ·monetary sanctions.

·3· · · · · · · · · But they're not awarded without proof

·4· ·of the spoliation and prejudice in the first

·5· ·instance.· And that's really my only point there,

·6· ·your Honor.

·7· · · · · · · · · It's -- and I think your Honor had a

·8· ·question this morning in the same vein.· I mean, you

·9· ·still have to prove the prerequisites.

10· · · · · · · · · They also argue -- and we heard a lot

11· ·of it today -- that -- and maybe they realize they

12· ·can't show prejudice, that they actually don't need

13· ·to show prejudice.· But in their reply brief, in

14· ·Footnote 24, they cite to a string of cases where

15· ·they say:· We don't have to show prejudice -- we

16· ·don't have to show prejudice because you can use

17· ·37(d), the violation of a Court Order, which we'll

18· ·talk about in a second.· But we looked at all their

19· ·cases, and the cases do talk about prejudice or they

20· ·talk about intentional and bad faith conduct.· These

21· ·were not just situations where you get it because you

22· ·say it.

23· · · · · · · · · The next slide I had, your Honor, was

24· ·with respect to Judge Pitman, but she didn't talk

25· ·about that this morning.· I don't know if your Honor


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·1· ·wants to hear about that.· Our view is that that was

·2· ·resolved.· Judge Pitman changed the fee splitting in

·3· ·connection with the Special Master Privilege Review.

·4· ·That was the 502(d) order.· Obviously, the slide is

·5· ·in there.· If you have questions on that, I'm happy

·6· ·to answer them.

·7· · · · · · · · · JUDGE CAVE:· I think you can move

·8· ·along.

·9· · · · · · · · · MS. NEWTON:· Okay.· Lost my clicker.

10· ·It was hard -- there was a lot of time spent this

11· ·morning on intent to deprive.· It was hard from the

12· ·papers to figure out exactly what they were arguing.

13· ·Certainly our position is that Keurig did not act

14· ·with an intent to deprive and that they have to show

15· ·that for an adverse inference, which is obviously

16· ·extreme, we talked about that.

17· · · · · · · · · So originally in their opening brief,

18· ·it looked like it was the ticketing system, which she

19· ·talked a little bit about today and the encryption

20· ·system.

21· · · · · · · · · But the argument on -- their argument

22· ·on the ticketing system, which was a system that the

23· ·IT folks used -- that's how they got their work -- is

24· ·not a chain of custody system, and they have taken

25· ·the position that it is, and they briefed that it is.


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·1· ·But then this morning, when Ms. Torpey made a point

·2· ·of demonstrating that it wasn't, that it didn't have

·3· ·tracking.

·4· · · · · · · · · And so to try to argue that it's a

·5· ·chain of custody when you're arguing that it's not a

·6· ·chain of custody, obviously, your Honor, our position

·7· ·is that it's inconsistent, and the -- the second

·8· ·piece of that was the encryption systems.· But,

·9· ·basically, they relied on two arguments there, one

10· ·that -- and I think you heard it this morning that we

11· ·didn't reach out to McAfee and we didn't make any

12· ·efforts to decrypt McAfee and then the 30-day thing,

13· ·they said, you know, if you don't plug the -- if you

14· ·don't decrypt it or plug the BitLocker in for 30

15· ·days, you lose it all.· Obviously, we decrypted at

16· ·least 62 BitLocker computers.· We decrypted McAfee.

17· ·Those are incorrect -- those are incorrect arguments.

18· · · · · · · · · And, as Ms. Baird said, you know,

19· ·when you looked at that corporate policy that

20· ·Ms. Torpey put up on the screen, it didn't just speak

21· ·to the My Documents or home share.· It talked to the

22· ·shared network storage as well.

23· · · · · · · · · So then in their reply brief, they

24· ·said okay, well, here's how we're going to prove

25· ·intent to deprive.· We're going to use the Degnan


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·1· ·2012 e-mail.· That's the e-mail that we argued to

·2· ·your Honor back in February of 2020.· We're going to

·3· ·use challenged interviews.· We're going to use

·4· ·transactional data.· And we're going to argue a

·5· ·conscious dereliction of duty.

·6· · · · · · · · · The Degnan email, we've talked so

·7· ·much about the Degnan email.· Your Honor ruled on it.

·8· ·Judge Broderick had upheld you that their

·9· ·interpretation of it is incorrect.· Your Honor

10· ·pointed out this morning that they did not move for a

11· ·deposition even though Judge Broderick specifically

12· ·called out that your ruling was without prejudice in

13· ·that regard.

14· · · · · · · · · But I think the important point here

15· ·is the point that you asked them in your Friday

16· ·questions, which is:· Did all six recipients -- were

17· ·they all custodians?· Were Rathke, Sullivan, McCall,

18· ·Brown, Tinkler, Sweeney, and the answer is yes.· And

19· ·we felt that really should be the end of it.

20· ·Obviously, if your Honor wants to get knee deep into

21· ·the Degnan email, I'm happy to do that.· But at this

22· ·point I think that suffices.

23· · · · · · · · · I did want to bring up one point

24· ·because it was offensive to me, and that is -- I

25· ·don't think she used the word "lie" but, basically,


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·1· ·she said that I didn't tell your Honor about hard

·2· ·drives in that argument.· They've argued that before,

·3· ·and we heard it again today.· And if you look at the

·4· ·hearing transcript, which I have in my hand from

·5· ·February 13, 2020, we talked about hard drives on 22

·6· ·and 23.· But the example that Ms. Torpey gave this

·7· ·morning was that I didn't tell you about Mr. Brown

·8· ·and his hard drive.· But I'm looking at page 26, and

·9· ·I remember specifically you -- you asked me and I

10· ·said, yes, the only one of the six -- because you

11· ·said:· Has everybody produced everything?· And I said

12· ·the only one of the six that is a little less is

13· ·Dwight Brown, and I want to own that -- I want to own

14· ·that directly with your Honor.· We produced almost

15· ·102,000 documents from Mr. Brown from his custodial

16· ·files -- I'm not going to share the contents with the

17· ·public.· About two-thirds of them predated

18· ·Mr. Degnan's email.· We did not have the hard drive.

19· ·We could not decrypt and he did not have the same

20· ·volume as the others.· I didn't withhold that from

21· ·you.· You asked me and I told you and they -- and

22· ·they are saying that I didn't, and that is -- that's

23· ·disturbing.· They tried to argue prejudice from the

24· ·challenged interviews.· They challenged 11

25· ·interviews -- 11 custodian interviews, ten of those


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·1· ·were former employees, the one current is Mr. Yoder.

·2· ·You'll see from the slide they all -- that some of

·3· ·them had previous documents in their personal

·4· ·possession, some of them said they did not take

·5· ·anything with them, here's a list of those, and some

·6· ·of them, like Blanford, were required not to take

·7· ·documents pursuant to their agreement, their written

·8· ·agreement as they departed.

·9· · · · · · · · · This slide has to do with Plaintiffs'

10· ·2017 position on Keurig's former employees.

11· ·Plaintiffs made it clear in 2017 that documents of

12· ·former employees do not belong to Keurig.· And Keurig

13· ·agreed then and agrees now, contrary to what they're

14· ·asserting.

15· · · · · · · · · Plaintiffs' have told your Honor that

16· ·Keurig asserted control over Mr. Gross's documents.

17· ·You've heard about Mr. Gross.· That is not correct.

18· ·During the discovery stay, just a tiny snapshot,

19· ·Mr. Gross's attorney asked Keurig to take possession

20· ·of documents that Mr. Gross had taken from Keurig

21· ·when he left.

22· · · · · · · · · We did not do that, but after the

23· ·discovery stay lifted, I reached out and advised that

24· ·we plan to reach out to his attorney and take those

25· ·documents that were Keurig documents that he took and


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·1· ·produce them.· And within hours -- this was

·2· ·Treehouse's counsel response:· No.· Don't do it.· Not

·3· ·your stuff.· Don't do it.· Refrain from interfering.

·4· · · · · · · · · This was within hours after I advised

·5· ·them that I was going to reach out to his attorney.

·6· ·I want to talk about the ESI protocol because we

·7· ·heard a lot about that we violated it.· The 2014 ESI

·8· ·protocol states that -- and I'm quoting -- the

·9· ·parties agree to ask each of their document

10· ·custodians whether he or she maintains potentially

11· ·responsive documents or data in any of the electronic

12· ·or hardcopy sources listed above.· And then they

13· ·listed them.

14· · · · · · · · · By 2018, when the parties identified

15· ·the initial custodians and began productions, most of

16· ·the Keurig custodians had left the company, 23 of the

17· ·29, 11 of the additional 12.· And then, in May of

18· ·2019, eight had gone of the 10 McLane, and two of the

19· ·other three that were added.

20· · · · · · · · · The important thing here is that

21· ·former employees no longer had access to Keurig's

22· ·email, Keurig's document servers or computers.· Their

23· ·electronic data was with the IT department, their

24· ·hardcopy documents, if any, were with the legal

25· ·department.· I wanted to -- separately because we


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·1· ·heard a lot about violating a Court Order, violating

·2· ·an Court Order.· I wanted to read from the case

·3· ·management plan and scheduling order, Document 354-1.

·4· ·This was filed November 14, 2016.

·5· · · · · · · · · Judge Broderick entered these dates

·6· ·in his motion to dismiss opinion.· So this is the

·7· ·proposed order and then he referred to this and

·8· ·entered them in the later motion to dismiss opinion.

·9· · · · · · · · · But in here, the parties made a

10· ·distinction between substantial production of

11· ·documents and substantial completion and we heard

12· ·over and over in the papers and this morning how

13· ·could we represent substantially completed, how could

14· ·we represent we substantially completed.

15· · · · · · · · · The parties were supposed, by April

16· ·30, 2018, make substantial productions of all

17· ·documents.· This is in 7(I) on page 3, 7K says:

18· ·Document production in response to the initial

19· ·request for production, subject to objections, shall

20· ·be substantially completed no later than 90 days

21· ·before the close of fact discovery.

22· · · · · · · · · So the point is that we never

23· ·represented that the roughly 900,000 documents we

24· ·were producing in April of 2018 was -- was

25· ·substantial completion, and it didn't have to be.· We


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·1· ·continued to produce, as did Treehouse.· I just

·2· ·wanted to make that point, your Honor, not that

·3· ·that's in the ESI, but that's another order that they

·4· ·were claiming because they kept saying about the

·5· ·substantial production.

·6· · · · · · · · · JUDGE CAVE:· So then what was the

·7· ·substantial completion deadline?

·8· · · · · · · · · MS. NEWTON:· February 29, 2019.

·9· · · · · · · · · JUDGE CAVE:· Thank you.· And that --

10· ·is that pursuant to -- there was a joint stipulation

11· ·and order in December 2018.· Is that what sets that

12· ·February deadline?

13· · · · · · · · · MS. BAIRD:· Your Honor, I can

14· ·probably address that.· The February deadline comes

15· ·from the portions that Ms. Newton just read, the 90

16· ·days prior to the end of fact discovery.

17· · · · · · · · · JUDGE CAVE:· Okay.

18· · · · · · · · · MS. BAIRD:· So at that time, that

19· ·deadline would have been the end of February 2019.

20· ·The order you just referred to was then subsequent to

21· ·that.· There were -- was an intervening extension of

22· ·about six months which you've heard about, and then

23· ·there was the January stipulated order.

24· · · · · · · · · JUDGE CAVE:· So there's the January

25· ·stipulated order.


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·1· · · · · · · · · MS. BAIRD:· And I know the order

·2· ·itself is actually dated December 12th.

·3· · · · · · · · · JUDGE CAVE:· Right, but sets the

·4· ·January deadline.

·5· · · · · · · · · MS. BAIRD:· Correct.

·6· · · · · · · · · JUDGE CAVE:· So then -- so the

·7· ·February 2019 substantial completion deadline comes

·8· ·from Paragraph I of the case management order.

·9· · · · · · · · · MS. BAIRD:· Paragraph 7(K) of 354 --

10· · · · · · · · · JUDGE CAVE:· 7(K), right.

11· · · · · · · · · MS. NEWTON:· 7(I) was substantial

12· ·productions.· 7(K) was substantially completed.

13· · · · · · · · · JUDGE CAVE:· Okay.· Thank you.

14· · · · · · · · · MS. NEWTON:· This is the -- this

15· ·slide is the offer.· Keurig informed Plaintiffs in

16· ·November of 2019 that it had conducted custodial

17· ·interviews of all of its current custodians and of

18· ·the former custodians that it was able to contact.

19· · · · · · · · · At that time, you see the offer, your

20· ·Honor, on the slide.· We offered to disclose the

21· ·names of the former employee custodians that we had

22· ·not been able to reach if they would agree to do the

23· ·same.· And they would not.

24· · · · · · · · · Keurig produced more than 675,000

25· ·documents from these ten challenged former employees'


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·1· ·custodial files, including their electronic files and

·2· ·their emails.

·3· · · · · · · · · I want to just address the hardcopy

·4· ·nonESI.· Plaintiffs had originally accused Keurig of

·5· ·destroying hardcopy documents for five custodians:

·6· ·McCall, Yoder, Barberio, Ferguson and Whoriskey.· But

·7· ·in their reply brief, they do acknowledge they did

·8· ·receive the Yoder and the McCall notebooks and your

·9· ·Honor sees on the slide, you know, we accommodated

10· ·that.· We postponed the deposition.· We reimbursed

11· ·Treehouse for fees --

12· · · · · · · · · (Interruption.)

13· · · · · · · · · MS. NEWTON:· For fees -- let me give

14· ·you a second.· You ready?· For fees associated with

15· ·postponing Mr. Yoder's deposition.· And then we gave

16· ·a third day of Mr. Yoder's deposition as a result.

17· · · · · · · · · And McCall similarly rescheduled for

18· ·16 days after the original date.· We offered to share

19· ·costs associated with rescheduling.· JBR did not take

20· ·us up on that, but they are not joining this motion,

21· ·your Honor.· So that leaves the claim of lost

22· ·hardcopy notes from custodians Barberio, Ferguson and

23· ·Whoriskey.

24· · · · · · · · · It really boils down to looking at

25· ·the deposition testimony.· So with respect to


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·1· ·Ferguson -- although this morning, Ms. Torpey owned

·2· ·that maybe this isn't as clear to Mr. Ferguson as --

·3· ·because they argued that he threw out notes but the

·4· ·pages that precede what they selectively cite, he

·5· ·repeatedly testified that he did not recall whether

·6· ·he ever took a handwritten note at any retailer

·7· ·meeting.

·8· · · · · · · · · With respect to Barberio, it's a

·9· ·little different.· They testified, and she mentioned

10· ·this morning, throwing away his notes.· That's their

11· ·claim, throwing out his notes when he cleaned out his

12· ·office.· I'm going to scoot up and show you what he

13· ·said was he threw away the notes the day after these

14· ·meetings and these important meetings were Giant

15· ·Eagle, Wakefern, Ahold and Kroger -- oops -- but the

16· ·parties have stipulated to the dates of these

17· ·meetings, and three of them, your Honor can see,

18· ·predate the February 11, 2014 Treehouse lawsuit

19· ·filing, and the Ahold meeting was on the same day.

20· · · · · · · · · It's also important that we did

21· ·produce from his files communications regarding these

22· ·alleged lost customers and also produced documents

23· ·from other custodians regarding these meetings, these

24· ·five meetings.

25· · · · · · · · · The last one was -- oh, by the way,


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·1· ·your Honor asked about Barberio.· We produced 21,537

·2· ·custodial files from Mr. Barberio.· I think you asked

·3· ·that this morning.

·4· · · · · · · · · Mr. Whoriskey testified that he never

·5· ·took notes.· Ms. Torpey indicated that he threw them

·6· ·out.· That's not the case.· We thought they had

·7· ·backed off on this because in the reply brief, they

·8· ·shifted to the Roaster advisory counsel and said he

·9· ·didn't have notes from that.· I'm sorry.· But there

10· ·was only one of those meetings during the relevant

11· ·time period and Mr. Whoriskey did not attend it.

12· · · · · · · · · I think that addresses those and

13· ·shows that that there was -- there are no lost

14· ·hardcopy notes as to these three.· And to win on

15· ·those they have to establish that any lost notes were

16· ·destroyed with a culpable state of mind and we don't

17· ·even have lost notes.

18· · · · · · · · · I think your Honor didn't really want

19· ·to talk about the transactional data but I'm just

20· ·going to make a quick comment because the Plaintiffs

21· ·have used transactional data to first try to seek

22· ·fees and costs, and then in the reply, they have

23· ·switched to say, no, no, this is evidence of an

24· ·intent to deprive.· It is not.· And the point that I

25· ·want to make, your Honor, has the dates there, so I


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·1· ·don't want to belabor it, but the point I want to

·2· ·make is you may remember the argument before your

·3· ·Honor in February and March of 2020 where Keurig

·4· ·accused us of not -- Keurig of not having the correct

·5· ·transactional data.· The key point is that the

·6· ·original transactional data that was produced by

·7· ·Keurig was not wrong, but it was incomplete.· There

·8· ·were rows missing from purchase orders with multiple

·9· ·lines.· Your Honor ordered us to produce it by March

10· ·19th.· We did the supplemental production by March

11· ·19th.· Treehouse never mentioned to your Honor when

12· ·we were having the argument that they too needed to

13· ·make a supplemental production with additional

14· ·information.

15· · · · · · · · · And then on the day of the deadline

16· ·that your Honor had set, they produced transactional

17· ·data corrected for 2011 through 2017 and they

18· ·produced additional information, and McLane didn't

19· ·produce on time and then they did and then they

20· ·corrected it.

21· · · · · · · · · I mean at the end of the day, your

22· ·Honor, I chalk up the transactional data issue as

23· ·a -- as a glasshouse.· I mean they're sitting in a

24· ·glasshouse, throwing rocks at us, when they did

25· ·exactly the same thing, and I think the slide that


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·1· ·Ms. Torpey put up with the deficiencies from Keurig

·2· ·with respect to transactional data, you can tick

·3· ·through all of those and they apply to Treehouse as

·4· ·well.

·5· · · · · · · · · Transactional data is cumbersome.· It

·6· ·is extensive.· It's difficult, as Ms. Torpey said,

·7· ·and the fact that you have to supplement and provide

·8· ·for additional information is not the same as wasting

·9· ·expert's testimony that went through the prior data

10· ·that was nonetheless correct.

11· · · · · · · · · I missed your -- I went on to the

12· ·data.· I was so excited to talk about it apparently,

13· ·I forgot to answer your question.· You asked about

14· ·the production of Mr. Whoriskey on Friday.· Keurig

15· ·produced 447,746 custodial files from Mr. Whoriskey

16· ·including from emails, two computers and his home

17· ·share.· Thank you, Ms. Baird.

18· · · · · · · · · JUDGE CAVE:· Can you just give me

19· ·that number one more time?

20· · · · · · · · · MS. NEWTON:· Absolutely.· If she

21· ·gives it back.· Oh, no, I have it right here.

22· ·447,746 custodial files, that included from emails,

23· ·two computers and to his home share.

24· · · · · · · · · JUDGE CAVE:· Thank you.

25· · · · · · · · · MS. NEWTON:· Uh-huh.· So that was


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·1· ·the -- then we did transactional data.· This is

·2· ·CommVault.· We already talked about CommVault.             I

·3· ·don't think we need to talk anymore about CommVault.

·4· ·I think our actions with respect to CommVault show no

·5· ·intent to deprive.· It was afternoon IT mistake.· We

·6· ·thought we had that information and it had not been

·7· ·collected.· Mistakes sometimes happen in large

·8· ·litigation.

·9· · · · · · · · · Plaintiffs have alternatively now

10· ·argued that they can find -- your Honor can find an

11· ·intent to deprive supported by an is called

12· ·dereliction of a known duty to preserve.· I view this

13· ·as sort of a catch-all, your Honor, but if you look

14· ·at their laundry list of alleged failures, it's not

15· ·supported by the record.· So you can -- you can claim

16· ·broad and sweeping deficiencies but that doesn't make

17· ·it so.· We look at those broad and sweeping

18· ·deficiencies and we say that shows that it's

19· ·unsupported.· So if you've got them claiming one and

20· ·us claiming the other, I would submit that the way

21· ·you figure out which is accurate is by looking at the

22· ·proof that they have teed up and see that it is

23· ·simply not correct, and as such, I think that is

24· ·determinative of their motion for sanctions.· This is

25· ·just a slide that shows the cases -- some of them


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·1· ·that they say support the most severe sanctions and

·2· ·when you look at them, they really focus on lying and

·3· ·destroying and covering up and misrepresentations,

·4· ·intentional destruction, the ones in many cases that

·5· ·the lost ESI would have conclusively determined a

·6· ·dispositive issue, intentional fabrications, that is

·7· ·simply not the case here.

·8· · · · · · · · · I want to just harken back, your

·9· ·Honor, to the advisory committee notes that I

10· ·mentioned in Rule 37.· So whether your Honor decides

11· ·based on no loss or no preservation obligation or

12· ·that Keurig's reasonable steps to preserve or that

13· ·evidence was restored or replaced through overlapping

14· ·and duplicative productions or that there's no

15· ·prejudice for the loss, that there's no conscious

16· ·dereliction, no intent to deprive, any of those

17· ·bases, your Honor, this is not a case for sanctions.

18· · · · · · · · · And I wanted to take just another

19· ·note from a personal standpoint because it's not easy

20· ·to stand by and hear these serious and unsupported

21· ·acquisitions against our client and against our

22· ·counsel team.· We worked very hard during discovery

23· ·to resolve these concerns, and I can only hope that

24· ·your Honor sees our professionalism both in the

25· ·record before you and our dealings with your Honor.


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·1· ·Thank you.

·2· · · · · · · · · JUDGE CAVE:· Okay.· Thank you.· One

·3· ·question that sort of lingers in my mind, and I'm not

·4· ·sure if maybe this is just rhetorical, but assuming

·5· ·Ms. Newton, that I were to find that the requirements

·6· ·of Rule 37 are met, and I'm not saying that I did,

·7· ·I'm just posing a hypothetical that if I did and if

·8· ·one of the remedies that I were to impose is

·9· ·preclusion of evidence or an adverse inference, does

10· ·that have any impact on either the summary judgment

11· ·or the Daubert motions that are pending in front of

12· ·Judge Broderick.

13· · · · · · · · · MS. NEWTON:· I think -- your Honor, I

14· ·think it's a great question because I think if your

15· ·Honor were to do a preclusion order and an adverse

16· ·inference, I'm not saying that you are going to, but

17· ·I would also point out the lack of linkage because

18· ·you can't -- you can't argue a loss here, and then a

19· ·separate preclusion or adverse inference over here.

20· ·They have to -- they have to specifically link.

21· ·There is no question in my mind that Plaintiffs would

22· ·go to Judge Broderick with respect to the summary

23· ·judgment motions pending and use any such order to

24· ·disrupt that process.

25· · · · · · · · · They would absolutely, I think, be


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·1· ·used in the summary judgment.· I don't know about the

·2· ·Daubert.· I'd have to think about that.

·3· · · · · · · · · JUDGE CAVE:· Okay.· Thank you.· All

·4· ·right.· I think those are all the questions I have

·5· ·for now.

·6· · · · · · · · · Ms. Torpey, would you like to reply

·7· ·next or would you like to take a five-minute break

·8· ·and then reply?

·9· · · · · · · · · MS. TORPEY:· I'm ready, but if anyone

10· ·would like five minutes, I'm fine with that, too.

11· · · · · · · · · JUDGE CAVE:· Let's go right ahead.

12· · · · · · · · · MS. TORPEY:· Although I have to make

13· ·sure that Megan is ready.· Because Megan is the star

14· ·of the show with the slides.· Are you there, Megan?

15· · · · · · · · · MS. FITZGERALD:· Yes, I'm here with

16· ·the slides and I'm ready.

17· · · · · · · · · JUDGE CAVE:· Go ahead.

18· · · · · · · · · MS. TORPEY:· Thank you.· So, your

19· ·Honor, to start, discovery may have been stayed in

20· ·this case but Keurig's preservation obligations

21· ·obviously were not.

22· · · · · · · · · Counsel's argument fundamentally

23· ·misunderstand the preservation obligation, which is

24· ·driven by potentially relevant issues to a case and

25· ·not by an agreement with respect to any custodian.


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·1· ·And this is underscored by the ESI order in this

·2· ·case, of course, which is standard on page 5, the

·3· ·parties have agreed to preserve data from the systems

·4· ·described below, which represent the locations where

·5· ·potentially relevant data is likely to be stored.

·6· ·That's pretty standard.· Her timeline, obviously, is

·7· ·missing some very important dates.· I don't know if

·8· ·you recalled her timeline, but of course it is

·9· ·missing the filing of the Complaint, which is quite

10· ·ironic given that I think later this afternoon,

11· ·Keurig's other counsel is going to be arguing that

12· ·preservation obligations attach when there's a

13· ·reasonable anticipation of litigation as opposed to

14· ·many years after a complaint is filed and custodians

15· ·are negotiated.· So these two things obviously are

16· ·irreconcilable.

17· · · · · · · · · The other thing that that she failed

18· ·to raise, of course, is even before the ESI order was

19· ·entered into Judge Broderick actually ordered the

20· ·parties to finish up the ESI order at a hearing on

21· ·June 19th in 2014 noting the preservation issues in

22· ·particular.· That is ECF-33 in which Judge Broderick

23· ·noted you should finish that up.· If the parties

24· ·think they can do that, even though I'd say that

25· ·generally, with regard to discovery-related issues,


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·1· ·there would be a stay.· I think it would be a good

·2· ·thing if you could finish that up and have it in

·3· ·place, in particular when it comes to the

·4· ·preservation issues.

·5· · · · · · · · · So this, obviously, was something

·6· ·that, from the very start of the case, Keurig counsel

·7· ·was further warned by Judge Broderick to finish the

·8· ·ESI order and to heed the preservation obligations in

·9· ·particular.

10· · · · · · · · · Furthermore, just staying on the

11· ·Complaint part of the timeline, Counsel referenced

12· ·Mr. Holly, for example, Mr. Holly is relevant as you

13· ·had previously ruled in connection with the

14· ·suppliers.· That is in Paragraphs 262 through 278 of

15· ·our Amended Complaint.· If you recall, Mr. Holly was

16· ·the person who had negotiated supply agreement, for

17· ·example, with Phoenix Cups who complained to Keurig

18· ·that the supply agreement was illegal and threatened

19· ·to take it to the Department of Justice.· One would

20· ·think that would be sufficient to be relevant to our

21· ·antitrust claim.

22· · · · · · · · · So they also, of course, ignored the

23· ·basic fact that their counsel themselves had heavily

24· ·negotiated the ESI order and agreed to be bound by it

25· ·in June of 2014 and then, of course, that was so


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·1· ·ordered by the court in July of 2014.

·2· · · · · · · · · Megan, if you wouldn't mind, may

·3· ·we -- could you please put up Slide 157?· Building

·4· ·suspense.· It says here:· We, of course, see the

·5· ·quote from Judge Scheindlin and, unfortunately, I

·6· ·just need to move the box on my Zoom, but -- which is

·7· ·obscuring -- hold on, wrong thing, obscuring the

·8· ·quote, so, of course, Judge Scheindlin wrote in

·9· ·Zubulake 5, in short, it is not sufficient to notify

10· ·all employees of a litigation hold and expect that

11· ·the party will then retain and produce all relevant

12· ·information.

13· · · · · · · · · Counsel must take affirmative steps

14· ·to monitor compliance so that all sources of

15· ·discoverable information are identified and searched.

16· ·That has been standard practice and a standard

17· ·obligation since at least 2004 in the Southern

18· ·District of New York by this very famous case.· I'm

19· ·pretty sure everyone has read this case in law

20· ·school.· Let's go next, please, Megan, to slide 148.

21· · · · · · · · · JUDGE CAVE:· I'm flattered that you

22· ·think I was in law school since 2004.

23· · · · · · · · · MS. TORPEY:· What's that?

24· · · · · · · · · JUDGE CAVE:· I'm flattered that you

25· ·think I was in law school since 2004.


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·1· · · · · · · · · MS. TORPEY:· Okay.· So on Slide 148,

·2· ·you see, of course, Keurig's counsel had a duty to

·3· ·ensure Keurig had adequate preservation protocols in

·4· ·place.

·5· · · · · · · · · So this, of course, includes avoiding

·6· ·what Ms. Newton referred to, I think, as the IT

·7· ·mistake.

·8· · · · · · · · · Counsel has an affirmative duty to

·9· ·become fully familiar with her clients' document

10· ·retention policies and data retention architecture.

11· ·Again, an important point from Zubulake 5.· And of

12· ·course a litigant must take affirmative steps to

13· ·prevent inadvertent spoliation.· Listening to

14· ·Ms. Newton today, it is quite apparent that they

15· ·issued a whole bunch of holds and then decided there

16· ·was nothing more that needed to be done until

17· ·custodians were negotiated many years later.· This

18· ·was an obvious breach of their obligation and has

19· ·resulted in massive spoliation.

20· · · · · · · · · One thing I would also just like to

21· ·point out, of course, is there was much discussion

22· ·about CommVault and emails but the way this is being

23· ·discussed and the way the discussion of other

24· ·documents have been discussed throughout counsel's

25· ·presentation is like a magician and a slide of hands.


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·1· ·Just because somebody produces one type of document

·2· ·does not justify spoliating another type of document.

·3· · · · · · · · · So when you're talking about the

·4· ·counts from purported custodial documents, they're

·5· ·including email, and, yes, they did produce email.

·6· · · · · · · · · That does not justify their massive,

·7· ·spoliation of business documents that were saved on

·8· ·either the C drive, the local hard drive or the K

·9· ·drive, the home shares.

10· · · · · · · · · We, of course, want the email but we

11· ·also are entitled and they were ordered to preserve

12· ·and produce the business documents that are saved on

13· ·the hard drives and the home shares as well.

14· · · · · · · · · Just because you produced one type of

15· ·document, does not make it okay for you to spoliate

16· ·others.· So --

17· · · · · · · · · JUDGE CAVE:· Well, if I could -- I

18· ·think what Ms. Newton was saying, though, was -- I

19· ·don't think she was disagreeing with you about the

20· ·types of documents but I think what she's saying is

21· ·that you -- the Plaintiffs haven't shown that there's

22· ·something that was on a hard drive, for example, but

23· ·not on a network drive or some other drive that

24· ·wasn't produced.· In other words, her big point to me

25· ·seemed to be you haven't shown us there was something


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·1· ·that was lost.· Let's set aside the email, but she

·2· ·picked apart a couple of examples or tried to pick

·3· ·apart a couple of examples where you tried to show

·4· ·that something was lost, and in fact, it wasn't

·5· ·because there was another duplicate that came from

·6· ·another source.

·7· · · · · · · · · MS. TORPEY:· So, your Honor, I

·8· ·believe you have actually addressed this issue in a

·9· ·case.· It may have been the Raymond case.· It may

10· ·have been the local case.· But Judge Scheindlin also

11· ·addressed this issue very well as well.· I believe

12· ·it's the Sekisui case.· I'm probably mispronouncing

13· ·that.· But in the Southern District of New York, it

14· ·is well recognized that to put that place -- that

15· ·burden on the party, when the disobedient

16· ·noncompliant party has been the spoliator, to show

17· ·what would have been in a fully spoliated device is

18· ·fundamentally unjust and unfair because how can we

19· ·prove what was in it?· It is unjust and Keurig should

20· ·bear the burden of that.· And I'm happy to give you a

21· ·cite and I believe we can --

22· · · · · · · · · JUDGE CAVE:· No, I know.· I know what

23· ·you're talking about.· But I think that kind of

24· ·follows the burden, though, because then anytime you

25· ·had a lost hard drive, you would get spoliation


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·1· ·sanctions.· It's not that automatic.

·2· · · · · · · · · MS. TORPEY:· You're right.· And it is

·3· ·not that automatic generally.· Here it is in clear

·4· ·violation of the Court Order and here it is a large

·5· ·amount of spoliation as well, which shows a

·6· ·dereliction of duties across the board, not only a

·7· ·violation of the ESI order in multiple ways, which is

·8· ·often not the case incidentally because often we're

·9· ·not dealing with an ESI order, a Court Order, that

10· ·has specifically laid out all of the obligation and

11· ·has also specifically warned what the specific

12· ·obligations of the parties is but on top of that here

13· ·we are dealing with not just with one or two

14· ·spoliated devices, but actually if you look at Slides

15· ·106 and 107 and just leading up to it, you'll see

16· ·that it's frequent in these cases that even where an

17· ·adverse inference or jury instructions or preclusion

18· ·orders are provided, if you look down the list of

19· ·what was spoliated, it's often just one or two

20· ·devices.· Keurig's basic argument is fundamentally,

21· ·if there has been a large amount of data or documents

22· ·produced aside from what was spoliated, there can't

23· ·be any spoliation.· But a large number of other

24· ·documents does not justify the spoliation of other

25· ·documents.· That is not the way the law works.· If


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·1· ·that were the case, virtually if not every single

·2· ·case on this chart -- and we have another slide as

·3· ·well on these cases, I think, if you just want to

·4· ·flip to the other one, too, would have come out the

·5· ·other way and the case, for example, Crossfit that

·6· ·was just on the other one -- one laptop lost, two

·7· ·computers lost, three devices lost.· This case is so

·8· ·much more egregious than so many of these cases where

·9· ·an adverse inference has been awarded.· It is not

10· ·even a close call by any stretch of the imagination.

11· ·And if you look, for example, at the case -- if you

12· ·go up, Megan, I'm sorry -- on the chart just above

13· ·this, the Crossfit case is a good example.· In that

14· ·case, there were a large number of devices that were

15· ·spoliated, but they also had imaged, I think, more

16· ·than 200 drives, more than 200 drives.· They

17· ·preserved and produced a massive, massive amount of

18· ·collections and productions.· But what Keurig is

19· ·asking us to do is to say, with some degree of

20· ·certainty, what was on the drives that were

21· ·spoliated.· We are not required to do that.· We are

22· ·only required to show that there are other extrinsic

23· ·documents, which we have showed, provide a suggestion

24· ·that the documents would be relevant in the sense

25· ·that they may be favorable, that a reasonable trier


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·1· ·of fact would be able to find that they could support

·2· ·our claims.· We have done that and to suggest that

·3· ·picking out cherry-picked examples of where you come

·4· ·across some duplicates or where you come across a,

·5· ·for example -- they look at Michelle Stacy, that

·6· ·drive was only partially recovered to start.· That

·7· ·was not even a full production from that drive.· It

·8· ·is fundamentally unfair for them to use that as an

·9· ·example and say that, therefore, no harm, no foul,

10· ·which is not what the Southern District of New York

11· ·does by any stretch of the imagination.· So we have

12· ·certainly exceeded what we need to do to show

13· ·prejudice in this case and we also of course cited

14· ·another case on Slide 60, Megan.

15· · · · · · · · · JUDGE CAVE:· Well, as with most cases

16· ·in this case, I think it's somewhere in between you

17· ·and what I'm doing -- what I've been doing, and what

18· ·I've been doing and what I will continue to do is I

19· ·have to go custodian by custodian because just as the

20· ·fact that Keurig produced a lot of other documents

21· ·doesn't prove that they didn't spoliate, similarly,

22· ·the fact that they have however many missing hard

23· ·drives and inaccessible hard drives doesn't in and of

24· ·itself prove spoliation.· I have to go through

25· ·custodian by custodian to see whether you've proved


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·1· ·your case.

·2· · · · · · · · · So like I said, I don't think it's --

·3· ·either of you at either end of the spectrum are

·4· ·entirely in the right place with -- in terms of the

·5· ·analysis that I need to do.

·6· · · · · · · · · MS. TORPEY:· I would just point out

·7· ·as well, your Honor, that there was a lot of focus

·8· ·just on the intent to deprive and a minimization of

·9· ·37(b).· This case is very unique compared to the

10· ·other cases as well because, as I went through in the

11· ·beginning of our presentation, each one of these

12· ·obligations was spelled out very clearly in the ESI

13· ·Court Order.· So it is a lower standard than 37(b) --

14· ·or excuse me, 37(e) as opposed to 37(b).

15· · · · · · · · · So that's just one other thing.· But

16· ·here I just want to point out, of course, here's an

17· ·FP&Y case, entire devices are missing or lost, so it

18· ·is reasonable to conclude that at least some highly

19· ·relevant ESI cannot be replaced.

20· · · · · · · · · JUDGE CAVE:· Which goes to my point

21· ·that I've to look at each custodian and see what you

22· ·alleged in terms of what -- because even if there is,

23· ·yes, data that has been lost is that data -- has it

24· ·been replaced?· And that's the analysis that I need

25· ·to do.


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·1· · · · · · · · · MS. TORPEY:· But, your Honor, if --

·2· ·if, for example, there are emails -- you know, so

·3· ·Ms. Newton talked a lot about the Squid email, for

·4· ·example, so if there are emails going back and forth

·5· ·with Sagentia, that doesn't excuse, for example, the

·6· ·spoliation of Word documents that would have been

·7· ·stored on, you know, a hard drive or a network share

·8· ·that said, note to self, figure out if what we're

·9· ·doing is                                  for example.· You

10· ·know, so --

11· · · · · · · · · JUDGE CAVE:· Right.· But if a

12· ·document -- or some of the documents that Ms. Newton

13· ·showed us if we have a document with one custodian

14· ·that -- well, if there's a document that we think a

15· ·custodian should have had but we don't have the hard

16· ·drive but we have the same document exactly from

17· ·another source, then it wasn't spoliated.· You

18· ·haven't lost anything.

19· · · · · · · · · MS. TORPEY:· But at the same time,

20· ·the example that Ms. Newton provided, I believe from

21· ·the Shepard drive, she said:· Look, there are 40%

22· ·from this drive, which produced thousands of

23· ·documents.· And incidentally, first of all, it's

24· ·interesting because she's arguing that they are

25· ·duplicates when, for the most part, in this case --


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·1· ·and this is probably a unique situation, but for the

·2· ·most part in this case, things would be de-duped, for

·3· ·example.· But second, if 40 percent of that drive,

·4· ·accepting her analysis as true, if 40 percent is a

·5· ·duplicate, by her own analysis, 60 percent is unique.

·6· · · · · · · · · JUDGE CAVE:· Sure.

·7· · · · · · · · · MS. TORPEY:· So I think that's an

·8· ·important point to consider.

·9· · · · · · · · · Okay.· So let's please go to Slide

10· ·17 -- actually, I'm sorry, go to Slide 80.· So while

11· ·you heard counsel today try to walk this back.· On

12· ·May 13th, Keurig's counsel, who you've been speaking

13· ·with today, they admitted that computer hard drives

14· ·were not backed up and that because of that and

15· ·because of the fact that they're aware that employees

16· ·saved documents to their hard drive, accordingly that

17· ·is why they needed to collect and produce the data

18· ·from the custodian's hard drive, because they are

19· ·admitting here that it is unique and, therefore, they

20· ·had an obligation to collect it and produce it, which

21· ·they have failed to do in many cases.

22· · · · · · · · · Please go to Slide 160.

23· · · · · · · · · Further, regardless of whatever

24· ·counsel represents today or has represented in the

25· ·past, it cannot walk back the representations that


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·1· ·have already been made by Keurig's corporate 30(b)(6)

·2· ·representative Kevin Campbell who, in his deposition,

·3· ·admitted that employees do store files -- that all

·4· ·employees store files on their hard drive and that

·5· ·it's not backed up.

·6· · · · · · · · · JUDGE CAVE:· You're misreading it.

·7· ·The next line he says it's sync'd with the network

·8· ·storage folder.· Don't misread it.

·9· · · · · · · · · MS. TORPEY:· So there are two points

10· ·here.· There are two drives that are being talked

11· ·about here.· And this goes to the same asset -- the

12· ·corporate asset policy as well.· So they talked about

13· ·how they said Keurig instructed -- and maybe we

14· ·should look directly at that which is actually

15· ·referring to -- we have the corporate asset policy.

16· ·But what he's saying is that there are two drives,

17· ·one is backed up.· That is just the K drive, the home

18· ·share that we've talked about today, but not the C

19· ·drive.· That is the hard drive, but it's the local

20· ·hard drive.· The local hard drive and he's saying --

21· ·and this has been admitted by now counsel and the

22· ·corporate representative in various places that, yes,

23· ·he is aware, they are aware that custodians save

24· ·documents to the local hard drive, and that they are

25· ·not backed up.


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·1· · · · · · · · · So both are relevant to the analysis

·2· ·because, frankly, Keurig has spoliated both types of

·3· ·drives in this case; just like, for example, it was

·4· ·interesting when counsel was talking today about

·5· ·their meaning of "custodial files," so what I believe

·6· ·Ms. Baird had said was that what that meant was that

·7· ·it was documents produced from the C drive and the K

·8· ·drive.

·9· · · · · · · · · Well, in their stipulation, there are

10· ·at least four custodians that we just in this short

11· ·time were able to look at that they did not represent

12· ·as having been produced from custodial files,

13· ·including Don Barberio, Don Holly, Sherry Hurley, Joe

14· ·Mueller.

15· · · · · · · · · So they appear to be representing, at

16· ·least by omission, that they did not collect from

17· ·either their C or their K drives.· They have admitted

18· ·that at least with respect to Don Barberio before.

19· · · · · · · · · JUDGE CAVE:· I understand your point.

20· · · · · · · · · MS. TORPEY:· Okay.· I would also like

21· ·to go to Slide 17, please, because it is important --

22· ·I want to make sure that it's clear that I do not

23· ·believe I was misreading this quote, which is an

24· ·important quote.· You heard Ms. Newton suggest that I

25· ·was misquoting the quote from Kevin Campbell and that


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·1· ·it was instead relating to the Project Squid

·2· ·collection.· Well, that is inaccurate.· While on the

·3· ·preceding page, it is true that it -- they were

·4· ·talking about the Project Squid issues on the

·5· ·preceding page, this was a question from counsel and,

·6· ·obviously, it is related to what they were talking

·7· ·about throughout the day and this was a deposition

·8· ·that was focused on the collections in this case in

·9· ·Keurig's spoliation failures.

10· · · · · · · · · So the actual question, which

11· ·Ms. Newton did not read and instead took from the

12· ·prior page with respect to the Squid issues, instead

13· ·the question was:· And throughout the day, we talked

14· ·about why oftentimes, when the IT department receives

15· ·requests to collect information, it does not include

16· ·hard drives within responding to that request.

17· ·Obviously the reference to throughout the day is not

18· ·a reference to Squid at all.

19· · · · · · · · · It is a reference to the collections

20· ·and obligations with respect to this case.· Also with

21· ·respect to their representations as to what was in

22· ·the Campbell deposition, I don't believe we have this

23· ·in a slide, but counsel represented that for McAfee,

24· ·that was introduced, I believe, in 2012.· But I just

25· ·want to point out that Mr. Campbell also testified


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·1· ·that it was a rolling implementation, meaning when we

·2· ·switched to BitLocker as the encryption solution, we

·3· ·would deploy that on newly-imaged laptops.

·4· · · · · · · · · I further testified that this was

·5· ·through a natural replacement of computers, meaning

·6· ·that although it was introduced earlier, it was given

·7· ·out, it was put on computers on a natural replacement

·8· ·of computers over time.· So it is not accurate to

·9· ·suggest that it was implemented in 2012 or -- he says

10· ·the time period when it was first introduced was 2012

11· ·to 2013 time frame, when BitLocker was first

12· ·introduced, but it is not an accurate representation

13· ·to suggest that it was just introduced and then that

14· ·was it and not continued on and of course he

15· ·testified that they specifically kept it because they

16· ·knew that they needed it for litigation hold purposes

17· ·specifically.

18· · · · · · · · · Okay.· Could we go to Slide 148,

19· ·please?· I think we covered this already.

20· · · · · · · · · JUDGE CAVE:· Yeah, I think so.

21· · · · · · · · · MS. TORPEY:· Yeah, apologize.· I did

22· ·want to also address Ms. Newton's characterization of

23· ·the back-and-forth that we had with respect to

24· ·Mr. Gross when we discovered that he had documents.

25· ·She was arguing that our position was inconsistent,


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·1· ·but I want to make clear that it is their position

·2· ·that it's inconsistent.· Andrew Gross was not a

·3· ·custodian, so she, for example, was not represented

·4· ·by Keurig's counsel.· All of the other former

·5· ·employees who were agreed upon custodians were

·6· ·represented by counsel.· They were represented by

·7· ·Keurig's counsel.· Keurig disclosed them in their

·8· ·initial disclosures and they represented them at

·9· ·trial.· Tellingly Andrew Gross was not represented by

10· ·Keurig at his deposition.· He had his own attorney.

11· · · · · · · · · I would also just like to note that

12· ·with respect to Barberio, obviously, there are other

13· ·meetings that he attended after the dates that

14· ·Ms. Newton referenced.· He did not leave the company

15· ·until June of 2014.

16· · · · · · · · · I would also just like to point out

17· ·that to the extent that there is inconsistency in

18· ·some of these depositions with respect to hardcopy

19· ·documents, if it goes to credibility, that is a

20· ·suitable question to put to a jury.· There are a lot

21· ·of jury instructions in spoliation cases where that

22· ·type of issue can be given to the jury in a jury

23· ·instruction where you are permitted to permit -- to

24· ·provide evidence to have the destruction of the

25· ·evidence and they can determine the credibility.


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·1· · · · · · · · · One thing I'll just note is, often

·2· ·what we found in the deposition was when first

·3· ·deponent was asked, like Mr. Barberio, this is a

·4· ·perfect example, he gave the first response saying

·5· ·very specifically that he had a binder of documents

·6· ·with handwritten notes and customer documents from

·7· ·customer meetings that he threw out after he left his

·8· ·employment with Keurig and then after a break or at

·9· ·the end of the deposition, like in Mr. Barberio's

10· ·case, counsel will come in and all of a sudden, he

11· ·tries to walk it back.· I think this is an issue

12· ·where there is some coaching or some -- some sort of

13· ·communication going on where it is made clear to him

14· ·that this is a potential spoliation issue that they

15· ·want to make sure gets walked back.

16· · · · · · · · · Ms. Newton also referenced

17· ·Mr. Tinkler, and in their brief as well, you know,

18· ·they say that, you know, they're pointing to his

19· ·testimony as well in terms of him testifying that he

20· ·didn't hit the delete button but this is, again, a

21· ·misleading argument because he did not have to hit a

22· ·delete button if Keurig itself is spoliating the hard

23· ·drive for custodians.

24· · · · · · · · · I would also just like to point out

25· ·that ECF-1248 said he did save unique documents on


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·1· ·his hard drive.· This is, again, a compilation used

·2· ·for the Campbell deposition.· It's demonstrated by

·3· ·the nonduplicative production from his other drive

·4· ·even though conveniently his earliest-in-time drive

·5· ·is from 2013 and before is the one for which they

·6· ·lost the encryption key during a highly relevant time

·7· ·period.

·8· · · · · · · · · They also say that they did, of

·9· ·course, disclose Dwight Brown when they were

10· ·discussing the issues with you in the hearing with

11· ·respect to Project Squid.

12· · · · · · · · · However, there are six recipients of

13· ·that email and now it appears that all six of them

14· ·have spoliation issues.

15· · · · · · · · · This is precisely what we were

16· ·discussing in the beginning of our presentation.

17· ·They will admit things in dribs and drabs, but it has

18· ·been very challenging getting the full picture

19· ·because of the evasive communications that they have

20· ·had in this case.

21· · · · · · · · · Finally, I just want to close -- and

22· ·I'm sure you're happy to hear that -- just by saying

23· ·that there is one thing I'm happy to report that I do

24· ·agree with Ms. Newton about, which is that she urged

25· ·you to look at the proof.· And I would urge you to do


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·1· ·the same thing, because I believe that when you do

·2· ·and as you've already looked closely at a lot of

·3· ·these documents it sounds like and we very much

·4· ·appreciate your diligence.· It's fantastic to come to

·5· ·a judge who's so well prepared and we appreciate

·6· ·that, thank you, but I am confident that when you do

·7· ·and you look at the cases that we have cited in the

·8· ·chart with other adverse inferences and jury

·9· ·instructions, at the end of the day, you will be

10· ·persuaded that the issues in this case far exceed the

11· ·other types of cases that we have been requesting in

12· ·response to our motion.

13· · · · · · · · · By the way, I should just point out

14· ·one last thing because, otherwise, I'm sure my

15· ·partner will be very unhappy with me, which was

16· ·simply that you had asked about summary judgment and

17· ·Ms. Newton mentioned that it would have to be

18· ·interlinked.

19· · · · · · · · · I just want to raise that there are

20· ·two specific interlinked issues that have been raised

21· ·in summary judgment that do have a close connection

22· ·to our spoliation motion.

23· · · · · · · · · One is the testimony by Ron DiFabio

24· ·saying that there was a verbal agreement with Walmart

25· ·that was their standard agreement for private label,


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·1· ·which was an exclusive agreement.

·2· · · · · · · · · Notably, as we touched on earlier

·3· ·today, Mr. DiFabio testified that he left his

·4· ·customer documents on his credenza at Keurig, and he

·5· ·also testified that he did everything in hardcopy,

·6· ·presumably that would include the documents relating

·7· ·to the terms or relationship with his largest

·8· ·customer, Walmart.

·9· · · · · · · · · So that is one very specific issue

10· ·that is linked.· Of course, they tried to discredit

11· ·him with Joe Mueller, who is -- who we have learned

12· ·based on their representations also did not have any

13· ·documents produced from his home share or his hard

14· ·drive.· And his hard drive, obviously all of his hard

15· ·drives have gone missing as well.· So that is a

16· ·particular point of issue and prejudice that we are

17· ·facing that is directly interlinked as Ms. Newton

18· ·said, to her summary judgment motion and the same

19· ·goes for Kroger as well.· They are also contending

20· ·that there was no exclusive agreement with Kroger,

21· ·too.· So those two issues are specifically

22· ·interlinked with our summary judgment motion.

23· · · · · · · · · With that, I will say thank you very

24· ·much.· I appreciate your patience and I appreciate

25· ·all of your diligence and digging into the documents.


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·1· ·Thank you.

·2· · · · · · · · · JUDGE CAVE:· Super.· Thank you.· Any

·3· ·other Plaintiffs' counsel who want to weigh in on the

·4· ·Plaintiffs' motion now?

·5· · · · · · · · · MR. JOHNSON:· Yes, your Honor, this

·6· ·is Dan Johnson, two very minor points.· First --

·7· · · · · · · · · JUDGE CAVE:· I can hear you, I can't

·8· ·see you.

·9· · · · · · · · · MR. JOHNSON:· That's probably a good

10· ·thing.· Two points, number one, there have been at

11· ·least three comments made about why Rogers did not

12· ·join in the motion.· The simple answer is the at the

13· ·time the motion was filed, we had moved to have our

14· ·case transferred to California and I did not want any

15· ·major motions pending because Keurig would argue at

16· ·that point that you've got this major motion pending

17· ·so the case should remain.· That is why we did it.

18· ·And it makes perfect sense.· Once a case is -- once

19· ·the motion was filed, it was filed, so to the extent

20· ·that there is any implication that we didn't believe

21· ·the motioned merit, that is simply not the case.

22· · · · · · · · · The second point that I would make,

23· ·your Honor, is that this spoliation case is

24· ·interesting because the people whose drives were

25· ·lost, whose documents were lost were some of the most


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·1· ·critical witnesses in this case, across the board,

·2· ·Michelle Stacy, for example.· The prior president,

·3· ·Mr. Whoriskey was a critical witness.· So was for a

·4· ·technical standpoint -- drawing a blank on his name,

·5· ·Mr. Huang and there were others as well.· The whole

·6· ·question about the Sagentia memos and whether they

·7· ·existed or not, the reason why that was so critical

·8· ·was we saw for the first time the reference to Squid

·9· ·and what that meant and we had -- once we realized

10· ·that Squid was this -- in the words of the documents

11· ·an anti -- it was a scheme to lock out competition

12· ·and it says over and over again we then tried to

13· ·pursue that and not only did we not find the

14· ·documents but when we asked -- when we tried to get

15· ·testimony all we got is I don't remember it didn't

16· ·happen until we were finally able to confront some of

17· ·these witnesses.

18· · · · · · · · · So while there's been this large

19· ·discussion in the abstract, the fact of the matter is

20· ·that those documents that weren't provided

21· ·particularly when the witnesses were there and

22· ·available to effective to do a material impact on our

23· ·ability to proceed with our case.· We struggled.              I

24· ·think we did the best we could with what we had but

25· ·this is not -- to say that Michelle Stacy was no big


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·1· ·deal or that Mr. Whoriskey, hey, he was okay, and the

·2· ·same is true for the others.· That's just wrong.

·3· ·These were the people who developed the scheme to

·4· ·lock out competition.· They started in 2009 and in

·5· ·2014, they're still talking about locking out

·6· ·competition and the communication with their various

·7· ·customers which started in 2013, demonstrated that

·8· ·they were telling everyone that they were not going

·9· ·to -- their device would not work with outside pods

10· ·and they had a tremendous effect.· I'm not going to

11· ·argue that today.· But I want to say this is not a

12· ·trivial exercise today, this is very, very important

13· ·and had a material impact not only on Keurig's case

14· ·but also on our ability to gather facts.· Thank you.

15· · · · · · · · · JUDGE CAVE:· Mr. Miller?

16· · · · · · · · · MR. MILLER:· Yes, your Honor, I

17· ·wanted to first promise brevity and then stick to it.

18· ·There was some representations made about McLane's

19· ·data production.· The Court hasn't expressed

20· ·extensive interest in that, so I'm not going to

21· ·respond to today's in detail other than to say I

22· ·believe the representations made by Keurig's counsel

23· ·were wholly inaccurate.· And I would also just echo

24· ·what Mr. Johnson said, the importance of the

25· ·witnesses that we're talking about today.


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·1· · · · · · · · · But with that, I'll leave it with the

·2· ·Court.· Thank you very much.

·3· · · · · · · · · JUDGE CAVE:· Thank you.

·4· · · · · · · · · THE REPORTER:· Are we taking a break

·5· ·before the next hearing?

·6· · · · · · · · · JUDGE CAVE:· We will.· Yeah, I wanted

·7· ·to see, do the DPPs want to add anything.

·8· · · · · · · · · MR. REESE:· Your Honor, this is

·9· ·William Reese.· We don't have anything.

10· · · · · · · · · JUDGE CAVE:· Okay.· Very good.· Let's

11· ·take a short break and we'll come back and we'll

12· ·start with Keurig's motion.

13· · · · · · · · · Let's try to keep it to five minutes,

14· ·so that's 3:35 if we could.· See you in a moment.

15· ·Thank you.

16· · · · · · · · · (A brief recess was taken.)

17· · · · · · · · · JUDGE CAVE:· We're back on the

18· ·record.· Mr. Mukhi, if you could proceed with

19· ·Keurig's motion and start with TreeHouse issues first

20· ·and then JBR.

21· · · · · · · · · MR. MUKHI:· Sure, your Honor, and

22· ·that's what I plan to do.· So good afternoon, your

23· ·Honor.· I'm Rahul Mukhi from Cleary Gottlieb for

24· ·Keurig.

25· · · · · · · · · Just to flag timing, your Honor, I


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·1· ·clocked myself about an hour yesterday exact, so but

·2· ·if you need me to slow down at any point or speed up

·3· ·for that matter, just let me know and I'll

·4· ·accommodate.

·5· · · · · · · · · JUDGE CAVE:· Yeah, I would say as to

·6· ·things like the standards and the particular cases

·7· ·and that sort of thing, we've probably covered a lot

·8· ·of that, so -- but I don't want to cut you off

·9· ·either.

10· · · · · · · · · MR. MUKHI:· Okay.· Great, your Honor.

11· ·Understood.· So why don't we go to the first slide.

12· ·I am going to start with TreeHouse, and I thought it

13· ·would be helpful just to give you a little bit of an

14· ·outline on the TreeHouse argument.

15· · · · · · · · · So our motion starts from the fall of

16· ·2013 when TreeHouse's internal documents -- and its

17· ·own Complaint show that TreeHouse believed that on

18· ·Keurig's statements in that time frame that the 2.0

19· ·would be a closed system.

20· · · · · · · · · TreeHouse developed a strategy to

21· ·respond, which involves legal action against Keurig,

22· ·here we are.· And that really started in that time

23· ·frame, the fall of 2013.

24· · · · · · · · · We brought this motion because

25· ·TreeHouse should have started preserving evidence for


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·1· ·key players when it was planning and taking steps to

·2· ·bring claims against Keurig in the fall of 2013, but

·3· ·it's been for months and sometimes years with respect

·4· ·to key players.

·5· · · · · · · · · Because of those choices by

·6· ·TreeHouse, we believe critical, irreplaceable

·7· ·evidence is lost and Keurig has been prejudiced as a

·8· ·result.

·9· · · · · · · · · So the five categories -- and we'll

10· ·go through these.· The first is Project Charter and

11· ·communications to customers about the 2.0, in that

12· ·late 2013, early 2014 period, before there was any

13· ·litigation hold in place.

14· · · · · · · · · The second category would be Adam

15· ·Spratlin.· He's a key player on machines procurement.

16· ·He's also a member of Project Charter, which was

17· ·launched in the fall of 2013.· His e-mail is cited in

18· ·the Complaint, but he's not put on hold until 2017,

19· ·three years into this case.

20· · · · · · · · · The third category is salespeople for

21· ·Ahold and Kroger, who also do not have holds in place

22· ·until 2017.

23· · · · · · · · · The fourth is Judy Clark in

24· ·away-from-home.· She's also a member of Project

25· ·Charter, that initial kickoff in 2013, but not put on


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·1· ·hold until 2016 and then Craig Lemieux, who's a key

·2· ·player, he has significant data missing

·3· ·notwithstanding being put on hold in 2014, February

·4· ·of 2014.

·5· · · · · · · · · So I'm going to walk you through how

·6· ·Keurig shows data loss and prejudice not through

·7· ·speculation, but really through hard data and

·8· ·analysis of the evidence that does exist.· And I just

·9· ·want to point out we're not seeking severe inferences

10· ·and relief.

11· · · · · · · · · We tried to be very judicious in the

12· ·type of relief and tying it to the loss and the

13· ·prejudice, and I'll get into that a little bit more.

14· · · · · · · · · We -- no matter how hard-fought this

15· ·litigation has been, we're not arguing intend to

16· ·deprive anyone.· We think that's an extremely serious

17· ·and high standard, and it should be serious and high.

18· ·We're really -- we're focused on 37(e)(1), and the

19· ·evidence that we went through in our briefing and

20· ·we're going to go through today produced by TreeHouse

21· ·from these custodians on these specific topics was

22· ·and is helpful to Keurig's defense.· We really tried

23· ·to pull that out and tease that out.

24· · · · · · · · · Our point is that TreeHouse should

25· ·not be permitted to put on witnesses to contradict


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·1· ·the evidence that we do have when it did not take

·2· ·adequate steps to preserve documents on those same

·3· ·topics.

·4· · · · · · · · · So the next slide, your Honor, you

·5· ·mentioned, don't go through the standard in detail.

·6· ·We've been through it.· The only thing I'd say, it's

·7· ·here.· We're taking the same position on this motion

·8· ·that Ms. Newton took in opposition to the Plaintiffs'

·9· ·motion.· We're really holding ourselves to be

10· ·consistent.· I would just note on the burden, your

11· ·Honor, we think the burden rests with the movement on

12· ·each of the elements.· We think we've met that, but

13· ·we think that the burden lies with us, and I would

14· ·just note you heard Ms. Torpey aren't making

15· ·arguments about burden shifting.· In their opposition

16· ·to our motion, they're actually saying in their

17· ·brief, this is at page 6, a party seeking sanctions

18· ·has the burden of establishing each element.· We

19· ·agree with that articulation in their opposition and

20· ·we're holding ourselves to it.

21· · · · · · · · · So why don't we go to Slide 5?

22· · · · · · · · · So I'm going to start as I previewed,

23· ·your Honor, on the duty to preserve and when that

24· ·attached.· And so we put together a timeline, which

25· ·I'll go through in more detail, and really at a high


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·1· ·level, where we start is Keurig publicly announcing

·2· ·its 2.0 brewer in September of 2013.· So that's all

·3· ·the way at the left, I guess my left, of the screen.

·4· ·And then within weeks, TreeHouse establishes Project

·5· ·Charter, their response to the 2.0, and then they

·6· ·make various statements -- and I'll go through these

·7· ·and take various steps that show the anticipated

·8· ·motivation was reasonably foreseeable that they were

·9· ·going to litigate against Keurig, starting from

10· ·October 2013 and at least by November 2013 onward.

11· ·And you really see that in the documents, and you see

12· ·it in the Complaint that they filed in February 2014.

13· ·And the litigation holds, it's undisputed, the first

14· ·round went out February 4th, 2014, which is on the

15· ·right-hand side of the screen.

16· · · · · · · · · If you can go to the next slide.

17· · · · · · · · · Okay.· So, your Honor, I'm going to

18· ·start with that September call, if you remember on

19· ·the time line.· The first point on the timeline was

20· ·the September call.

21· · · · · · · · · TreeHouse's February 11, 2014

22· ·Complaint cites that call, that September 10th call

23· ·for their allegation that the Keurig announced the

24· ·2.0 brewer would not brew unlicensed packs.· So

25· ·that's Paragraph 257, ECF-2, that's in the Complaint,


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·1· ·not February, which we'll get to, because that's what

·2· ·they emphasized in their opposition.

·3· · · · · · · · · The Complaint says September and

·4· ·then, your Honor, it's corroborated on the right-hand

·5· ·side -- and we've got the ECF site there.· This is

·6· ·1298-3, with our motion, this is an internal document

·7· ·at TreeHouse and it says the same thing.

·8· · · · · · · · · They cite, if you look at the bottom,

·9· ·we called out, that's September 10th, it's a public

10· ·investor presentation, and, so, they called that out

11· ·in their internal documents to say, according to

12· ·them, their words, that that's going to exclude

13· ·unlicensed packs, which they say applies to them.

14· · · · · · · · · So that's September, so if you look

15· ·at where TreeHouse's opposition starts to our motion,

16· ·where they start is on this premise that it's the

17· ·February 5th earnings call where, you know, there's a

18· ·big reveal about the 2.0 brewer not brewing

19· ·unlicensed packs, but, in both the Complaint and

20· ·their internal documents, focus on this September

21· ·10th announcement, and then we'll see for the second

22· ·half that they really key in on the Complaint and

23· ·their internal documents.

24· · · · · · · · · It's November 20th when they say,

25· ·again, based on that, they believed Keurig would have


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·1· ·a closed system, but we'll get to November.· I'm

·2· ·going to turn to October 1st.

·3· · · · · · · · · So your Honor asked a question about

·4· ·this entry on the priv log.· So this is the announced

·5· ·for Project Charter, which is the response for the

·6· ·2.0.· And in TreeHouse's privilege log, they asserted

·7· ·attorney work product, which, obviously, your Honor

·8· ·knows, and I won't belabor it, means that they

·9· ·anticipated litigation, and you look at the

10· ·description, and it also refers to litigation

11· ·strategy.· So TreeHouse says in its opposition --

12· ·your Honor asked a question about this, and we'll

13· ·hear what Mr. Badini will say today, but at least in

14· ·their brief, they said at Footnote 9, we withdrew the

15· ·document from the priv log and produced it.

16· · · · · · · · · We'll get to that.· They did produce

17· ·it pursuant to 502(d), but they didn't withdraw the

18· ·work product assertion when they did that.

19· · · · · · · · · So I'll go to the next document.

20· ·This is the 502(d) document -- that letter.· I won't

21· ·quote it.· I'm just giving an insight or two on

22· ·these, but that same language, you'll see later in

23· ·November, and it's clear that what they're describing

24· ·there -- what they're describing there includes legal

25· ·action.


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·1· · · · · · · · · So the idea of, you know, we got to

·2· ·defend our business, but part of that, I think --

·3· ·this is the natural interpretation of the document,

·4· ·is bringing legal action against Keurig.

·5· · · · · · · · · And you see the 502(d) stamp there.

·6· ·Let's go to the next slide.· So this is -- you see on

·7· ·the left, that's -- I won't read it.· It's small, but

·8· ·that number there, that Bates Stamp number, that is

·9· ·the same number as what's on the priv log on the

10· ·prior page.

11· · · · · · · · · So that's the one that ends in 3807

12· ·on the left-hand side where you see it's clear -- and

13· ·you saw the legend, it's being produced to the 502(d)

14· ·order.· And then on the right, we have the actual

15· ·order and that's sort of the point of the order is

16· ·when you produce something pursuant to 502(d), you're

17· ·not waiving privilege and work product.· So we

18· ·believe they maintained that assertion of work

19· ·product.

20· · · · · · · · · Now, your Honor asked a question --

21· ·we can go to the next slide about the earliest

22· ·document on TreeHouse's privilege log, and, by the

23· ·way, your Honor, I am going to try to address all

24· ·your questions in the order they come up in my

25· ·presentation, but if you want me to skip ahead, I'm


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·1· ·happy to.

·2· · · · · · · · · So the earliest document is April 22,

·3· ·2010 because production in this case went back to

·4· ·2009, but, you know, we're arguing that that October

·5· ·30, 2013 log entry is the earliest work product

·6· ·assertion that relates to this litigation, and the

·7· ·reason why was the Project Charter connection.

·8· · · · · · · · · So now I'm going to go to November

·9· ·because, again, TreeHouse talks a lot about that

10· ·February 5th announcement, but their documents in the

11· ·Complaint really focus on November.

12· · · · · · · · · So this is what TreeHouse on the

13· ·left-hand side said internally to their board that

14· ·Keurig announced in November, this is their words,

15· ·that non-licensed cups would not function in the 2.0

16· ·brewer.

17· · · · · · · · · So again, we have the cite there.

18· ·It's with our motion 1298-13 and then you go to their

19· ·complaint filed in February, again, they say the same

20· ·thing.· They're focused on this November 2013

21· ·announcement.

22· · · · · · · · · So you have a September announcement

23· ·and here you have a November announcement that

24· ·they're focusing on.

25· · · · · · · · · They do cite the February 5th


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·1· ·earnings call in their Complaint, but I think it

·2· ·supports our argument, not theirs.

·3· · · · · · · · · So in Paragraph 247 of their

·4· ·Complaint, TreeHouse alleged that the fee of Keurig,

·5· ·quote, reiterated a statement made on the November

·6· ·call, this call.· So it's a reiteration about the 1.0

·7· ·brewers, obviously a reiteration is not something

·8· ·new, and then the other citations to the February 5th

·9· ·earnings call are about Keurig's share calculations.

10· · · · · · · · · So it's not any announcement that

11· ·caused them to sue, which is really what they're

12· ·arguing in opposition and the amended complaint is

13· ·similar.· It actually cites the November call in

14· ·Paragraph 527.· And it says that Keurig, quote:

15· ·Continued this message throughout late 2013 and early

16· ·2014.

17· · · · · · · · · So we think February is way too late

18· ·to say that's when their duty to preserve attached.

19· ·We think it's within this time frame -- and I'm going

20· ·to go to the next slide because they're still in

21· ·November in the next slide, and this is what I was

22· ·referring to earlier.

23· · · · · · · · · So this is the, quote, three-prong

24· ·defense approach for the, quote, Keurig threat, and

25· ·the first prong, your Honor, you'll see is the legal


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·1· ·action.· This is November 15th to be assessed by our

·2· ·law department with external counsel, and then we

·3· ·asked the former president and COO about this

·4· ·document and said were you -- it was the law

·5· ·department talking with external counsel.· He says

·6· ·fair to assume based on -- about legal action against

·7· ·Keurig and fair to assume that would be correct,

·8· ·given the language, and so we think that language is

·9· ·pretty dispositive as well.· Yet, as we know, there's

10· ·no steps to preserve evidence until months later.

11· · · · · · · · · So now we're in November.· Your Honor

12· ·had a question about December.· I'm getting to your

13· ·question in a minute, but before I do, there's

14· ·another point in December -- this is earlier in

15· ·December -- I think it's December 3rd, if I'm reading

16· ·it correctly.

17· · · · · · · · · The general counsel of TreeHouse --

18· ·and, again, it's an exhibit, you can see it, it's

19· ·1298-5 if you want to see it, but the intro paragraph

20· ·talks about this PR firm, H&K, was asked by TreeHouse

21· ·to provide some top-line thinking about the 2.0.

22· · · · · · · · · And if you look at what they're

23· ·thinking about after that discussion that's shared

24· ·with TreeHouse following, you know, their discussion

25· ·is -- it's legal-focused, this part is, identify


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·1· ·legal bloggers and reporters who might question

·2· ·antitrust implications of 2.0 technology, identify a

·3· ·plaintiffs' law firm that might initiate a class

·4· ·action lawsuit on behalf of consumers of non-GMCR

·5· ·pods that applies to them, their type of pods,

·6· ·provide litigation support to TreeHouse if a suit is

·7· ·filed against GMCR, which is Keurig now.

·8· · · · · · · · · And so we think -- we think it's

·9· ·clear that the anticipation is reasonably foreseeable

10· ·at this point.· And I also note -- it's clear it's

11· ·been discussed with TreeHouse.· This is not a PR firm

12· ·going out on its own to come up with a legal focus.

13· ·And there's some detail in here -- they talk about

14· ·whatever grounds for litigation against Keurig, but

15· ·not retailers might be -- should also -- I guess

16· ·there's some language in there should also be the

17· ·TreeHouse public positions.

18· · · · · · · · · So it's clear that it's going side by

19· ·side with a litigation strategy that's coming

20· ·internally, and the details suggest that.

21· · · · · · · · · And, so now, let's talk about your

22· ·Honor's question on Winston in December 2013.

23· · · · · · · · · You asked for the source of our

24· ·statement that by December TreeHouse retained its

25· ·current counsel to assist in developing complaints.


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·1· ·So this is our basis for that combined with what we

·2· ·just saw so this is -- and we'll talk about this

·3· ·e-mail.· This e-mail from Mr. Spratlin in December

·4· ·2013 shows up in the Complaint.· I think it's quoted

·5· ·at least four times and referenced more than six.· So

·6· ·it's a key email that shows up in the Complaint, and

·7· ·I'll show you the references later, but the key for

·8· ·the duty to preserve is that it goes to -- it goes to

·9· ·the general counsel who forwards it to Bruce Toth,

10· ·who is a Winston & Strawn lawyer, and so that's our

11· ·basis.

12· · · · · · · · · I'll give a little bit more detail on

13· ·that, but just to recap, by November, TreeHouse has

14· ·determined that the 2.0 system would be -- the 2.0

15· ·brewer would be a closed system.· It developed a

16· ·strategy that included legal action.· Its president

17· ·testified that it's fair to say TreeHouse was

18· ·consulting with outside house counsel on bringing

19· ·claims against Keurig and then in December, this

20· ·email that appears multiple times in the Complaint is

21· ·forwarded to its current counsel in the litigation.

22· · · · · · · · · So just to -- one slight detour,

23· ·Mr. Toth, obviously -- I don't think he's here today,

24· ·he hasn't appeared in the litigation, but he stays

25· ·copied on the email traffic over the next several


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·1· ·months with Mr. Badini and Ms. Torpey.· So this is

·2· ·not a one-off.· And there are actual followups on the

·3· ·Complaint.

·4· · · · · · · · · So if you go to the next slide,

·5· ·Mr. K.

·6· · · · · · · · · So these are -- and we've got the

·7· ·cites there in a priv log cite as well.· Mr. Toth

·8· ·continues to stay involved for a period of time as

·9· ·the Complaint is being developed including on factual

10· ·development that winds up as allegations in the

11· ·Complaint as they describe it.

12· · · · · · · · · So, you know, while we're on the priv

13· ·log, your Honor asked that question.

14· · · · · · · · · If we go to the next slide.

15· · · · · · · · · It's not just October, they're

16· ·arguing February now, but TreeHouse continued to

17· ·assert work product over communications in December

18· ·and the first half of January, so December 2013,

19· ·January 2014, first half, so we've exerted two

20· ·assertions from December 2013, December 5th, I

21· ·believe it is, and then the earliest one in January,

22· ·there are actually many more in January, including

23· ·about 70 before the February 5th date and also made

24· ·litigation reasonably foreseeable in that board

25· ·meeting they referenced.


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·1· · · · · · · · · So we think it's clear that the

·2· ·evidence is that the duty to preserve attached

·3· ·earlier.

·4· · · · · · · · · And I just note on the last one

·5· ·because it will come up on Project Charter there

·6· ·we're going to talk about customer communications.

·7· ·They actually describe customer communications as

·8· ·being something in anticipation of litigation.· And

·9· ·that's our point with respect to Project Charter

10· ·which I'll get to.

11· · · · · · · · · So if we go to the next slide -- and

12· ·your Honor, I've made the point about February 5th.

13· ·I won't belabor it, but I would just point out, it

14· ·doesn't really make sense that there's some meaning

15· ·to February 5th because they issued their document

16· ·hold on February 4th.· So it couldn't know to issue a

17· ·document hold the day before the significant -- the

18· ·supposed significant event that triggered their

19· ·knowledge of reasonable anticipation of litigation,

20· ·and they obviously anticipated litigation before the

21· ·hold was issued on February 4th, and I think the real

22· ·question is when before February 4th.

23· · · · · · · · · The documents we've cited, their

24· ·Complaint, we think clearly establishes it was in the

25· ·fall of 2013, October 2013 or November, at the


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·1· ·latest, we submit.

·2· · · · · · · · · The other thing that they point to --

·3· ·they put in the declaration in opposition, Mr. Badini

·4· ·has, that according to his review or referring to a

·5· ·review of internal records, Winston only began

·6· ·drafting the Complaint on January 28th, well, your

·7· ·Honor, that's not the relevant test.· I'll address it

·8· ·further but the relevant test is when TreeHouse

·9· ·should have reasonably anticipated litigation, not

10· ·when it saved the document titled Draft Complaint.

11· ·And we think the evidence shows strongly that it was

12· ·before January 28th and there were references to your

13· ·Honor's decision in Raymond -- or I should say

14· ·decisions the trilogy, you actually cited that this

15· ·Alter case which we think has the standard right, you

16· ·cited in all three episodes of your Raymond trilogy,

17· ·which is the duty to preserve arises not when

18· ·litigation is certain, but rather when it is

19· ·reasonably foreseeable.

20· · · · · · · · · So that's the test we're applying.

21· ·I'd just note on the burden point, your Honor,

22· ·because I believe Ms. Torpey was citing Raymond with

23· ·that burden shift and as we read it -- your Honor

24· ·knows the case, but I think the way we read it, that

25· ·was not primarily an ESI case.· And so we -- as


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·1· ·Ms. Newton explained, which I won't belabor

·2· ·everything, ESI cases are different.

·3· · · · · · · · · So your Honor, if we go to the next

·4· ·slide -- so that's duty to preserve.· I don't know if

·5· ·your Honor has any questions on that.

·6· · · · · · · · · JUDGE CAVE:· No, you answered both of

·7· ·the ones that I had.· Thank you.

·8· · · · · · · · · MR. MUKHI:· Okay.· Great.· So I'm

·9· ·going to go to the first category.· Temporally it's

10· ·linked.· So it's the Project Charter evidence, and,

11· ·you know, it's a period between the fall of 2013 and

12· ·call it October and November and February of 2014,

13· ·and, so, what I'm really going to emphasize is how

14· ·unique and important that period was to preserve

15· ·documents because they do implement the hold in

16· ·February, but we think that that period before they

17· ·should have implemented and there's really key

18· ·evidence that we would have gotten.· So if you go to

19· ·the next slide, these are the members of -- it's

20· ·called stakeholders and project team, call them the

21· ·members of Project Charter, and, so you see it goes

22· ·all the way to the top, so they're discussing this at

23· ·the highest levels, this Project Charter, and I

24· ·believe this is the same one where they talked about

25· ·legal action.


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·1· · · · · · · · · And, so, this slide identifies the

·2· ·members, most of them get a hold in 2014 and some in

·3· ·February, some a little later in 2014.· But two of

·4· ·the custodians that they were challenging, which I'll

·5· ·get to, who are members of Project Charter,

·6· ·Mr. Spratlin, we'll see him on R&D in engineering and

·7· ·he's the same one, by the way, who's email is in the

·8· ·Complaint a few times, he doesn't get a hold until

·9· ·2017.· So three years into the litigation.· Judy

10· ·Clark, similar, she's on Project Charter, doesn't get

11· ·a hold until 2016.· So we'll get to those.· We think

12· ·by any measure, you know, those two are way later and

13· ·we lost data and we were prejudiced, but I just

14· ·wanted to point that out since their names are here,

15· ·and I'll try not to repeat slides.

16· · · · · · · · · So why don't we go to the next slide?

17· ·So this is really on the evidence we're missing.

18· · · · · · · · · So why is this period so important,

19· ·fall of 2013 to February 2014.· Because that is when

20· ·TreeHouse is reaching out to its key customers about

21· ·the subject matter of this litigation, the 2.0 and

22· ·what the customers are going to do in response.

23· · · · · · · · · So now the snippets we've seen, the

24· ·snippets of notes, they're going to stay the course

25· ·in this time frame.


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·1· · · · · · · · · The 2.0 is a nonevent, which is

·2· ·contrary to TreeHouse's claims.· But the reason why

·3· ·we brought this motion is there's no document hold in

·4· ·place, even though, as I just laid out, TreeHouse is

·5· ·claiming it's reasonably foreseeable that there's

·6· ·going to be litigation against Keurig.

·7· · · · · · · · · So they presented here just -- you'll

·8· ·see just one or two liners of the key takeaways from

·9· ·the customer scorecard.· This is -- they presented

10· ·this to their board on February 5th and 6th,

11· ·obviously, the conversations happened before.

12· · · · · · · · · So, you know, we'll -- we discussed

13· ·each of the customers in our motions.· I won't go

14· ·through all of them today but, you know, the key

15· ·point is, we've got snippets of notes.· They're

16· ·actually one email thread with TreeHouse legal while

17· ·they're contemplating litigations about Kroger and

18· ·Wegman's and we've explained why we thought those

19· ·were helpful.

20· · · · · · · · · We don't have anything on the rest.

21· ·Even for those customers, I should be clear, we don't

22· ·think we have everything, but we have nothing on the

23· ·rest.· And so your Honor asked TreeHouse -- if I

24· ·might answer a question that was posed to the other

25· ·side, hopefully, I'll have the same answer as


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·1· ·Mr. Badini.· You asked TreeHouse about the names -- I

·2· ·believe it was targeted to the non-legal custodian on

·3· ·the Kroger and Wegman notes who we deposed, the

·4· ·identity of those, and so, if your Honor wishes, I

·5· ·can provide those names not to steal

·6· ·Mr. Badini's thunder.

·7· · · · · · · · · JUDGE CAVE:· Go ahead.

·8· · · · · · · · · MR. MUKHI:· So they -- we questioned

·9· ·Mr. Overly, who's the non-legal custodian.· We

10· ·questioned -- that chain attached to our motion, we

11· ·questioned Mr. Overly about those notes at length and

12· ·then Mr. Vermylen, who you saw earlier, he didn't

13· ·receive that version but he got forwarded a version

14· ·of the same notes.· He's not a custodian of the

15· ·email, but he gets forwarded -- of the email we

16· ·attached, but he gets forwarded a version of it that

17· ·contains the same substance and we questioned

18· ·Mr. Vermylen about it.

19· · · · · · · · · THE REPORTER:· What was the name?

20· · · · · · · · · MR. MUKHI:· V-e-r-m-y-l-n, I think I

21· ·got that.

22· · · · · · · · · So your Honor -- but really the point

23· ·of our motion is that we could not not ask witnesses

24· ·about the notes that were never produced to us.· So,

25· ·for example, the top of the page, you have that


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·1· ·customer saying staying the course with private -- PL

·2· ·is private label for SSB, single-serve beverages or

·3· ·what sometimes people refer to as portion packs.· We

·4· ·didn't get anything other than that one line.· So we

·5· ·couldn't question anyone about any such notes.· The

·6· ·next one -- and we think it would be helpful just

·7· ·based on the key -- key takeaway.

·8· · · · · · · · · JUDGE CAVE:· All right.· And aside

·9· ·from notes, though, were there any, you know, emails,

10· ·internally, after the meeting, that said, you know,

11· ·here's what Sam's Club said or anything else that

12· ·gives us the gist of what the discussion was at this

13· ·meeting that's been produced.

14· · · · · · · · · MR. MUKHI:· Okay.

15· · · · · · · · · JUDGE CAVE:· Your audio is breaking

16· ·up.· You'll have to start over.

17· · · · · · · · · MR. MUKHI:· Sorry.· Can you hear me

18· ·now?

19· · · · · · · · · JUDGE CAVE:· Try again.

20· · · · · · · · · MR. MUKHI:· I'll try.

21· · · · · · · · · JUDGE CAVE:· Yeah, it's like your

22· ·connection isn't stable.· You keep freezing.

23· · · · · · · · · Is there anything the tech people can

24· ·do with Mr. Mukhi's connection so we can hear him?

25· · · · · · · · · THE VIDEOGRAPHER:· It's his


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·1· ·connection.· There's nothing we can do at the moment.

·2· · · · · · · · · MR. MUKHI:· Sorry, your Honor.

·3· · · · · · · · · JUDGE CAVE:· Now just start talking.

·4· ·Just say something.· Let's see if that's better.

·5· · · · · · · · · MR. MUKHI:· How is that?

·6· · · · · · · · · JUDGE CAVE:· That's better.· I don't

·7· ·know what it was, like, the plane was flying

·8· ·overhead, or -- I don't know.· But we can hear you.

·9· · · · · · · · · MR. MUKHI:· All right.

10· · · · · · · · · JUDGE CAVE:· So my question was about

11· ·if we don't have handwritten notes, do we have

12· ·anything else that tells me what the substance of the

13· ·meeting was?

14· · · · · · · · · MR. MUKHI:· I don't believe so, your

15· ·Honor.· We looked.· We couldn't identify it.· They, I

16· ·think in the stipulation, said we produced a whole

17· ·bunch of -- a whole bunch of emails with those

18· ·customers.

19· · · · · · · · · We ran then searches on those, so,

20· ·for example, let's say the first customer is Sam's

21· ·Club, we produced 421 documents.· I believe it's

22· ·between TreeHouse and Sam's Club, I think is what

23· ·they say.· When we did the search, we got zero hits

24· ·for the 2.0.· And then, you know, it was similar.· We

25· ·got zero hits for Kroger, for Ahold, for Delhaize,


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·1· ·Wegman's, Walmart.· We got two copies of two emails,

·2· ·one asked about the 2.0 and the other is a press

·3· ·release forwarded on the carafe, and they don't --

·4· ·they haven't produced everything and their

·5· ·stipulation that they offered doesn't get into

·6· ·substance, so I don't -- I think this is what we've

·7· ·got on those -- those two of eight -- sorry, those

·8· ·six of eight.

·9· · · · · · · · · JUDGE CAVE:· Okay.

10· · · · · · · · · MR. MUKHI:· Just to be clear, on the

11· ·two what we got was an email summary to legal, and,

12· ·so, you know, we think if there's something similar

13· ·we would have found it and we didn't.· I don't think

14· ·they really have disputed that in their opposition

15· ·and then they throw out some numbers in the

16· ·stipulation but they don't give any specifics, and we

17· ·tried to look into the specifics and didn't see

18· ·anything.

19· · · · · · · · · JUDGE CAVE:· Okay.

20· · · · · · · · · MR. MUKHI:· So, you know, I won't

21· ·belabor it, but there's -- you know, there's other

22· ·potentially helpful takeaways here or more than

23· ·potentially, helpful takeaways here.

24· · · · · · · · · Some are, you know, just about a

25· ·meeting being scheduled.· We're asking for, you know,


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·1· ·pre -- again, we're focused on this -- by this point,

·2· ·clearly conversations are happening, but there's no

·3· ·litigation hold in place until February 4th, and

·4· ·we're not seeing the notes and so that's -- and there

·5· ·really are sort of key to TreeHouse's case here.

·6· · · · · · · · · JUDGE CAVE:· All right.· And what did

·7· ·any of the witnesses who were at these meetings say

·8· ·about whether they took notes or not and what

·9· ·happened to them?

10· · · · · · · · · MR. MUKHI:· Your Honor, I don't know

11· ·if those questions were posed.· So I don't have --

12· · · · · · · · · JUDGE CAVE:· Okay.

13· · · · · · · · · MR. MUKHI:· -- the answer to that.              I

14· ·don't -- I don't know.· I don't -- I'd have to look

15· ·back at that particular question was posed to anyone,

16· ·and I don't believe it's in the record.

17· · · · · · · · · So let's go to the next slide.

18· · · · · · · · · Your Honor asked us this question on

19· ·the prior slides, so I won't get into it again.

20· · · · · · · · · The only thing I can note to one of

21· ·them -- you know, they make a representation of

22· ·Walmart.· There's obviously -- those numbers aren't

23· ·correct because they use one domain name that is not

24· ·Walmart to say they've produced a lot of

25· ·communications with those -- those customers.· So I


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·1· ·think we, otherwise, covered it.

·2· · · · · · · · · So, you know, just to wrap up on

·3· ·Project Charter, the record of meetings that do exist

·4· ·show that TreeHouse had the opportunity to talk with

·5· ·retailers.· Retailers generally tended to stay with

·6· ·TreeHouse.· We think that these meetings are material

·7· ·to show that, you know, their claims about our

·8· ·statements were subject to neutralization and that,

·9· ·you know, that what they allege is purported false

10· ·statements -- we don't think they're false, but also

11· ·they were not material or caused retailers to switch.

12· · · · · · · · · If we go to the next slide, your

13· ·Honor, I'm going to move to Mr. Spratlin, and like I

14· ·mentioned, if we go to the next slide, he -- he is a

15· ·key custodian.· His emails show TreeHouse was -- you

16· ·know, the evidence shows that he was satisfied with

17· ·Rychiger, which are, by in large, in 2016 and 2017.

18· · · · · · · · · So we -- it's key that his email is

19· ·highly relevant.· He's a key player and the testimony

20· ·we got, your Honor, during his deposition is that he

21· ·deleted his sent emails, in particular, until

22· ·instructed to preserve documents in 2017.

23· · · · · · · · · Again, he's a member of Project

24· ·Charter.· He's -- he's on the email that's quoted

25· ·extensively in the Complaint.· His email was


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·1· ·forwarded to Winston in December, and he's not put on

·2· ·hold for three years.

·3· · · · · · · · · So we think that that one is really

·4· ·stark.· If we go to the next -- and we reported his

·5· ·testimony on deleting his sent items, and so what we

·6· ·tried to do -- your Honor asked about our figures and

·7· ·I am going to go through each of them, and if I need

·8· ·to provide more detail, or if I'm providing too much

·9· ·detail, just please let me know.

10· · · · · · · · · But, generally, what we tried to

11· ·do -- some of them were similar, some of them are a

12· ·little different, and the reason why we did that,

13· ·your Honor, is because the data looks a little bit

14· ·different based on what's going on with the person's

15· ·preservation.

16· · · · · · · · · So Mr. Spratlin testified at his

17· ·deposition, like, I'm deleting my sent mails, right,

18· ·so that's going to look a little different than

19· ·someone who's deleting their incoming mails.· And

20· ·it's going to look a little different than someone

21· ·who's not preserving any of their emails.

22· · · · · · · · · So with Mr. Spratlin, these are

23· ·percentages of total email produced.· And so the

24· ·total email produced is the blue, the percentage, and

25· ·then we broke out separately the sent items because


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·1· ·that's what he testified about.

·2· · · · · · · · · He testified that he would save his

·3· ·incoming.· The data doesn't really show that, but if

·4· ·you look at this -- we're going to focus on the sent

·5· ·emails because that's a clean admission.· We really

·6· ·don't get a high percentage of his emails until 2016

·7· ·and we really get them in 2017 when the hold is put

·8· ·in place, and so what we're showing here, your Honor,

·9· ·is the lack of the hold caused the loss.· So when you

10· ·see spikes when a hold is put in place, that's our

11· ·causation argument and --

12· · · · · · · · · JUDGE CAVE:· What is -- what's the

13· ·percent of what?· I don't even understand what the

14· ·comparison is here.· Can you please explain?

15· · · · · · · · · MR. MUKHI:· Yeah, sure.· So of his

16· ·total email produced, let's just focus on the red for

17· ·now.

18· · · · · · · · · JUDGE CAVE:· Okay.

19· · · · · · · · · MR. MUKHI:· I'll just look at 2017.

20· · · · · · · · · JUDGE CAVE:· Okay.

21· · · · · · · · · MR. MUKHI:· So we got, say, you know,

22· ·X number of sent emails from Mr. Spratlin in the

23· ·production.

24· · · · · · · · · JUDGE CAVE:· Uh-huh.

25· · · · · · · · · MR. MUKHI:· Over 60 percent of


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·1· ·those -- of those sent emails, were dated 2017.

·2· · · · · · · · · JUDGE CAVE:· Okay.

·3· · · · · · · · · MR. MUKHI:· And then the blue bars,

·4· ·is we said, okay, where -- that's all emails, so

·5· ·even -- for all email it's pretty close -- for all

·6· ·his email, we got about 60 percent of that is

·7· ·starting in 2017.

·8· · · · · · · · · JUDGE CAVE:· So 100 percent is 2010

·9· ·through 2017?

10· · · · · · · · · MR. MUKHI:· Yes.· That should add up

11· ·to 100 percent.

12· · · · · · · · · JUDGE CAVE:· All right.· That helps.

13· ·Thank you.

14· · · · · · · · · MR. MUKHI:· And so, your Honor, what

15· ·we really tried to do is, as I've said, kind of

16· ·demonstrate why the lack of the hold caused the loss.

17· ·And I think in all our charts -- Mr. Lemieux is a

18· ·little bit different category, I'd say, but for the

19· ·rest of them, you see this big spike when the hold --

20· ·I should say Rothers is different because it never

21· ·gets a hold.· But for several of these you see a big

22· ·spike when the hold comes into play, and that we

23· ·think is significant.

24· · · · · · · · · JUDGE CAVE:· How do we know that it's

25· ·just not -- that whatever the search terms were, he


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·1· ·was using those more in 2016 and 2017 as opposed to

·2· ·earlier periods.

·3· · · · · · · · · MR. MUKHI:· Yeah, I mean we'll get to

·4· ·have some of those charts.· For Mr. Spratlin, I would

·5· ·say, look at their Complaint, that 2013 email, and

·6· ·they say that he was out there trying to get

·7· ·different suppliers in 2013 and they quote it in

·8· ·his -- in the Complaint, that email.· They said it

·9· ·was part of his job.· He's trying to go get machine

10· ·suppliers and he's sending emails like the one we see

11· ·in the Complaint, but -- and he's a member of Project

12· ·Charter, so he's got -- he's got duties related to

13· ·this and look how little we actually get into 2013

14· ·from his files.· So --

15· · · · · · · · · JUDGE CAVE:· Okay.· But if he didn't

16· ·get the litigation hold until 2017 --

17· · · · · · · · · MR. MUKHI:· Yeah.

18· · · · · · · · · JUDGE CAVE:· -- there's a spike in

19· ·2016 before he got the hold.· So that sort of

20· ·undermines your theory that it's caused by the

21· ·implementation of the litigation hold, doesn't it?

22· · · · · · · · · MR. MUKHI:· I think the response to

23· ·that is, your Honor, I understand the question, is

24· ·that if the hold is in January.· So he said he

25· ·regularly deletes his emails, sent emails, it wasn't


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·1· ·that he deleted it every single day or every month

·2· ·even, so we did get some going back to 2016 because

·3· ·the hold is in January of 2017.· So we did -- we did

·4· ·pick some up from the prior year, but it's clear

·5· ·he -- we think based on the data, you know, he's at

·6· ·this point, clearly 2013, there's very little 2014,

·7· ·2015, we get into 2016, yes, we see, you know, 20

·8· ·percent, 30 percent, the hold is put in in January,

·9· ·and I think that's our explanation for that, your

10· ·Honor.

11· · · · · · · · · JUDGE CAVE:· But then I think -- I

12· ·don't have the slide up with his testimony, but

13· ·didn't he say he was deleting his sent mails, not his

14· ·received mails or was he deleting both?

15· · · · · · · · · MR. MUKHI:· Sorry, your honor.· So my

16· ·recollection of what he said about the incoming mails

17· ·is that he would drag them from his inbox to project

18· ·folders or, you know, other, your Honor may have

19· ·them, I have them, those sort of Outlook folders.

20· ·That's an imperfect process, but, you know, that was

21· ·generally his testimony.· So it is really -- we're

22· ·focused on the sent email.· Because the admission

23· ·there is was very clean.· He said he only recalled

24· ·saving one sent email, and it was that email in the

25· ·Complaint during this time frame.


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·1· · · · · · · · · So he's regularly cleaning them out,

·2· ·he doesn't recall saving any specific ones, and, so,

·3· ·you know, we think the data is pretty clear to the

·4· ·extent that he was saying, you know, if it was

·5· ·important, I would save it whether incoming or

·6· ·percent, the data just doesn't support that.

·7· · · · · · · · · JUDGE CAVE:· Right.· But an incoming

·8· ·email might be in response to an email he was sent.

·9· ·So if he saved the incoming email, it would have the

10· ·email that he had sent attached to it.

11· · · · · · · · · MR. MUKHI:· That's right.

12· · · · · · · · · JUDGE CAVE:· Are there any examples

13· ·of that in the production of the supplier email at

14· ·the top and his email that initiated it below it?

15· · · · · · · · · MR. MUKHI:· I don't know, your Honor.

16· · · · · · · · · JUDGE CAVE:· Okay.

17· · · · · · · · · MR. MUKHI:· We haven't identified but

18· ·I mean if you look at 2013 and 2014, it's like barely

19· ·gets up above zero for total emails sent

20· ·percentage-wise.

21· · · · · · · · · JUDGE CAVE:· Right.

22· · · · · · · · · MR. MUKHI:· And so, you know, I

23· ·understand that we have the burden on this.· We've

24· ·done the data analysis and, you know, we think,

25· ·combined with his testimony, combined with the fact


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·1· ·that he doesn't get a hold and he's on Project

·2· ·Charter, I think this one, your Honor, is very clear,

·3· ·and his email is quoted in the Complaint.· This could

·4· ·have been put to bed.· He gets the hold much earlier

·5· ·than three years into the litigation.

·6· · · · · · · · · JUDGE CAVE:· Okay.· Thank you.

·7· · · · · · · · · MR. MUKHI:· Okay.· So let's go to the

·8· ·next slide.

·9· · · · · · · · · So, again, I'm prejudice, I think

10· ·your Honor's questions are going to this a bit,

11· ·somewhat, that is -- you know, they say he's only on

12· ·a single email, but his email is broader and it's --

13· ·he had primarily -- primary responsibility for

14· ·procuring machinery and negotiating with suppliers

15· ·including Rychiger, which they focus on.

16· · · · · · · · · They claim that -- in their brief

17· ·that cure through Mr. Nyhart, Mr. Lemieux, Mr.

18· ·Girona, Mr. -- Ms. Maus, sorry.· But we don't think

19· ·that that cures because in this data, your Honor,

20· ·he's the only custodian on 95 percent of his emails

21· ·with Rychiger, the ones we got in 2016 and 2017, and

22· ·we think that shows he's really unique on this issue.

23· · · · · · · · · We've targeted our -- you know, our

24· ·ask to this issue.· Your Honor, they say he wasn't

25· ·quote mentioned in the Complaint.


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·1· · · · · · · · · And, your Honor, I would just note

·2· ·there's an entire count in the Complaint that's based

·3· ·on this related to R.A. Jones and their Wisconsin law

·4· ·claim is based on R.A. Jones' relationship, which is

·5· ·the subject matter of the same email.

·6· · · · · · · · · So it's more than notable.· It's got

·7· ·other significance, but you know, with that email,

·8· ·and he being on Project Charter, he should have gone

·9· ·in the hole before 2017.

10· · · · · · · · · Your Honor, I'm going to address that

11· ·data for a bit.· So I'll try to be quick.· You know,

12· ·we analyzed TreeHouse's productions by custodian

13· ·using the total number of emails produced.· So we

14· ·didn't use attachments and I'm going to explain why.

15· · · · · · · · · TreeHouse uses attachments, and so we

16· ·think that counting emails is more representative of

17· ·the actual substance of getting from someone, and it

18· ·really goes back to how -- this issue that was before

19· ·your Honor was performed -- I'm going to try to

20· ·explain to you three technical -- give you a

21· ·real-life example, and then just explain, your Honor

22· ·didn't order them to reproduce.· We're not rearguing

23· ·that.· But we think our figures are fair

24· ·representations.

25· · · · · · · · · And so if you go to the next slide,


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·1· ·so this is an example of what -- of the Custodian

·2· ·Other issue that we're trying to correct for in our

·3· ·figures by just using emails.

·4· · · · · · · · · So if you look at this email -- this

·5· ·is a TreeHouse email, so the only person on that

·6· ·email you see highlighted is Robin Borchelt, okay?

·7· ·So TreeHouse produces that email.· There's an

·8· ·attachment to that email.· Your Honor might see it

·9· ·sometimes.· I got a technical explanation for why

10· ·that happens.

11· · · · · · · · · THE REPORTER:· Counsel, we can't hear

12· ·you.

13· · · · · · · · · JUDGE CAVE:· Yeah, you're freezing

14· ·again.

15· · · · · · · · · MR. MUKHI:· How about now?

16· · · · · · · · · (A discussion was held off the

17· · · · · record.)

18· · · · · · · · · MR. MUKHI:· So your Honor, what I was

19· ·saying is sometimes when you send an email from a

20· ·phone, for example, it generates these blank

21· ·attachments, right?· And so the email -- so there are

22· ·two custodian -- the two relevant custodian fields

23· ·for now.· There's the email custodian, so the only --

24· ·when TreeHouse produces this document, they say --

25· ·they identified the email custodian as Robin


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·1· ·Borchelt, that's correct, you can see she's the only

·2· ·email custodian.· But that attachment -- which you

·3· ·can look at the email.· She's the only one who's

·4· ·sending that attachment.· They give credit to 35

·5· ·other custodians for having sent or received that

·6· ·attachment on that email that they never were on.

·7· · · · · · · · · So your Honor asked about

·8· ·Mr. Spratlin and Ms. Clark and their document

·9· ·volumes.· In TreeHouse's count, they're getting

10· ·credit for an attachment to this email for an email

11· ·they never received.· And so you add that up and it's

12· ·a big distortion, so, for example, you know,

13· ·Mr. Spratlin received this attachment, this slide

14· ·attachment about -- I believe it's about 35 times and

15· ·he's getting credit -- yes, he gets this -- he gets

16· ·an email with this attachment 35 times, but in

17· ·TreeHouse's count, he gets credit for 4,000 copies of

18· ·this document as coming from his files.

19· · · · · · · · · So they're saying because Adam

20· ·Spratlin received this once, he gets credit -- I mean

21· ·they're not saying this, this is what the data -- if

22· ·you use their data counts, it -- even though he got

23· ·it once, we're going to give him credit for 4,000

24· ·times because all across of these custodians, this

25· ·same document appeared 4,000 times.


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·1· · · · · · · · · And the same for Judy Clark, she gets

·2· ·it about 63 times but they're giving her credit for,

·3· ·you know, quote, producing it 4,000 times.· So that's

·4· ·the inflation we're trying to correct for, and, so

·5· ·that's what we're doing.· Is that clear, your Honor?

·6· · · · · · · · · JUDGE CAVE:· I understand the

·7· ·distinction.· Thank you.

·8· · · · · · · · · MR. MUKHI:· Okay.· All right.· And

·9· ·then, your Honor, if we go to the next slide.· So,

10· ·you know, you did find, as I mentioned, that ESI

11· ·order did not require the CustodianOther data to be

12· ·reproduced by TreeHouse, that's correct, that the

13· ·burden of compelling them to do that at that stage

14· ·outweighed the benefit with your specific finding but

15· ·we're not rearguing that motion.· All we're saying is

16· ·we think our calculations are fair and accurate and

17· ·we've explained what we've done and your Honor even

18· ·observed, you know, that we were able to deduce

19· ·several custodians when we believed there was

20· ·deficiencies and we're using the same methodology

21· ·today that we used back then.

22· · · · · · · · · So I'm now going to go to the next

23· ·category.· This is the salespeople, so Crawford,

24· ·Moorhead and Rothers.· So if we go to the next slide.

25· ·I'll go through this.· Quickly, this just depicts,


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·1· ·Moorhead and Crawford are responsible for Ahold, Stop

·2· ·& Shop, and Rothers, Kroger, obviously significant

·3· ·damages being claimed based on that as we're here

·4· ·today.· And -- so Moorhead is Crawford's supervisor,

·5· ·so we've depicted that.

·6· · · · · · · · · So we'll start with Crawford, and so

·7· ·this one -- yeah, this one is -- I'll explain, and

·8· ·it's slightly different than the other one.· And this

·9· ·is the issue I was talking about is people save or

10· ·don't save their emails a little differently, and so

11· ·this one, for Ms. Crawford, is more reflective of

12· ·someone who is not deleting their sent emails but

13· ·keeping some of their incoming.· And so, you know,

14· ·that would be someone, for example, you clean out

15· ·your inboxes, things come in, it's dealt with but you

16· ·don't do the same with your sent items, like

17· ·Mr. Spratlin said he did.· And so here, this is a

18· ·percentage, these are raw numbers.· You have the blue

19· ·bar is outgoing and then you have the red bar is

20· ·incoming email and other.· Other is calendar

21· ·contacts, that type of thing.· And what you see, your

22· ·Honor, is that prior to the lit hold, your Honor

23· ·pointed out there's a little bit of lag that goes

24· ·into 2016, like Spratlin, but really when you get the

25· ·spike, okay, this looks like an ordinary person's


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·1· ·inbox with the mix of sent and the incoming and most

·2· ·people are receiving more incoming than sending, you

·3· ·see that in 2017, and, again when do you see the

·4· ·spike?· When the hold is put in place.· And so that's

·5· ·what we're showing with the data.· If we go to the

·6· ·next slide, unless your Honor has any questions, you

·7· ·know, she testified she's the primary point of

·8· ·contact with Ahold.· We think that, you know, the

·9· ·evidence is favorable to us outside of that in the

10· ·motion, in the evidence we do have.

11· · · · · · · · · If we go to the next slide, this is

12· ·Mr. Moorhead, so this is her supervisor and the

13· ·problem is, your Honor, is that the evidence shows,

14· ·the data shows, that his email was also not saved,

15· ·and, so he gets a litigation hold sent in March 2017,

16· ·okay?

17· · · · · · · · · And so what this reflects, your

18· ·Honor -- and this goes to one of your earlier

19· ·questions, and we tried to address it where we were

20· ·able to make sense is how do we know is this person

21· ·just not a big e-mailer, like, did he only have 38,

22· ·Mr. Moorhead, relevant emails in 2011.

23· · · · · · · · · So what we did here is side by side,

24· ·you see on the left side that that's what we're

25· ·getting from his -- his side, his custodial emails,


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·1· ·Mr. Moorhead, so 38, but what are we getting from

·2· ·other people?· What are we see in other people's

·3· ·boxes?· Is he copied and we're getting from people

·4· ·whose documents were preserved.· And the answer is

·5· ·yes.· There should be a lot more in there because

·6· ·he's e-mailing a lot.· We're just not getting it from

·7· ·his files.· So that's the comparison between the red

·8· ·and the blue, and you'll see this chart a couple of

·9· ·different times for the different custodians, and,

10· ·really, the key point is if you look at when the hold

11· ·was sent, again, it's March 2017, you see the red

12· ·line and the blue line converge.· They'll never be

13· ·exact, and that's because of that MD5 hash issue that

14· ·Ms. Newton went into which I won't dare to retread,

15· ·but if there's preservation -- good preservation,

16· ·they should be close to each other, and we only see

17· ·that for Mr. Moorhead once the hold is put in place,

18· ·and so we'll come back -- let's do that again later

19· ·but that's what we're showing with these charts.

20· · · · · · · · · If we go to the next slide, why is

21· ·there prejudice and no cure.· They cite Mr. Overly,

22· ·Mr. Baker, Mr. Kelly, Mr. Lemieux, we looked at this,

23· ·Moorhead and Crawford, they're the only custodians on

24· ·52 percent of their emails with Ahold, and, so, we

25· ·think that's significant because that shows they're


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·1· ·unique, right, they point to only about 5 percent of

·2· ·his emails, he's the only custodian with Ahold;

·3· ·Baker, 3 percent, and Kelly with 1.3 percent and

·4· ·Lemieux only 4.· So we don't think they cure.

·5· · · · · · · · · If we go to the next slide, Mr.

·6· ·Rothers, so this is similar to the last one we looked

·7· ·at.

·8· · · · · · · · · The only thing I would point out,

·9· ·your Honor, is he left in 2014, and, so you really

10· ·have to look at the period before he leaves.

11· · · · · · · · · He had what I guess I would call a

12· ·ghost inbox after he left.· So he was receiving like

13· ·ListServe emails and spam and the like.· But we think

14· ·that really, when you look at this, you focus on

15· ·before he left the company in October, and, again,

16· ·you see that -- sorry -- that huge gap between the

17· ·red and the blue.· And that's the lack of

18· ·preservation that's going on.

19· · · · · · · · · And, so, unless your Honor has any

20· ·further questions on that, I'll move to the next

21· ·slide.

22· · · · · · · · · JUDGE CAVE:· I would just say we're

23· ·closing in on an hour with you, and I'm just mindful

24· ·of making sure that everybody has a chance to speak,

25· ·so...


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·1· · · · · · · · · MR. MUKHI:· Yes, your Honor, so I

·2· ·won't belabor the laptop issue.

·3· · · · · · · · · We've got -- you know, we got a

·4· ·letter -- we asked about the laptop.· We first got a

·5· ·letter that they did not lose their discard and then

·6· ·we got they don't have a copy of it.· We still don't

·7· ·understand the explanation.· We never got it is the

·8· ·point.

·9· · · · · · · · · If you go to the next slide, you

10· ·know, they say we never agreed to produce his laptop.

11· ·Your Honor can look at the correspondence.· I won't

12· ·belabor it.· You know, they send a letter saying

13· ·we're willing to produce this email.· We understood

14· ·that.· We put that back to them and said, you know,

15· ·we'll produce 12 custodians based on understanding

16· ·you're producing four full custodians.· We sent that

17· ·after they sent their email.· So it was clear what

18· ·our understanding was, and we relied on that to

19· ·produce 12 custodians, and so, you know, it's clear

20· ·what our understanding was and they didn't correct it

21· ·until we pointed out we didn't have the laptop.

22· · · · · · · · · Next slide.

23· · · · · · · · · So, your Honor, we -- we do think

24· ·that his emails would have been helpful.· They say,

25· ·you know, his responsibilities, Mr. Rothers are


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·1· ·really winding down.· They don't cite any evidence

·2· ·and if you actually look at the Klawon declaration,

·3· ·which they put together with Ms. Klawon.· She's a

·4· ·Kroger former employee, they talk about direct

·5· ·communications between Rothers and Klawon in the same

·6· ·time frame, April -- sorry, March 2014 through

·7· ·August, and they say their key alleged conversations.

·8· ·So we think it's clear he's active with Kroger

·9· ·through the summer of 2014.

10· · · · · · · · · Next slide.

11· · · · · · · · · You know, on Baker, I would just

12· ·say -- because you asked a question, we don't think

13· ·he cures -- he's the supervisor for Rothers but just

14· ·in the interest of time, I would say key fact, the

15· ·last bullet there, Mr. Rothers' replacement, she's

16· ·the only custodian on 95.5 percent of Kroger emails,

17· ·and so that shows the person in that role is the one

18· ·having the primary contact.

19· · · · · · · · · Mr. Overly they also cite to, he's

20· ·the chief customer officer and the only testimony

21· ·they cite is that he had conversations with Kroger

22· ·regarding the 2.0, not general responsibilities for

23· ·being the Kroger contact.

24· · · · · · · · · Next slide.

25· · · · · · · · · So I'll go through these next few


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·1· ·because I also have JBR, your Honor.· I'll go through

·2· ·these quickly.

·3· · · · · · · · · Ms. Clark, I would say, next slide,

·4· ·you know, they say she's just condiments.· That's not

·5· ·fair, your Honor.· She turned to condiments in the

·6· ·summer -- I'm sorry -- in the summer of 2015, and

·7· ·prior to that, she's away from home, including Office

·8· ·Coffee, which they have alleged claims about, she's a

·9· ·member of Project Charter.· Project Charter is not

10· ·condiments, and so she is a key player.

11· · · · · · · · · If we go to the next slide, you know,

12· ·this is another chart and -- (audio breaks up.)

13· · · · · · · · · (A discussion was held off the

14· · · · · record.)

15· · · · · · · · · (A brief recess was taken.)

16· · · · · · · · · MR. MUKHI:· So your Honor, I talked

17· ·about --

18· · · · · · · · · JUDGE CAVE:· Let me just confirm --

19· ·can we go back on the record?

20· · · · · · · · · MR. MUKHI:· So your Honor, are we

21· ·back on?· Okay.· Great.

22· · · · · · · · · And so, your Honor, this is one of

23· ·those charts again, I think that key is you get the

24· ·spike once the hold is sent in 2016, you see the more

25· ·normal mix of emails from Ms. Clark, and we don't


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·1· ·think that the Keurig arguments, we address them in

·2· ·our brief, but -- work -- they took place with Mr.

·3· ·Spector, but Ms. Clark replaced him.· Mr. Powered was

·4· ·now placed on hold in 2017.· Ms. Borchelt left the

·5· ·role that they're relying in the summer of 2015, so

·6· ·not complete overlap there and Mr. Whoriskey was very

·7· ·narrowly focused within away from home.· And so we

·8· ·think, you know, just to wrap up with Ms. Clark, you

·9· ·know, she's unique.· She was a -- you see this in the

10· ·brief, she raised concerns about the lack of

11· ·resources that were being put towards away from home.

12· ·We think that's significant because we think

13· ·TreeHouse's claims about being foreclosed or, you

14· ·know, the addresses they have are not correct.

15· · · · · · · · · They didn't complete, and, so, she's

16· ·a very unique person, and they call her Cry Wolf.· We

17· ·think that she was right to cry Wolf, that they

18· ·weren't dedicating enough resources to away from

19· ·home.

20· · · · · · · · · Mr. Lemieux, I'll go through quickly.

21· ·You know, I think it's undisputed he's a key player.

22· ·So I won't spend a lot of time on it.· The only thing

23· ·I would say is we think the evidence that was

24· ·produced shows on the plants with respect to him,

25· ·barriers to entry, there weren't high barriers of


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·1· ·entry to ask what was delayed, and it was really

·2· ·TreeHouse's own consumer testing that caused any

·3· ·purported delay.

·4· · · · · · · · · And you know, what's different about

·5· ·Mr. Lemieux is that he's put on the hold in February

·6· ·of 2014.· We still say that's too late, but he was --

·7· ·he was put on hold in this litigation, I should say,

·8· ·in February of 2014, but he was on a -- according to

·9· ·TreeHouse on a separate hold for Sturm at the time

10· ·the Complaint was filed.· And so, you know, what we

11· ·pointed out was, okay, if he's -- was on hold

12· ·continuously, then we should get his emails going

13· ·back from that period and we didn't see any of that.

14· ·We didn't see a lot of that, and that's the same

15· ·chart, that gap that I've been talking about.· You

16· ·see it especially in the pre-2014 period, and, you

17· ·know, we -- we pointed this out and what they said

18· ·was he was on continuous hold.· So we allowed their

19· ·emails.· They said we complied with our obligations,

20· ·and then they said, you know, well, we could give you

21· ·Sturm, his production for Sturm, but only if you

22· ·waive all your rights to make any arguments on

23· ·spoliation.· And we said we don't know what it is, we

24· ·don't how many there are, give it to us, we'll

25· ·consider it in good faith and, you know, if it cures


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·1· ·then we don't have an issue but they wouldn't give it

·2· ·to us and without that advanced waiver we couldn't

·3· ·even look at it, and it really kind of boxed us into

·4· ·the corner of making this motion and, you know, it

·5· ·just compares, it's night and day with what you heard

·6· ·from Ms. Newton about the efforts that Keurig was

·7· ·taking when issues were raised, imperfections in

·8· ·discovery and technology.· I've had a few

·9· ·imperfections in technology today.· They happen.· And

10· ·the key I think you need to look at and you have the

11· ·correspondence is, you know, which side is being

12· ·cooperative, which one is trying to solve issues to

13· ·cure and taking it seriously.· You know, I think

14· ·Ms. Newton, you know, laid that out in detail and it

15· ·was very compelling and we didn't see that from the

16· ·other side.· All we heard back from TreeHouse is,

17· ·you're raising distractions.· I think we'll hear

18· ·probably some of that today.· We're not raising

19· ·distractions.· We identified real issues and we

20· ·wanted to cure where there were issues and they said

21· ·no, we won't unless you waive all your rights and we

22· ·just don't think that's how parties should behave in

23· ·big ticket litigation.

24· · · · · · · · · And on the cure point with Mr. --

25· ·Mr. Lemieux, we don't think that the ones they point


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·1· ·to cure -- one is not a custodian, some did not work

·2· ·for Sturm in 2019, limited roles for others.

·3· · · · · · · · · So, your Honor, I'm about to wrap up

·4· ·on TreeHouse.· But before I do, I just thought I

·5· ·would compare the two motions because I'm sure your

·6· ·Honor's thinking about, you know, these competing

·7· ·motions, are folks being consistent.

·8· · · · · · · · · We've endeavored really hard to be

·9· ·consistent and you heard that on the elements with

10· ·we're holding ourselves to the burden that they say

11· ·they should be held to, we're not switching it up.

12· ·We think on our motion you just saw, we used data

13· ·analysis, testimony, other evidence to show that it's

14· ·unique TreeHouse data missing.

15· · · · · · · · · We think, as you heard from

16· ·Ms. Newton, there was speculation and unsupported

17· ·inferences of unique data loss.· We saw examples that

18· ·Ms. Newton showed you that are just inaccurate.

19· · · · · · · · · Trying to emphasize that today.· We

20· ·really said, look, here's when the hold is put in

21· ·place.· Look at what happens before that.· That's our

22· ·evidence of causation to the hold, the unreasonable

23· ·step is you didn't issue a hold.

24· · · · · · · · · The day we don't think showed any

25· ·causation based on a failure to issue the hold or any


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·1· ·unreasonable step by Keurig.

·2· · · · · · · · · We went through the evidence --

·3· ·specifics why was it favorable to us?· What's missing

·4· ·for it to be favorable?· And then we really tried to

·5· ·tie our relief to the minimum necessary to cure the

·6· ·prejudice and to the loss.· That's what we were

·7· ·looking at, the loss, how does it tie, and we don't

·8· ·think they did so on the other side.

·9· · · · · · · · · And I would just note, you know, they

10· ·give themselves a lot of credit in their opposition

11· ·to our motion.· They say we sent out 21 holds in

12· ·February, a week before the Complaint.· Your Honor,

13· ·we sent out 430 in February, a week after the

14· ·Complaint, because we didn't know they were going to

15· ·sue -- six days, I should say.

16· · · · · · · · · JUDGE CAVE:· It's also apples and

17· ·oranges, so let's try to wrap things up.

18· · · · · · · · · MR. MUKHI:· You know, just

19· ·respectfully, your Honor, if it's apples and oranges

20· ·it's not because they're different sized companies.

21· ·It's not because Keurig's at that time a bigger

22· ·company.

23· · · · · · · · · Yes, we focus on different things.

24· ·We focus on single serve if that's your point, but

25· ·it's not that Keurig was a much bigger company than


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·1· ·TreeHouse.

·2· · · · · · · · · And then I would just say, you know,

·3· ·they talk about, you know, we did a lot during the --

·4· ·during the stay, and your Honor, I would just point

·5· ·out in their brief and opposition, they say, you

·6· ·know, consider the practicalities if this is a

·7· ·complex antitrust litigation where there's a

·8· ·discovery stay for three years, they say that, but

·9· ·what -- and they say that on defense.· When they're

10· ·filing their motion, they don't recognize that a lot

11· ·of the things they're complaining about during that

12· ·same time frame that Ms. Newton went through.· And we

13· ·did do a lot.· You know, they did issue a hold in

14· ·2017 and 2018.· That's correct.· We issued 2016 more

15· ·than 200%.

16· · · · · · · · · Your Honor, I won't cover the

17· ·remedies unless you have any questions.· They're in

18· ·our brief.· I would just say, you know, on costs they

19· ·have a throwaway at the end that they should get, you

20· ·know, not only costs on that other motion, which I

21· ·think is completely unjustified.· They just throw

22· ·away at the end of the brief.· They give us costs on

23· ·this motion, too.· Your Honor dealt with this in

24· ·Raymond.· But there was no legal support for that

25· ·type of claim.· You said there's no legal support.


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·1· ·I'm not going to entertain it.· You should do that

·2· ·here.· They don't cite anything -- and I just note,

·3· ·your Honor, there's a time when TreeHouse threatened

·4· ·to seek fees on motions, including on motions where

·5· ·we ultimately won and they're only seeking as a last

·6· ·resort.· And really keys to that cooperation point

·7· ·that I went to.

·8· · · · · · · · · So I am done with TreeHouse.· Would

·9· ·you like me to stop here or --

10· · · · · · · · · JUDGE CAVE:· No, why don't you go

11· ·ahead and let's just do very briefly on JBR?

12· · · · · · · · · MR. MUKHI:· I'll be brief.

13· · · · · · · · · So your Honor is familiar with the

14· ·Complaint.· It's the key meeting we -- this motion is

15· ·focused upon.· This is the timeline that -- the thing

16· ·I would just point out it's in our brief.· They did

17· ·anticipate litigation by January 31st.· They say

18· ·there's a privilege discussion and a priv log of

19· ·antitrust litigation on that same day.

20· · · · · · · · · So we think duty to preserve clearly

21· ·attached.· You know, he testified he would have

22· ·thrown them away.· He didn't think he received a lit

23· ·hold, you know, one thing on the right-hand side, he

24· ·said, you know, we've been talking a lot about the

25· ·seriousness of -- how serious Keurig took its


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·1· ·preservation.· JBR one of the heads of the company

·2· ·says he would have thrown out handwritten notes five

·3· ·years into the case.· He could not recall the

·4· ·meeting, Mr. Rogers was the only attendee for Costco.

·5· · · · · · · · · Your Honor asked about our

·6· ·questioning of Costco so I'll address that.· So

·7· ·that's at the bottom of the slide, so the left

·8· ·actually the plaintiffs asked.· To the right is what

·9· ·we asked.· So if you remember the key claim out of

10· ·that meeting is that they -- JBR was told by Costco

11· ·that they're not going to expand because of the 2.0,

12· ·and so that's the substance.· We asked about the

13· ·substance any recollection of Costco not expanding or

14· ·stop selling, however you describe it, JBR based on

15· ·the 2.0, no recollection.

16· · · · · · · · · If your Honor's question about

17· ·January 31st, we didn't ask the follow-up question,

18· ·you know, do you recall what you don't recall

19· ·happening at the January 31st meeting?· We didn't ask

20· ·specifically on January 31st, but we did ask about

21· ·the substance at that point.

22· · · · · · · · · JUDGE CAVE:· And does Keurig dispute

23· ·that the January 31st meeting took place or is it we

24· ·know that it took place, we just don't have any

25· ·evidence of what was said?


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·1· · · · · · · · · MR. MUKHI:· Your Honor, it looks like

·2· ·it took place.

·3· · · · · · · · · JUDGE CAVE:· Okay.

·4· · · · · · · · · MR. MUKHI:· But we have no record of

·5· ·what happened.· No one -- I should say this.· It was

·6· ·scheduled.· That's what it looks like from the emails

·7· ·and then no one has a recollection of it.· So

·8· ·whether, you know, it took place and everyone forgot

·9· ·what happened or it never took place, I think we

10· ·don't know without -- you know, we don't know because

11· ·of the lack of preservation.

12· · · · · · · · · JUDGE CAVE:· Okay.· And there's no --

13· · · · · · · · · MR. JOHNSON:· Your Honor.

14· · · · · · · · · JUDGE CAVE:· You're going to have

15· ·tons of time, Mr. Johnson.

16· · · · · · · · · MR. JOHNSON:· No, I could make mine

17· ·very short and if I could respond directly now, it

18· ·would save you some time for you tomorrow.

19· · · · · · · · · JUDGE CAVE:· Okay.· One minute.

20· · · · · · · · · MR. JOHNSON:· One minute.· Number

21· ·one, there is extensive knowledge about what took

22· ·place on January 31.· It was in a declaration by

23· ·Mr. Sirena in the preliminary injunction.· It was

24· ·also described in detail by John Rogers during the

25· ·same preliminary injunction in the declaration.· We


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·1· ·then have a series of 20 emails, many of which came

·2· ·from Costco, where they described not only the

·3· ·discussion but specifically said that they were not

·4· ·going to use unlicensed pods, A, and B, that Rogers

·5· ·was going to have to put stickers on its boxes if it

·6· ·wanted to continue to do business.

·7· · · · · · · · · Now, I have those emails.· It is

·8· ·interesting that after all the piety displayed by

·9· ·Keurig about how honest they are, they failed to tell

10· ·the Court that they did not identify any of those

11· ·emails.

12· · · · · · · · · Also, you'll notice he said that Jim

13· ·Rogers couldn't remember.· But what he didn't tell

14· ·you was they didn't bother to follow normal

15· ·litigation practice and ask him follow-up questions.

16· ·They had the emails.· They didn't show him one of

17· ·them.

18· · · · · · · · · JUDGE CAVE:· Okay.

19· · · · · · · · · MR. JOHNSON:· But yet, they -- all

20· ·right?· I mean I'll go through this more detail

21· ·tomorrow.· I'll take my minute but I can tell you I

22· ·wonder why it is they didn't bother to do that while

23· ·they came to tell you how honest they are.

24· · · · · · · · · JUDGE CAVE:· Let's try to reframe

25· ·from impugning attorneys during this hearing.


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·1· ·Everybody is working very hard.· Everyone is tired at

·2· ·the end of the day.· Everyone is tired of this

·3· ·litigation.· So let's try to avoid impugning people.

·4· ·All right.

·5· · · · · · · · · Mr. Mukhi, I think you were

·6· ·interrupted.· Anything you want to close out with?

·7· · · · · · · · · MR. MUKHI:· Yeah, I'm actually going

·8· ·to get to the emails.

·9· · · · · · · · · So we did pursue discovery, document

10· ·requests, I won't belabor these Interrogatories that

11· ·also would have called for this.

12· · · · · · · · · So we talked about, you know, the

13· ·over 20 documents I think they referred -- I think

14· ·Mr. Johnson just referred to them now.· Your Honor

15· ·will decide whether to consider them.· But this is

16· ·what -- it's actually 23.· So I'll give Mr. Johnson

17· ·more credit than he gave himself.· So it's 23.· 12

18· ·are -- 12 of the 23 are scheduling emails, so you can

19· ·look -- we cited the record there and gave you a

20· ·quote.· Then there are five emails, that's part of

21· ·their 23.· All those are JBR sending emails to Costco

22· ·about TreeHouse's Complaint.· There's nothing about

23· ·the meeting.· Two are not with Costco but with a

24· ·different company before the meeting.· One is an

25· ·internal Costco email that does not reflect what was


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·1· ·said at the meeting.· If there was a question can you

·2· ·share what was discussed and the response is:· I will

·3· ·call you.· And then there's one internal Costco email

·4· ·before the meeting that

·5·      .

·6· · · · · · · · · So that's -- I actually covered 21 of

·7· ·the 23.· This is 22.· I think actually, you know,

·8· ·contradicts their allegation in the Complaint.· If

·9· ·you look at the context of this email, it's about the

10· ·2.0, the bottom email on the left.· And what Jim

11· ·Rogers said to others internally is I don't think

12· ·this impacts us, meaning the 2.0.· So that's

13· ·different than what they allege happened, very

14· ·different than what they alleged happen at the

15· ·January -- or what was communicated at the January

16· ·31st meeting.· And then the final one -- this is the

17· ·23rd is from November, so it's months before, and,

18· ·you know, there's no -- it says what is their

19· ·position about the announcement?· There's nothing

20· ·about the substance that we see.

21· · · · · · · · · So I think I addressed all 20 and

22· ·then I would just -- you know, this is what we've

23· ·sought as the relief.· I would just wind up, your

24· ·Honor, by just saying where we started, which is, you

25· ·know, we think we've shown that there's real loss,


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·1· ·that it was caused by failures to preserve, that

·2· ·there's prejudice that we've met our burden to show

·3· ·and that, you know, we've really tried -- and it's

·4· ·not irreplaceable, I should add, from other sources

·5· ·because that's important and that we've met our

·6· ·burden and that the relief we're seeking is

·7· ·appropriate to the loss and the prejudice.

·8· · · · · · · · · So thank you, your Honor.· I know I

·9· ·went long.

10· · · · · · · · · JUDGE CAVE:· That's okay.· Okay.

11· ·Thank you, Mr. Mukhi.

12· · · · · · · · · All right.· Mr. Badini, do you want

13· ·to please go ahead and get started?

14· · · · · · · · · MR. BADINI:· Whatever your pleasure

15· ·is, your Honor.

16· · · · · · · · · JUDGE CAVE:· We'll give you at least

17· ·a half an hour.

18· · · · · · · · · MR. BADINI:· Thank you, your Honor.

19· ·Can I hear me okay?

20· · · · · · · · · JUDGE CAVE:· I can.· I can't see you.

21· · · · · · · · · MR. BADINI:· I'm sorry.· Now can you

22· ·see me.

23· · · · · · · · · JUDGE CAVE:· Now I can see.

24· · · · · · · · · MR. BADINI:· And Ms. Fitzgerald will

25· ·be helping me with the slides.· Are you ready,


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·1· ·Ms. Fitzgerald.

·2· · · · · · · · · MS. FITZGERALD.· Yes.

·3· · · · · · · · · MR. MUKHI:· Can we put our cover

·4· ·slide up, please?· Thank you, your Honor, for your

·5· ·indulgence in what's been a long day.

·6· · · · · · · · · I will try to be brief, although I

·7· ·can't promise I'll succeed, but I'll do my best.

·8· · · · · · · · · Some of my thunder was stolen by your

·9· ·questions so I'm hoping I can skip some slides.

10· · · · · · · · · I considered Keurig's motion to be

11· ·something I called water by baptism.· Yes, you say we

12· ·spoliated but what about what you did or did not do.

13· ·And I still continue to think that is what the motion

14· ·is all about.· Although Ms. Newton used a better

15· ·phrase today.· She was referring to a different

16· ·topic.· She was referring to transactional data, but

17· ·she said that, you know, people in glasshouses

18· ·shouldn't throw stones.

19· · · · · · · · · I think that when you hear our

20· ·presentation, you will conclude that we are not in a

21· ·glasshouse, that the hoped-for conclusion that Keurig

22· ·may have that you may throw up your hands and say,

23· ·well, everybody did the same thing so no sanctions

24· ·are warranted against anyone would not be the just

25· ·conclusion.· And I will demonstrate that Keurig's


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·1· ·motion has no basis in the facts and will law.

·2· · · · · · · · · So with that, let's get started.· Go

·3· ·to the next slide, please.

·4· · · · · · · · · I'm not going to belabor this because

·5· ·you know the rule, your Honor, but I'm just putting

·6· ·this up because this is how I structured my argument.

·7· ·As Mr. Mukhi admitted, they're only moving under

·8· ·37(e) and there are three parts to that, loss of the

·9· ·information, which is where I'll start, prejudice and

10· ·the remedy.· And I will -- I will cover both -- all

11· ·three in that order.

12· · · · · · · · · 37(e) 2 is not at issue except in

13· ·this respect:· They claim that they have a very

14· ·targeted set of remedies and our submission that the

15· ·remedies they propose are more severe under anything

16· ·I've seen under many 37(e)(2) cases, never mind

17· ·37(e)(1).

18· · · · · · · · · So next slide, please.· We've talked

19· ·about this.

20· · · · · · · · · Next slide.

21· · · · · · · · · Let's started with the loss of

22· ·information.· Next slide, please.

23· · · · · · · · · I'm not going to read this, but I

24· ·will tell you that in their brief they, basically,

25· ·complained about one thing, allegedly litigation


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·1· ·holds, and today, I heard Keurig's counsel talk about

·2· ·one thing allegedly late litigation holds.· That's

·3· ·what their whole motion is about with one exception,

·4· ·the so-called missing computer or the so-called

·5· ·spoliated computer, which I'll -- which I'll get to.

·6· ·But this is all about litigation holds and so that's

·7· ·where I will focus the bulk of my discussion.

·8· · · · · · · · · Next slide, please.

·9· · · · · · · · · So here are the facts about the

10· ·TreeHouse holds.· We issued holds specific to this

11· ·case, to 99 employees, and as counsel conceded, 21 of

12· ·those were issued before the initial Complaint was

13· ·filed.· I think I also heard an admission that many

14· ·of those employees were already subject to a hold

15· ·from the Sturm litigation, and I just took an example

16· ·here and put it on this slide.

17· · · · · · · · · This is what Keurig says about

18· ·Mr. Lemieux in their brief.· He was under a separate

19· ·litigation hold dating to 2010 that covered subject

20· ·matter overlapping with this case.· And in addition,

21· ·he admits that he received a hold in this case before

22· ·the Complaint was filed.

23· · · · · · · · · Now, next slide, please.

24· · · · · · · · · How do these holds compare with

25· ·Keurig's holds?· I think you saw an attempt to


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·1· ·compare them from Keurig's counsel.

·2· · · · · · · · · As I said, we've issued the initial

·3· ·hold seven days before the Complaint was filed.

·4· ·Just -- I pulled out a couple of examples of the

·5· ·holds they did or did not issue.· But Keurig's CEO,

·6· ·who they admit was the executive who decided to sue

·7· ·Sturm, was never given been a litigation hold, and

·8· ·Suzanne DuLong, who is named by name in the TreeHouse

·9· ·Complaint did not receive a hold until March 2016 and

10· ·in the Keurig versus Sturm case where they were the

11· ·plaintiffs and you heard that, you know, a plaintiff

12· ·obviously knows they're going to sue before they file

13· ·the Complaint.· That Keurig case is at issue in this

14· ·case and they didn't issue any litigation holds until

15· ·more than two weeks after filing the Complaint.· The

16· ·cite for that is on the slide.

17· · · · · · · · · So if their practice on holds is the

18· ·gold standard, I submit that we more than exceeded

19· ·the standard.· And who gets the hold, which custodian

20· ·gets the hold?

21· · · · · · · · · JUDGE CAVE:· Can I stop you for a

22· ·second, Mr. Badini?

23· · · · · · · · · MR. BADINI:· Yeah, sure.

24· · · · · · · · · JUDGE CAVE:· How do you explain that

25· ·I think it was October 26, 2013 is the first document


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·1· ·over which you assert work product protection which

·2· ·only comes when you're anticipating litigation, how

·3· ·do you resolve that discrepancy?

·4· · · · · · · · · MR. BADINI:· Your Honor,

·5· ·respectfully, it's not a discrepancy.

·6· · · · · · · · · First of all, I think that was one of

·7· ·your questions, and we do not continue to assert to

·8· ·work product assertion over that document.

·9· · · · · · · · · But even if we did, your Honor, it's

10· ·the wrong litigation.· It is the wrong litigation.

11· ·That was a document where Foley & Lardner was named

12· ·as the counsel.· It was in anticipation of a defense

13· ·of a litigation that TreeHouse believed Keurig would

14· ·bring and Keurig hasn't even claimed, because there

15· ·is no colorful claim, that any of the facts or issues

16· ·in that defensive litigation would have been the same

17· ·as the issues in this case.· I've got a slide on this

18· ·later but since you've asked -- they always tell me

19· ·to answer the judge's question right away.· There are

20· ·only two claims that I could think of from Keurig

21· ·that that would relate to:· One, an intellectual

22· ·property dispute over the fact that we were reverse

23· ·engineering the ink that they said was proprietary.

24· ·That has nothing to do with this case because they

25· ·haven't accused us.· They don't have any


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·1· ·counterclaims against us.· They haven't accused us of

·2· ·copying the ink, which, in any event, the patent was

·3· ·held by a third party, not Keurig.

·4· · · · · · · · · The other possibility was that they

·5· ·would accuse us of false advertising for claiming

·6· ·that our pods were compatible with the 2.0.

·7· ·Remember, they accused us of false advertising in the

·8· ·Keurig v. Sturm case for saying that the initial pods

·9· ·were compatible with the Keurig 1.0 brewer.· So it

10· ·was a perfectly legitimate expectation that our

11· ·client had.

12· · · · · · · · · So the answer is:· We're not

13· ·asserting that work product anymore.· But even if we

14· ·were, it's the wrong litigation.

15· · · · · · · · · JUDGE CAVE:· Okay.

16· · · · · · · · · MR. BADINI:· It's the defensive

17· ·litigation involving IP and false advertising issues.

18· · · · · · · · · JUDGE CAVE:· Okay.· Thank you.

19· · · · · · · · · MR. BADINI:· Thank you.· The next

20· ·slide --

21· · · · · · · · · JUDGE CAVE:· You were going to go to

22· ·your next slide.

23· · · · · · · · · MR. BADINI:· Next slide, please.· I'm

24· ·losing my voice and I haven't even been talking

25· ·today.


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·1· · · · · · · · · These are the -- an example we issued

·2· ·a lot of holds, but these are an example of the holds

·3· ·that we issued at the time or shortly before the

·4· ·Complaint was filed.

·5· · · · · · · · · You'll see these are supervisors,

·6· ·Craig Lemieux, senior vice president, Steve Foster

·7· ·who is the head of the Walmart team and Harry Overly.

·8· · · · · · · · · Next slide, please.

·9· · · · · · · · · Similarly, in grocery and dollar and

10· ·you asked a question about Bob Baker that this sort

11· ·of anticipates the answer to.· He is the head of

12· ·sales.· He's the vice president of sales and you can

13· ·see beneath him, Tom Rothers reports to Bob Baker.

14· · · · · · · · · Now, what did Keurig do?· Let's --

15· ·let's look at the next slide, please.

16· · · · · · · · · We've circled on this slide the folks

17· ·that they named custodians that they argued that

18· ·document we got from those folks would be sufficient.

19· ·We didn't need any of the additional salespeople that

20· ·were beneath these individuals.· That included Tina

21· ·Lathrup, Tom Tate and Dan Cignarella.· And if you

22· ·look to the left of Dan Cignarella, there's an

23· ·individual named Liz Brazil, sales coordinator.· She

24· ·appears on this org chart to be at the same level as

25· ·Dan Cignarella, but what position did Keurig take


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·1· ·about producing documents from Liz Brazil?

·2· · · · · · · · · Let's take a look at the next slide,

·3· ·please.

·4· · · · · · · · · They resisted hour attempt to get

·5· ·documents from her.· They say Ms. Brazil directly

·6· ·reported to two custodians, Dan Cignarella and Tom

·7· ·Tate and indirectly reported to a third custodian,

·8· ·Dave Manly, during the relevant time period.

·9· · · · · · · · · Keurig believes that information

10· ·pertaining to TreeHouse's Grove Square portion packs,

11· ·if received by Ms. Brazil, would have been

12· ·communicated to her superiors.· The next quote says

13· ·largely the same thing.

14· · · · · · · · · So that was our practice with respect

15· ·to the holds.· But he's the most important point,

16· ·your Honor, and I'd like to leave you with this.· I'm

17· ·glad I'm leaving you with this before the evening is

18· ·over:· Our practice with respect to getting the

19· ·litigation hold is not the main reason or the only

20· ·reason why Keurig cannot show that any data was lost.

21· ·The main reason, which we say is really dispositive

22· ·of Keurig's motion, is that the TreeHouse litigation

23· ·holds were belt and suspenders.

24· · · · · · · · · Let's take a look at the next slide.

25· · · · · · · · · There are at least three things that


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·1· ·TreeHouse did to make sure that it was a responsible

·2· ·corporate citizen in this litigation, maintaining the

·3· ·documents it should maintain.

·4· · · · · · · · · First, it had a published document

·5· ·retention policy which goes way back.· It goes beyond

·6· ·this litigation, that employees were to save

·7· ·documents they believed were relevant even in the

·8· ·absence of a litigation hold.

·9· · · · · · · · · Second, and I -- you know -- I want

10· ·to emphasize this one.· TreeHouse testified that the

11· ·emails of every -- every TreeHouse employee were

12· ·archived with Enterprise Vault beginning in September

13· ·2013, before Keurig alleges any preservation

14· ·obligation attached.

15· · · · · · · · · And third -- and you asked questions

16· ·about this as well -- and I'll get to specifics

17· ·later, as for nonemail, it's undisputed that we

18· ·undertook a hard drive collection early which was

19· ·supplemented later as more custodians were added.

20· · · · · · · · · Next slide, please.

21· · · · · · · · · This is our 30(b)(6) witness on

22· ·document retention.· And he was very clear -- and

23· ·we've highlighted the testimony.· This is ECF-1342.

24· ·Anybody who is involved in the litigation was asked

25· ·to retain their documents.· My laptop and others


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·1· ·involved were scanned several times.

·2· · · · · · · · · They took the document retention very

·3· ·seriously, particularly for litigation, and in our

·4· ·whole document retention policy, no files were ever

·5· ·deleted.· There's no limits on how much email we can

·6· ·hold.· There's no constraints as to what, you know,

·7· ·there were no limitations as to how much information

·8· ·you can have.

·9· · · · · · · · · And here's a key sentence that blows

10· ·up their entire motion:· So if I tried to delete or

11· ·anyone tried to delete an email, it was still

12· ·retained in TreeHouse's Enterprise Vault system.

13· · · · · · · · · You heard extensive argument about

14· ·Mr. Spratlin and how he deleted his sent emails.

15· ·Your Honor, you probably are aware, because you live

16· ·in this world and take elevators, of that closed

17· ·elevator button that's a big mystery to a lot of us

18· ·because it doesn't seem to be doing anything.· That's

19· ·exactly what happened when Mr. Spratlin tried to

20· ·delete his sent emails.· He accomplished nothing.· It

21· ·may have disappeared from his screen but it was in

22· ·the TreeHouse Enterprise Vault system.· We reviewed

23· ·it and we produced it.

24· · · · · · · · · So those documents -- the hypothesis

25· ·that he deleted emails is completely wrong .


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·1· · · · · · · · · Now, compare Krueger's policy because

·2· ·they say they -- you know, they met the standard.

·3· · · · · · · · · Next slide, please.

·4· · · · · · · · · This was their document custodian

·5· ·about their policies.· Question:· Are you aware of

·6· ·any policies, written policies, by Keurig from 2009

·7· ·to 2017 relating to the destruction of documents or

·8· ·data.· So this is not just limited to email.· This is

·9· ·broader.

10· · · · · · · · · Answer:· The only thing that I know

11· ·of that's remotely related to that question is the

12· ·implementation of an email retention policy.· Let me

13· ·stop there.· So no data retention policy, nothing

14· ·about documents on K drives or C drives, just an

15· ·email retention policy and what does he say about it?

16· · · · · · · · · JUDGE CAVE:· With all due respect,

17· ·Mr. Badini, I don't find this particularly persuasive

18· ·with respect to Keurig's motion.· So I've talked

19· ·about Keurig today.· I've read the policy.· I've read

20· ·the deposition transcripts.· Let's focus on what

21· ·TreeHouse did.

22· · · · · · · · · MR. BADINI:· Okay.· Thank you.

23· · · · · · · · · So those points about the automatic

24· ·email policy and the points about our hard drive

25· ·collection and the point about how non-ESI was also


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·1· ·maintained were made in our opposition brief to their

·2· ·motion.

·3· · · · · · · · · So one would have thought that they

·4· ·would have said something about it in their reply and

·5· ·one would have thought that Mr. Mukhi would have said

·6· ·something about those three issues today.

·7· · · · · · · · · Let's look at the next page, please.

·8· · · · · · · · · Their reply brief -- and today, I

·9· ·heard no response, no mention at all about our

10· ·document retention policy.· I heard no response, no

11· ·mention at all, about the Enterprise Vault policy and

12· ·automatic archiving beginning in September 2013 and

13· ·no response at all to the fact that for nonemail ESI,

14· ·we undertook a hard drive collection.

15· · · · · · · · · Complete silence.· In fact, it's

16· ·worse than silence, your Honor.· They pretend that

17· ·these steps were never taken.

18· · · · · · · · · Let's take a look at the next slide,

19· ·please.· I won't read this, but you also heard it

20· ·today from Mr. Mukhi.· They say repeatedly in their

21· ·brief that we did not take any steps to preserve

22· ·documents for any custodian until the week prior to

23· ·filing the Complaint.· That is, categorically, false.

24· · · · · · · · · Next slide, please.

25· · · · · · · · · Now, they point to the fact that we


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·1· ·issued some litigation holds later, not at the

·2· ·beginning of the litigation.· The suggestion is that

·3· ·that somehow says negligence or that we were not

·4· ·diligent.

·5· · · · · · · · · Putting aside the fact that it would

·6· ·be strange public policy or judicial policy indeed to

·7· ·punish someone for continuing to investigate, and as

·8· ·they realize that somebody is significant or somebody

·9· ·has moved into a new role and should get a lit hold,

10· ·they should get that hold, putting aside the fact

11· ·that it would be really strange to punish people for

12· ·putting out lit policies, the -- the more central

13· ·point is that litigation holds coming later were

14· ·expressly contemplated by the ESI order.· They were

15· ·expressly contemplated by that and that's the

16· ·first -- the first bullet there.· I won't read it,

17· ·but the second bullet goes to a different point and

18· ·it's important to mention this.

19· · · · · · · · · I sat through Keurig's argument this

20· ·morning about how -- well, the reason that our motion

21· ·should fail is that there was a discovery stay and

22· ·custodians were not named until 2017, but the ESI

23· ·order is to the contrary.

24· · · · · · · · · The ESI order says:· In the event

25· ·that any party has good cause to believe relevant


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·1· ·documents or data have not been adequately preserved,

·2· ·they shall meet and confer and there should be a

·3· ·conference and -- I'm sorry.· It's the first bullet.

·4· ·The parties shall issue additional preservation or

·5· ·litigation communications as soon as reasonably

·6· ·practicable in good faith -- and here's the key

·7· ·language, your Honor -- without waiting to determine

·8· ·whether or not that individual will become an agreed

·9· ·upon custodian.· That's what the ESI order says.· And

10· ·I submit to you that that's the policy and practice

11· ·that we followed.· We followed the ESI order.· We

12· ·didn't wait till folks because custodians.

13· · · · · · · · · JUDGE CAVE:· Right.· That doesn't

14· ·really explain Mr. Spratlin, though.· I mean his

15· ·email is in the Complaint.· It is a little odd that,

16· ·notwithstanding the only supervisor role, that

17· ·somebody who's email is quoted in the Complaint

18· ·didn't get a litigation hold right away.

19· · · · · · · · · MR. BADINI:· Well, I can talk about

20· ·Mr. Spratlin now if you'd like.

21· · · · · · · · · JUDGE CAVE:· If you're going to cover

22· ·it later, that's fine.

23· · · · · · · · · MR. BADINI:· I will cover it later.

24· · · · · · · · · JUDGE CAVE:· That's fine.

25· · · · · · · · · MR. BADINI:· Okay.· Thank you.· Let's


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·1· ·talk about the law on litigation hold.· I believe I

·2· ·captured all of the cases, which I read myself, that

·3· ·they cited in their two briefs relating to litigation

·4· ·hold.· If I missed one, I apologize, but here there

·5· ·are -- and I'm not the going to read all this.· I'm

·6· ·going to cut to the bottom line and read some of it.

·7· ·The Alter case we already discussed.· The facts were

·8· ·that the defendants failed to issue any litigation

·9· ·hold for more than two years after a Notice of Claim

10· ·was filed.· The remedy was no adverse inference

11· ·monetary sanctions of $1500.

12· · · · · · · · · Capricorn, Eastern District of New

13· ·York, failed to impose a formal litigation hold when

14· ·the litigation was commenced.· There were other

15· ·active violations of the duty to preserve, and the

16· ·remedy was none based on defendants' failure to offer

17· ·any evidence that the lost ESI would have benefited

18· ·their case.

19· · · · · · · · · Next page please.

20· · · · · · · · · The Master Adjustable Rate Mortgages

21· ·case, Southern District of New York, in that case,

22· ·the holds were issued only after the litigation had

23· ·started and the auto-delete function was not

24· ·suspended.· Both of those facts are different from

25· ·our case.· The holding was that the holds were


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·1· ·reasonable and there were no sanctions.

·2· · · · · · · · · Passologix, Southern District of New

·3· ·York, no hold at all at the beginning of litigation.

·4· ·The party testified it routinely continued to delete

·5· ·emails.· The holding was no adverse inference and no

·6· ·evidence preclusion, a $10,000 fine was awarded.

·7· · · · · · · · · Next page please.

·8· · · · · · · · · Now, I'm going to pause longer on

·9· ·this because this is important -- particularly point.

10· ·In the pension community, which I believe was Judge

11· ·Scheindlin, they say that that case was abrogated by

12· ·the 2nd Circuit Chin case on other grounds.· So let's

13· ·look at it.

14· · · · · · · · · In Pension Committee, there was no

15· ·litigation hold issued until two years after the

16· ·litigation was commenced.· And many plaintiffs

17· ·admittedly failed to preserve documents.

18· · · · · · · · · Judge Scheindlin held there was no

19· ·adverse inference or exclusion of evidence.· She

20· ·granted a jury instruction that some plaintiffs

21· ·destroyed evidence, but the jury was not going to be

22· ·told whether the absence caused prejudice, and she

23· ·awarded attorneys' fees for the motion.

24· · · · · · · · · Now, as to their motion that Chin

25· ·abrogated Pension Committee on other grounds, only a


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·1· ·very technical reading of Chin and Pension Committee

·2· ·would lead one to conclude that it was other grounds.

·3· ·Chin actually makes very clear that the failure to

·4· ·issue litigation holds is not gross negligence, per

·5· ·se, which Pension Committee had held, but the

·6· ·relevant standard, which is relevant here to Keurig's

·7· ·motion, which they never cite.· I don't think I ever

·8· ·heard them talk about Chin.· The relevant standard is

·9· ·to consider all of the preservation practices and

10· ·litigation holds as one factor in the determination

11· ·of whether discovery sanctions should issue.

12· · · · · · · · · Next slide please.· I think these are

13· ·the last two that I'm aware of.· Sekisui, again, no

14· ·hold was issued until 15 months after the notice of

15· ·claim and there was evidence that the plaintiff

16· ·intentionally and permanently destroyed the emails.

17· ·The holding was that the destruction was willful and

18· ·that an adverse instruction was granted.· And finally

19· ·in Stinson, no hold until long after the Complaint

20· ·was filed, three years, and a permissive adverse

21· ·inference was granted.

22· · · · · · · · · So I've put together a slide

23· ·summarizing all of these litigation hold cases, and

24· ·it's worth pausing on it for one second.

25· · · · · · · · · That's the next slide, please.


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·1· · · · · · · · · This is what happened in those cases,

·2· ·and these are all cited by Keurig.· I didn't even

·3· ·need to read the cases we cited.

·4· · · · · · · · · It's our submission, your Honor, that

·5· ·you can deny their motion just on the basis of their

·6· ·cases.· Two cases, Sekisui and Stinson, granted

·7· ·either an adverse inference or a permissive adverse

·8· ·inference both based on a finding of willful

·9· ·spoliation, a remedy that Keurig concedes in this

10· ·motion is not available to it under 37(e)(1).· So you

11· ·can put those aside.

12· · · · · · · · · One case, Pension Committee, awarded

13· ·the jury instruction that some evidenced been

14· ·destroyed but the jury was not told whether it was

15· ·relevant or caused prejudice.

16· · · · · · · · · Two cases, Alter and Passologix, only

17· ·awarded sanctions, 1500 and $10,000 respectively.

18· ·Two cases denied its -- denied sanctions altogether

19· ·Capricorn and Master Adjustable Rate Mortgages,

20· ·despite the fact that holds were issued after the

21· ·litigation started in both.

22· · · · · · · · · Now, I'm going to say more about this

23· ·later in my discussion, but there are serious

24· ·problems with Keurig's document counting exercise.

25· ·And one of the problems is just a legal problem.


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·1· · · · · · · · · No case that I'm aware of and no case

·2· ·cited by Keurig has relied upon a so-called

·3· ·before-and-after document counting exercise to

·4· ·conclude there was spoliation.· In other words,

·5· ·here's what was produced before the hold, here's what

·6· ·was produced after the hold.· There must have been

·7· ·spoliation.

·8· · · · · · · · · I haven't seen one case that relied

·9· ·on such an exercise.· And no case, no litigation hold

10· ·case that they cited granted a preclusion of evidence

11· ·remedy, which is what Keurig seeks here.

12· · · · · · · · · Your Honor, I'm about to move to a

13· ·new section, would you like me to continue?

14· · · · · · · · · JUDGE CAVE:· Yeah, I was just

15· ·thinking that this might be a good place to pause.

16· ·There's a lot here for me to digest and absorb, and

17· ·there's logistics to just talk about for tomorrow.

18· ·So my first question for -- maybe it's for our

19· ·moderators is do we -- can we use the same link and

20· ·all the same information for today's conference when

21· ·we resume at 4 o'clock tomorrow or do we need to

22· ·start from scratch?

23· · · · · · · · · THE VIDEOGRAPHER:· Unfortunately I

24· ·think we have to start from scratch.· We'll send out

25· ·new links.


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·1· · · · · · · · · JUDGE CAVE:· Okay.· What I will ask

·2· ·the parties to do is just provide to chambers the

·3· ·links for me to use and then post on the Docket

·4· ·another letter that has the public access information

·5· ·just like you did the other day.· If you could do

·6· ·that first thing in the morning, that will be great.

·7· · · · · · · · · MR. BADINI:· Ms. Fitzgerald, you can

·8· ·take that slide down.

·9· · · · · · · · · JUDGE CAVE:· All right.· Any other

10· ·technicalities or logistics before we wrap up for the

11· ·day?· Okay.

12· · · · · · · · · Well, I very much appreciate the

13· ·parties' attention and thank you in particular to our

14· ·wonderful court reporter, Ms. Wielage, even if you're

15· ·not with us tomorrow, we sincerely appreciate you

16· ·being here today.· I hope someone extends you a gift

17· ·certificate for a manicure.· You deserve it.· It's

18· ·been a long day.· And I look forward to seeing

19· ·everyone at 4 o'clock tomorrow.· And just for

20· ·planning purposes tomorrow, we'll have about an hour

21· ·and 45 minutes to try to wrap everything up so you

22· ·can plan accordingly.

23· · · · · · · · · Thank you everyone have a nice

24· ·evening.· Stay warm if you're here in the northeast,

25· ·and we'll see you at 4 o'clock tomorrow.


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·1· · · · · · ·(The hearing was adjourned at 5:45 p.m.)

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·1· · · · · · · · · · · C E R T I F I C A T E

·2· · · · · · · · · · · I, JENNIFER WIELAGE, a Notary

·3· · · · · ·Public and Certified Shorthand Reporter, do

·4· · · · · ·hereby state that the foregoing is a true

·5· · · · · ·and accurate transcript as taken

·6· · · · · ·stenographically by and before me at the

·7· · · · · ·time, place and on the date hereinbefore set

·8· · · · · ·forth.

·9· · · · · · · · · · · I do further state that I am

10· · · · · ·neither a relative nor employee nor attorney

11· · · · · ·nor counsel of any of the parties to this

12· · · · · ·action, and that I am neither a relative nor

13· · · · · ·employee of such attorney or counsel and

14· · · · · ·that I am not financially interested in this

15· · · · · ·action.

16· · · · · · · · · ·______________________________
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17· · · · · · · · · · License No. 30X100191600

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